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 Fill in this information to identify the case
 Debtor name          KMCO, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          20-60028
 (if known)                                                                                                          Check if this is an
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account at Cadence Bank                              Checking account                    4   6   9     3                   $6,093.26
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $6,093.26


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor         KMCO, LLC                                                                     Case number (if known)    20-60028
               Name

                                                                                                                            Current value of
                                                                                                                            debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Security deposit with Wabash.                                                                                                 $19,500.00
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                      $19,500.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor's interest
11. Accounts receivable

11a. 90 days old or less:                $0.00               –                 $0.00                  = ..............                     $0.00
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                   $0.00               –                 $0.00                  = ..............                     $0.00
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                            $0.00


 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                              Valuation method              Current value of
                                                                                              used for current value        debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                 % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

           Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                            $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                             page 2
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Debtor      KMCO, LLC                                                        Case number (if known)     20-60028
            Name

    General description                  Date of the     Net book value of     Valuation method              Current value of
                                         last physical   debtor's interest     used for current value        debtor's interest
                                         inventory       (Where available)
19. Raw materials                        MM/DD/YYYY

    Paraformaldehyde
    7260 lb                                                                                                                  $0.00
    Paraformaldehyde
    55LB                                                                                                                     $0.00
    Hitec Salt
    2000LB                                                                                                                   $0.00
    Filter Aid Hylo Supercell - WET
    500LB                                                           $432.50 Cost                                          $432.50
    Filter Aid Hyflo Supercell
    1150LB                                                         $1,040.75 Cost                                       $1,040.75
    Filter Aid H-635 (H9K) (Silicate
    Free) Perlite2520LB                                            $2,116.80 Cost                                       $2,116.80
    Filter Aid Celite 545
    700LB                                                           $577.50 Cost                                          $577.50
    Filter Aid 30/40 Magnesol
    (Magnesium Silicate)
    3100LB                                                         $4,185.00 Cost                                       $4,185.00
    Filter Aid 30/40 Magnesol
    (Magnesium Silicate)
    100LB                                                                                                                    $0.00
    Fibracel (Special haze & color)
    405LB                                                           $230.85 Cost                                          $230.85
    EPV Resin
    1000LB                                                                                                                   $0.00
    Denatonium Benzoate
    500LB                                                          $2,860.00 Cost                                       $2,860.00
    Denatonium Benzoate
    500LB                                                          $2,860.00 Cost                                       $2,860.00
    Cobratec TT-100 (Tolytriazole)
    19800LB                                                                                                                  $0.00
    Cobratec TT-100 (Tolytriazole)
    2200LB                                                                                                                   $0.00
    Cobratec TT-100 (Tolytriazole)
    200LB                                                                                                                    $0.00
     8,189 KOH 45%                                                                                                           $0.00
    Cobratec TT-100 (Tolytriazole)
    50LB                                                                                                                     $0.00
    Clay
    1000LB                                                                                                                   $0.00
    Celite FAX 5 Filter Aid
    165LB                                                                                                                    $0.00
    Celite - fiber cell
    1350LB                                                                                                                   $0.00




Official Form 206A/B                   Schedule A/B: Assets -- Real and Personal Property                                        page 3
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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

     5,000 Boric Acid
             $-
     71,869 Ethoxypolyglycol Basic
     $1,437.38                                                                                                  $1,437.38
    Caustic Soda Beads
    200LB                                                         $112.00 Cost                                   $112.00
    BR-2000 Bug Juice
    1320LB                                                                                                          $0.00
    BR-2000 Bug Juice
    360LB                                                                                                           $0.00
    Boric Acid
    13750LB                                                                                                         $0.00
    Boric Acid
    350LB                                                                                                           $0.00
    Boric Acid
    110LB                                                                                                           $0.00
    BHT-Butylyated Hydroxytoluene
    2500LB                                                                                                          $0.00
    BHT-Butylyated Hydroxytoluene
    300LB                                                                                                           $0.00
    Acid, Oxalic
    110LB                                                                                                           $0.00
     50,603 P13PA
                     $2,530.15
     70,671 Glycol Ether Feed
     $-
     60,230 Glycol Ether Feed
     $602.30
     72,977 Glycol Ether Feed
     $-                                                                                                         $3,132.45
    Acid, Fumaric
    50LB                                                                                                            $0.00
    RED Alert
    10LB                                                                                                            $0.00
     140,136 Tri-Tetra EG
     $2,802.72
     34,259 Tri-Tetra EG
     $685.17
     30,554 Tri-Tetra EG
     $611.08
     35,939 DiTri
     $3,593.90                                                                                                  $7,692.87
    Heat Transfer Fluid
    4668LB                                                     $10,524.32 Cost                                 $10,524.32
     32,610 Glycol Bottoms
     $1,630.52                                                                                                  $1,630.52
     32,610 Glycol Bottoms                                                                                      $1,630.52
    Heat Transfer Fluid
    1945LB                                                       $4,385.13 Cost                                 $4,385.13
     70,348 Glycol Ether Feed
                                                                                                                $7,034.80



Official Form 206A/B                 Schedule A/B: Assets -- Real and Personal Property                             page 4
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Debtor      KMCO, LLC                                                     Case number (if known)   20-60028
            Name

    Heat Transfer Fluid
    1541LB                                                      $3,474.28 Cost                                 $3,474.28
    53,825 Wet Glycol Eg
    $538.25
    102,343 Wet Glycol Eg
    $1,023.43                                                                                                  $1,561.68
    DowThermaflo A
    13279LB                                                                                                        $0.00
    AR-AFFF 1X3
    385LB                                                                                                          $0.00
    AR-AFFF 1X3
    10LB                                                                                                           $0.00
    AR-AFFF 1X3
    10LB                                                                                                           $0.00
    Anti foam
    385LB                                                        $469.70 Cost                                   $469.70
    ANSULIT
    10GAL                                                                                                          $0.00
     8,185 Flashed Glycol Eg                                                                                       $0.00
    Unichem 1307
    110LB                                                                                                          $0.00
     119,470 DiTri                                                                                            $11,947.01
    TOTES - (NANSA)
    2205LB                                                      $1,942.83 Cost                                 $1,942.83
     90,638 Meg/Deg Intermediate                                                                                $906.38
     109,620 DiTri
     $10,962.00
     9,966 Deg Non-Prime $99.66
     4,000 Ext Life Antifreeze
     $800.00                                                                                                  $11,861.66
    113,445 Heavy Ether
    Product     $1,134.45
    163,869 Ext Life
    Antifreeze
            $32,773.80
    133,296 Cool + w BA
    Antifreeze     $26,659.20
    152,113 Cool + w BA
    Antifreeze $30,422.60                                                                                     $90,990.05
    TOFA FATTY ACID(SYLFAT FAI)
    4632LB                                                      $2,640.24 Cost                                 $2,640.24
    TEG
    154LB                                                                                                          $0.00
     66,830 Flashed Glycol Eg
     $1,336.60
     125,589 Glycol Ether Feed
     $2,511.78
     21,857 Dea
                     $218.57                                                                                   $4,066.95
    Stadis 450- Line flush
    2200LB                                                                                                         $0.00



Official Form 206A/B                Schedule A/B: Assets -- Real and Personal Property                             page 5
                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 6 of 153
Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Sodium Hypochlorite
    6000LB                                                        $1,704.00 Cost                                 $1,704.00
    Sodium Bromide
    550LB                                                         $2,816.00 Cost                                 $2,816.00
    Aromatic 100
    P13PA                                                                                                            $0.00
    Quick Dry
    4520LB                                                                                                           $0.00
    Precipitation Naptha
    321LB                                                          $658.05 Cost                                   $658.05
    Potassium Hydroxide 45% KOH
    11220LB                                                       $6,227.10 Cost                                 $6,227.10
     27,098 AME Core 150 $-
     62,868 Aromatic 150
     $6,286.80
     57,745 Aromatic 100
     $5,774.50
      Toluene     $-                                                                                            $12,061.30
     33,415 Ruetasolve DI                                                                                            $0.00
    PMX 200/12500
    2094LB                                                        $3,978.10 Cost                                 $3,978.10
     77,259 Ethanol Regen                                                                                         $772.59
     6,015 Nexbase 3030
             $-
     56,134 Dinnsa
                    $1,122.68
     22,433 Dinnsa
                    $448.66                                                                                      $1,571.34
    ParAntifreeze
    12360LB                                                       $3,721.33 Cost                                 $3,721.33
     28,494 Aromatic 150ND
     $1,424.70
     1,794 Ortho Xylene $17.94
     65,159 TPC 595         $651.59                                                                              $2,094.23
    Paraformaldehyde
    1103LB                                                                                                           $0.00
     76,690 AME Core 150
             $-
     74,756 C24-28 Olefin
             $3,737.80
     60,284 Isomerised Olefin
     $1,205.68                                                                                                   $4,943.48
    Ortho Xylene
    2000LB                                                        $1,280.00 Cost                                 $1,280.00
    140,549 Isomerised
    Olefin     $2,810.98
    47,933 Maleic Anhydride
            $-
    71,906 Maleic Anhydride
            $-                                                                                                   $2,810.98
    Ortho Xylene
    50LB                                                             $32.00 Cost                                   $32.00



Official Form 206A/B                  Schedule A/B: Assets -- Real and Personal Property                             page 6
                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 7 of 153
Debtor      KMCO, LLC                                                     Case number (if known)   20-60028
            Name

    N-Dodecyl Mercaptan *
    252LB                                                        $579.60 Cost                                   $579.60
    N-Dodecyl Mercaptan *
    4125LB                                                      $9,487.50 Cost                                 $9,487.50
    N-Dodecyl Mercaptan *
    196LB                                                        $450.80 Cost                                   $450.80
    Metal Guard A65- Yellow
    13944LB                                                     $2,272.87 Cost                                 $2,272.87
    M-544 (Allnex)
    39LB                                                                                                           $0.00
    KW 115
    140LB                                                                                                          $0.00
    KT 1261C
    163LB                                                                                                          $0.00
    KC-168
    410LB                                                                                                          $0.00
    KB-3342
    440LB                                                                                                          $0.00
    KB-3341
    440LB                                                                                                          $0.00
    KB-2406
    450LB                                                                                                          $0.00
    KB-2405
    450LB                                                                                                          $0.00
    KB-2402
    450LB                                                                                                          $0.00
    KB-1410
    875LB                                                                                                          $0.00
    KB-1410
    33715LB                                                   $34,561.44 Cost                                 $34,561.44
    KB-1410
    1350LB                                                      $1,383.89 Cost                                 $1,383.89
    Isonox 132
    3280LB                                                      $8,683.80 Cost                                 $8,683.80
    IPA - Isopropyl Alcohol
    1176LB                                                       $893.76 Cost                                   $893.76
    Hot oil (Good)
    3572LB                                                                                                         $0.00
    Hitec 4313
    230LB                                                                                                          $0.00
    Hitec 3193- sample taken but
    never shipped
    368LB                                                                                                          $0.00
    Formaldehyde 37%- tote
    1170LB                                                                                                         $0.00
    DowThermaflo A
    3800LB                                                                                                         $0.00
    DDBSA Hard - (Witconic) 1298
    1800LB                                                                                                         $0.00


Official Form 206A/B                Schedule A/B: Assets -- Real and Personal Property                             page 7
                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 8 of 153
Debtor      KMCO, LLC                                                         Case number (if known)   20-60028
            Name

    DDBSA
    186LB                                                                                                               $0.00
    D.C. 200/12500 (Silicon Antifoam)
    2094LB                                                          $3,978.10 Cost                                  $3,978.10
    Component-2
    1840LB                                                          $1,048.80 Cost                                  $1,048.80
    Component-1
    1840LB                                                          $1,048.80 Cost                                  $1,048.80
    CL-5639
    530LB                                                                                                               $0.00
    CL-49 - for new boiler
    2775LB                                                                                                              $0.00
    CL-2030 - for new boiler
    80LB                                                                                                                $0.00
    BPB-59066
    3530LB                                                                                                              $0.00
    Boric Acid
    12500LB                                                                                                             $0.00
    Boric Acid
    10000LB                                                                                                             $0.00
    BL-1253
    2440LB                                                                                                              $0.00
    Arquard 2C Nitrite
    12480LB                                                      $100,963.20 Cost                                 $100,963.20
    Aquachlor - Sodium Hypochlorite
    12.5%
    2740LB                                                           $778.16 Cost                                    $778.16
    AEEA - Aminoethylethanolamine
    2820LB                                                          $5,019.59 Cost                                  $5,019.59
    AEEA - Aminoethylethanolamine
    13200LB                                                       $23,495.94 Cost                                  $23,495.94
    Acid, Acetic, Glacial
    9900LB                                                          $9,325.80 Cost                                  $9,325.80
    Acid, Acetic, Glacial
    4600LB                                                          $4,333.20 Cost                                  $4,333.20
    Acid, Acetic, Glacial
    1592LB                                                          $1,499.66 Cost                                  $1,499.66
    Acid, Acetic, Glacial
    1422LB                                                          $1,339.52 Cost                                  $1,339.52
    Acid, Acetic
    1800LB                                                                                                              $0.00
    Toluene
    215LB                                                              $82.99 Cost                                    $82.99
    Precipitation Naptha
    65LB                                                             $133.25 Cost                                    $133.25
    MEHQ - Hdro - Quinone - Monom -
    Ethyl
    50LB                                                             $540.50 Cost                                    $540.50
    Isopar M
    231LB                                                            $466.07 Cost                                    $466.07

Official Form 206A/B                    Schedule A/B: Assets -- Real and Personal Property                              page 8
                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 9 of 153
Debtor      KMCO, LLC                                                          Case number (if known)   20-60028
            Name

    IPA - Isopropyl Alcohol
    282LB                                                             $214.32 Cost                                   $214.32
    HYDROQUINONA PREMIUM
    30LB                                                                                                                $0.00
    Benzophenone
    1200LB                                                                                                              $0.00
20. Work in progress

21. Finished goods, including goods held for resale

     23,460 TEG Prime                                                                                               $4,692.00
     2,160 Global Antifreeze ELC                                                                                     $432.00
     52,015 Global Antifreeze ELC                                                                                  $10,403.00
    41,018 Global 50% Antifreeze
    ELC                                                                                                             $8,203.60
    10,800 Global 50% Antifreeze
    ELC                                                                                                             $2,160.00
    7,590 Ext Life Antifreeze
    $1,518.00
    65,820 Ext Life Antifreeze
    $13,164.00
    2,160 Ext Life Antifreeze
    $432.00                                                                                                        $15,114.00
     4,844 DiTri                                                                                                     $726.60
    4,300 Cool + w BA Antifreeze
     $860.00
    112,220 Cool + w BA 50%
    Antifreeze$22,444.00                                                                                           $23,304.00
     18,600 Glycol Bottoms
     $930.00
     180,023 MTG
                    $3,600.46                                                                                       $4,530.46
    20,000 Glycol Bottoms
    $1,000.00
    157,388 Heavy Ether
    Product    $7,869.42
    35,640 Dot 4 Brake Fluid New
    $1,782.00                                                                                                      $10,651.42
     114,521 DiTri
                                                                                                                   $17,178.15
     56,359 Water Overheads                                                                                             $0.00
    94,388 Fuel Blendstock $943.88
    137,082 Water
    Overheads $-                                                                                                     $943.88
    61,618 Global AF ELC
    $12,323.60
    163,906 Heavy Ether
    Product    $3,278.12                                                                                           $15,601.72




Official Form 206A/B                     Schedule A/B: Assets -- Real and Personal Property                             page 9
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Debtor       KMCO, LLC                                                             Case number (if known)   20-60028
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     475,727 Glycol Bottoms
     $23,786.35
     595,278 Glycol Bottoms
     $29,763.90
     140,935 Kmco-77Xf
     $2,818.69                                                                                                          $56,368.94
     12,320 Barafilm                                                                                                     $6,160.00
     119,770 TPC 595
                   $-
     107,918 Aromatic 150
     $10,791.80
     58,780 Aromatic 150
     $5,878.00                                                                                                          $16,669.80
     112,409 KBI 1410 Int                                                                                               $11,240.90
     61,115 KB-1410
     $15,278.75
     51,177 KB-1410
     $12,794.25                                                                                                         $28,073.00
     13,663 Olefin Lights                                                                                                 $136.63
     109,846 Meg Recycle
     $2,196.92
     13,874 Oil/WTR Emulsion
     $-
     - Pibsa 201D
     $-                                                                                                                  $2,196.92
     4,000 Urea
     17,050 Sulfur
     1,250 Sulfolene                                                                                                         $0.00
     1,100 Sodium nitrate
     1,100 Sodium Bicarbonate -
     SMOG -
     2,145 Potassium Hydroxide
     91% KOH                                                                                                                 $0.00
22. Other inventory or supplies

     277,986 Tetra Penta Eg
     Feed Inter                                                                                                          $5,559.71
     166,718 Dry Glycol Ether
     $1,667.18
     132,380 Glycol Ether Feed
     $1,323.80                                                                                                           $2,990.98
     51,440 Tetra Penta Eg Feed Inter
     $514.40
     35,981 Ext Life Antifreeze
             $7,196.20
     16,718 Borate Ester M360
     $334.36
     147,451 Heavy Ether
     Product    $7,372.55
     262,325 Heavy Ether
     Product    13,116.26                                                                                               $28,533.77
23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                       $710,867.72




Official Form 206A/B                         Schedule A/B: Assets -- Real and Personal Property                             page 10
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Debtor       KMCO, LLC                                                               Case number (if known)     20-60028
             Name

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method              Current value of
                                                                 debtor's interest     used for current value        debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                     $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                    page 11
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Debtor      KMCO, LLC                                                            Case number (if known)    20-60028
            Name

    General description                                      Net book value of    Valuation method              Current value of
                                                             debtor's interest    used for current value        debtor's interest
                                                             (Where available)
39. Office furniture

    Sales Office Furn.
    12/9/1994
    #428                                                                 $0.00    Book Value                                    $0.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

    Motorola Radios
    6/19/1997
    #59                                                                  $0.00    Book Value                                    $0.00
    Motorola Radios W/Charge
    6/19/1997
    #92                                                                  $0.00    Book Value                                    $0.00
    Avaya Phone System
    7/26/2012
    #1611                                                                         Book Value                                    $0.00
    Dell T5500 Workstations
    7/3/2012
    #1612                                                                         Book Value                                    $0.00
    MP2 Software And Support
    7/1/2013
    #1744                                                                         Book Value                                    $0.00
    Printer, Hx With Rs-P42
    3/1/2014
    #1871                                                                         Book Value                               $4,598.65
    Phone System Ip Office 500V2 Contril Unit
    4/15/2014
    #1887                                                                         Book Value                                 $268.18
    Motorola Radio W/Charger
    6/19/1997
    #144                                                                 $0.00    Book Value                                    $0.00
    Motorola Radios W/Charge
    6/19/1997
    #202                                                                 $0.00    Book Value                                    $0.00
    486 Dx4 Computer
    2/19/1996
    #217                                                                 $0.00    Book Value                                    $0.00
    486 Dx4 Computer
    2/26/1996
    #218                                                                 $0.00    Book Value                                    $0.00
    Computer For Doc. Contro
    8/25/1994
    #219                                                                 $0.00    Book Value                                    $0.00
    Computer
    3/8/1995
    #220                                                                 $0.00    Book Value                                    $0.00
    Computer
    5/2/1995
    #221                                                                 $0.00    Book Value                                    $0.00



Official Form 206A/B                     Schedule A/B: Assets -- Real and Personal Property                                     page 12
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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    486 Dx4
    7/25/1996
    #222                                                           $0.00     Book Value                        $0.00
    Computer
    4/3/1995
    #223                                                           $0.00     Book Value                        $0.00
    Software & Licensing Ross/Sharepoint
    6/12/2015
    #2046                                                                    Book Value                        $0.00
    HP 5890
    4/27/1999
    #378                                                           $0.00     Book Value                        $0.00
    Pentium Computer-T.Hunt
    10/20/1998
    #394                                                           $0.00     Book Value                        $0.00
    HP Laser 4 Plus Iso
    11/9/1994
    #397                                                           $0.00     Book Value                        $0.00
    Computer
    1/19/1995
    #399                                                           $0.00     Book Value                        $0.00
    Computer
    3/17/1995
    #400                                                           $0.00     Book Value                        $0.00
    Hardware
    5/9/1995
    #401                                                           $0.00     Book Value                        $0.00
    Hardware
    5/17/1995
    #402                                                           $0.00     Book Value                        $0.00
    Computer
    5/18/1995
    #403                                                           $0.00     Book Value                        $0.00
    Computer
    5/24/1995
    #404                                                           $0.00     Book Value                        $0.00
    Computer
    6/5/1995
    #405                                                           $0.00     Book Value                        $0.00
    Phone System
    7/13/1995
    #406                                                           $0.00     Book Value                        $0.00
    Iomega Zip Drives
    2/26/1996
    #407                                                           $0.00     Book Value                        $0.00
    2 486 Dx 4 Systems-Safety
    11/26/1996
    #408                                                           $0.00     Book Value                        $0.00
    409Pentium 120 For Robin7/31/1997                              $0.00     Book Value                        $0.00
    Pent. With W/256
    7/31/1997
    #410                                                           $0.00     Book Value                        $0.00



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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Acct. Comp.JF,DL, DC
    8/14/1997
    #411                                                           $0.00     Book Value                        $0.00
    Accounting Computer
    8/14/1997
    #412                                                           $0.00     Book Value                        $0.00
    Computer For C.Craig
    8/21/1997
    #413                                                           $0.00     Book Value                        $0.00
    Computer For R.Owens
    9/25/1997
    #414                                                           $0.00     Book Value                        $0.00
    File Server & Hardware
    2/28/1998
    #415                                                           $0.00     Book Value                        $0.00
    Mail Machine
    2/28/1998
    #416                                                           $0.00     Book Value                        $0.00
    Comp.For G.Jones
    4/27/1998
    #417                                                           $0.00     Book Value                        $0.00
    Comp.For R. Martin
    4/22/1998
    #418                                                           $0.00     Book Value                        $0.00
    Revelation Tech.
    4/30/1998
    #419                                                           $0.00     Book Value                        $0.00
    System For Pat & Don
    4/30/1998
    #420                                                           $0.00     Book Value                        $0.00
    Novell Software
    4/30/1998
    #421                                                           $0.00     Book Value                        $0.00
    System For Verna & Marsha
    6/5/1998
    #422                                                           $0.00     Book Value                        $0.00
    Computer For Wendie
    7/8/1998
    #423                                                           $0.00     Book Value                        $0.00
    System For Ronnie
    11/20/1998
    #424                                                           $0.00     Book Value                        $0.00
    System For Jane
    11/10/1998
    #425                                                           $0.00     Book Value                        $0.00
    Copier For Front Ofc.
    2/1/1999
    #426                                                           $0.00     Book Value                        $0.00
    5 New Systems-Plan
    4/6/1999
    #427                                                           $0.00     Book Value                        $0.00




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Debtor       KMCO, LLC                                                                    Case number (if known)   20-60028
             Name

     Comp. For Sales
     4/25/1995
     #429                                                                         $0.00    Book Value                              $0.00
     AT&T Phone System
     5/10/1996
     #430                                                                         $0.00    Book Value                              $0.00
     AT&T Phone System
     6/4/1996
     #431                                                                         $0.00    Book Value                              $0.00
     Hardware For Computer
     2/4/1997
     #432                                                                         $0.00    Book Value                              $0.00
     Pentium System
     11/9/1998
     #433                                                                         $0.00    Book Value                              $0.00
     Pentium System For Meliss
     12/5/1998
     #434                                                                         $0.00    Book Value                              $0.00
     Pentiums-George,Wayne
     2/2/1999
     #435                                                                         $0.00    Book Value                              $0.00
     Computer
     6/5/1995
     #436                                                                         $0.00    Book Value                              $0.00
     Pic Controllers
     10/1/2011
     #1502                                                                                 Book Value                         $22,469.38
     Computer
     10/31/1998
     #437                                                                         $0.00    Book Value                              $0.00
     Office 2010 Licensing
     1/17/2012
     #1531                                                                                 Book Value                              $0.00
     Experion Software
     2/1/2012
     #1539                                                                                 Book Value                              $0.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                              $27,336.21

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                 page 15
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 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.

    General description                                          Net book value of     Valuation method              Current value of
    Include year, make, model, and identification numbers        debtor's interest     used for current value        debtor's interest
    (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. Backhoe
      8/1/2012
      #1614                                                                            Book Value                              $19,957.83
47.2. 2014-John Deere Gator
      6/1/2014
      #1902                                                                            Book Value                                    $0.00
47.3. 2015-Kubota RTV 1140
      5/6/2015
      #2034                                                                            Book Value                                    $0.00
47.4. 1988 Boiler Trailer          IN9A22X32J1012401                                                                            $5,000.00
47.5. Forklift
      3/13/1998
      #242                                                                   $0.00     Book Value                                    $0.00
47.6. Forklifts
      3/13/1998
      #243                                                                   $0.00     Book Value                                    $0.00
47.7. Forklift
      4/16/1998
      #247                                                                   $0.00     Book Value                                    $0.00
47.8. 1986 Mule
      5/19/1998
      #248                                                                   $0.00     Book Value                                    $0.00
47.9. Used Forklift
      5/20/1998
      #249                                                                   $0.00     Book Value                                    $0.00
47.10. Lift Truck
      10/31/1998
      #260                                                                   $0.00     Book Value                                    $0.00
47.11. Forklifts
      3/12/1998
      #275                                                                   $0.00     Book Value                                    $0.00
47.12. Lift Truck
      4/21/1998
      #279                                                                   $0.00     Book Value                                    $0.00
47.13. 1986 Mule
      5/19/1998
      #281                                                                   $0.00     Book Value                                    $0.00
47.14. Used Forklift
      5/20/1998
      #282                                                                   $0.00     Book Value                                    $0.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                    page 16
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47.15. Lift Truck
      7/1/1998
      #286                                                              $0.00     Book Value                           $0.00
47.16. Lift Truck
      8/12/1998
      #288                                                              $0.00     Book Value                           $0.00
47.17. 1988 Boiler Trailer

      Make - Nelson Manufacturing

      VIN # - IN9A22X32J1012401                                                   Book Value                        $5,000.00
47.18. 1988 - Kubota

      2 seat Kubota

      Model #RTV900

      VIN #A5KB1FDAHBG0C0495                                                      Book Value                        $2,500.00
47.19. 1988 - Kubota

      4 Seat Kubota

      Model # RTV1140

      VIN #A5KD1HDAAFG034185                                                      Book Value                        $4,000.00
47.20. 2017 - Northern

      Northern Tool Pressure Waster -

      Model No. 4000 PSI Hot water

      VIN #4K1PT4C12JK006620                                                      Book Value                        $1,800.00
47.21. 2010 - Case Company - Back Hoe

      Model #580Sumer M

      VIN #JKGN580SEAC533557                                                      Book Value                        $3,500.00
47.22. 1978 - Heil Trailer - Heil Bulk Liquid Trailer

      VIN #H-37445                                                                Book Value                        $2,500.00
47.23. Lift Trucks
      3/13/1998
      #311                                                              $0.00     Book Value                           $0.00
47.24. Forklift
      3/13/1998
      #312                                                              $0.00     Book Value                           $0.00
47.25. 1986 Mule
      5/19/1998
      #317                                                              $0.00     Book Value                           $0.00
47.26. 2003 - Great Dane limited Partnership
      53' Box Trailer

      Model #7411TP-SA

      VIN #1GRAA06244T509559                                                      Book Value                        $5,000.00



Official Form 206A/B                      Schedule A/B: Assets -- Real and Personal Property                           page 17
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Debtor      KMCO, LLC                                                           Case number (if known)   20-60028
            Name

47.27. Used Forklift
      5/20/1998
      #318                                                              $0.00     Book Value                             $0.00
47.28. 2007 - Kalmar Industries - Yard Mule

      Model #4X2

      VIN #318437                                                                 Book Value                         $7,500.00
47.29. 2007 - GE - Locomotive

      VIN #Unit Number - 1508

                                                                                  Book Value                        $80,000.00
47.30. 2016 - Triangle Equipment - Pressure Washer
      (Tank unit)

      Model #5000 PSI hot water (with tank)

      VIN #1D9D1CB20E1745                                                         Book Value                        $12,000.00
47.31. Lift Truck
      5/27/1998
      #321                                                              $0.00     Book Value                             $0.00
47.32. Lift Truck
      9/11/1998
      #327                                                              $0.00     Book Value                             $0.00
47.33. Golf Cart
      9/1/2006
      #1038                                                                       Book Value                             $0.00
47.34. Toyota Forklifts
      7/1/2006
      #1071                                                                       Book Value                             $0.00
47.35. Lift Truck
      11/11/1998
      #329                                                              $0.00     Book Value                             $0.00
47.36. John Deere Backhoe
      7/9/2007
      #1166                                                                       Book Value                             $0.00
47.37. John Deere Backhoe
      7/9/2007
      #1167                                                                       Book Value                             $0.00
47.38. John Deere Backhoe
      7/9/2007
      #1168                                                                       Book Value                             $0.00
47.39. John Deere Backhoe
      7/9/2007
      #1169                                                                       Book Value                             $0.00
47.40. 4 Toyota Forklifts
      12/17/2007
      #1270                                                                       Book Value                             $0.00
47.41. 2007 16ft utlity trailer - trailer supply company.
      VIN# 5VNBU162OCT106439                                                                                         $2,000.00
47.42. Company Made Trailer                                                                                          Unknown




Official Form 206A/B                      Schedule A/B: Assets -- Real and Personal Property                            page 18
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Debtor       KMCO, LLC                                                                   Case number (if known)   20-60028
             Name

47.43. Forklift Purchase
      3/13/1998
      #346                                                                       $0.00    Book Value                         $0.00
47.44. Forklift
      3/13/1998
      #347                                                                       $0.00    Book Value                         $0.00
47.45. 1986 Mule
      5/19/1998
      #352                                                                       $0.00    Book Value                         $0.00
47.46. Used Forklift
      5/20/1998
      #353                                                                       $0.00    Book Value                         $0.00
47.47. Lift Truck
      6/23/1998
      #357                                                                       $0.00    Book Value                         $0.00
47.48. 2011-Kubota RTV900
      9/28/2011
      #1496                                                                               Book Value                         $0.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     Storage Building
     5/7/97
     #2                                                                          $0.00    Book                               $0.00
     Metal Building-K-Unit
     4/29/97
     #3                                                                          $0.00    Book Value                         $0.00
     K-Unit Renovation
     5/30/97
     #4                                                                          $0.00    Book Value                         $0.00
     Asphalt Parking Lot-Offi
     12/2/1996
     #5                                                                          $0.00    Book Value                         $0.00
     14'x70' S/R Office Tra
     7/28/1995
     #6                                                                          $0.00    Book Value                         $0.00
     14' X 70' S/R Off. Bldg.
     7/28/1995
     #8                                                                          $0.00    Book Value                         $0.00
     14' X 70' S/R Offc. Bld.
     7/28/1995
     #10                                                                         $0.00    Book Value                         $0.00
     14' X 70' S/R Office Trl
     7/28/1995
     #12                                                                         $0.00    Book Value                         $0.00
     10' X 12' Metal Bldg.
     10/10/1995
     #14                                                                         $0.00    Book Value                         $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Tank Painting Supplies
    7/25/1994
    #15                                                            $0.00     Book Value                        $0.00
    Tank Painting Supplies
    8/2/1994
    #16                                                            $0.00     Book Value                        $0.00
    Tank Painting Supplies
    8/2/1994
    #17                                                            $0.00     Book Value                        $0.00
    Portable Indicator
    10/11/1994
    #18                                                            $0.00     Book Value                        $0.00
    Baldor Motor
    11/9/1994
    #19                                                            $0.00     Book Value                        $0.00
    Freezer
    12/30/1994
    #20                                                            $0.00     Book Value                        $0.00
    Dist. 1 Material
    2/6/1995
    #21                                                            $0.00     Book Value                        $0.00
    Viscometer
    2/8/1995
    #22                                                            $0.00     Book Value                        $0.00
    Dist. 1 Equipment
    3/2/1995
    #23                                                            $0.00     Book Value                        $0.00
    Transformer
    5/8/1995
    #24                                                            $0.00     Book Value                        $0.00
    Tank For Dist. 1
    5/18/1995
    #25                                                            $0.00     Book Value                        $0.00
    Dist. 1 Engineering
    5/24/1995
    #26                                                            $0.00     Book Value                        $0.00
    Dacon
    6/28/1995
    #27                                                            $0.00     Book Value                        $0.00
    2 Transformer Banks
    7/26/1995
    #28                                                            $0.00     Book Value                        $0.00
    Skimmer
    10/6/1995
    #29                                                            $0.00     Book Value                        $0.00
    Roper Pump
    10/23/1995
    #30                                                            $0.00     Book Value                        $0.00
    P-2000 Pump
    12/18/1995
    #31                                                            $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Vacuum Pump
    1/18/1996
    #32                                                            $0.00     Book Value                        $0.00
    Cylinder
    1/22/1996
    #33                                                            $0.00     Book Value                        $0.00
    Urai Roots Blower
    1/24/1996
    #34                                                            $0.00     Book Value                        $0.00
    Inducer For BWFP
    2/9/1996
    #35                                                            $0.00     Book Value                        $0.00
    P-2000 Pump
    2/23/1996
    #36                                                            $0.00     Book Value                        $0.00
    Digital Ultrasonic Gage
    2/16/1996
    #37                                                            $0.00     Book Value                        $0.00
    (3) Storage Tanks
    5/23/1996
    #38                                                            $0.00     Book Value                        $0.00
    (2) Storage Tanks
    5/16/1996
    #39                                                            $0.00     Book Value                        $0.00
    Pipe Threader Machine
    5/16/1996
    #40                                                            $0.00     Book Value                        $0.00
    Union Carbide Blend Tank
    6/1/1996
    #41                                                            $0.00     Book Value                        $0.00
    Urai Roots Blower
    7/22/1996
    #42                                                            $0.00     Book Value                        $0.00
    Roper Pump
    10/24/1996
    #43                                                            $0.00     Book Value                        $0.00
    Vacuum Pump
    10/1/1996
    #44                                                            $0.00     Book Value                        $0.00
    4 X 4 Scale
    12/30/1996
    #45                                                            $0.00     Book Value                        $0.00
    Fisher Valve
    1/21/1997
    #46                                                            $0.00     Book Value                        $0.00
    Fisher Valve
    1/30/1997
    #47                                                            $0.00     Book Value                        $0.00
    Control Unit With Speake
    1/31/1997
    #48                                                            $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    50 HP Shaft
    2/19/1997
    #49                                                            $0.00     Book Value                        $0.00
    Butterfly Valve
    3/18/1997
    #50                                                            $0.00     Book Value                        $0.00
    Fisher Valve
    3/27/1997
    #51                                                            $0.00     Book Value                        $0.00
    Grove Manlift
    4/1/1997
    #52                                                            $0.00     Book Value                        $0.00
    Pacific In-Line Pump
    4/29/1997
    #53                                                            $0.00     Book Value                        $0.00
    Alarm System
    5/6/1997
    #54                                                            $0.00     Book Value                        $0.00
    Stokes Vacuum Pump
    5/14/1997
    #55                                                            $0.00     Book Value                        $0.00
    Braswell Multi-Tank
    5/22/1997
    #56                                                            $0.00     Book Value                        $0.00
    Pressure Vessel
    5/29/1997
    #57                                                            $0.00     Book Value                        $0.00
    Leaking Boiler Tube Repa
    6/12/1997
    #58                                                            $0.00     Book Value                        $0.00
    U/C Brake Fluid Blend
    6/30/1997
    #60                                                            $0.00     Book Value                        $0.00
    B-Unit TCP
    6/30/1997
    #61                                                            $0.00     Book Value                        $0.00
    Portable Indicator Alarm
    10/11/1994
    #62                                                            $0.00     Book Value                        $0.00
    Best Material
    2/6/1995
    #63                                                            $0.00     Book Value                        $0.00
    Allen-Stuart Equipment
    3/2/1995
    #64                                                            $0.00     Book Value                        $0.00
    Transformer
    5/8/1995
    #65                                                            $0.00     Book Value                        $0.00
    Transformers
    6/28/1995
    #66                                                            $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    2 Transformer Banks
    7/26/1995
    #67                                                            $0.00     Book Value                        $0.00
    Skimmer
    10/6/1995
    #68                                                            $0.00     Book Value                        $0.00
    Roper Pump
    10/23/1995
    #69                                                            $0.00     Book Value                        $0.00
    Sunflow P-2000 Pump
    12/18/1995
    #70                                                            $0.00     Book Value                        $0.00
    V/P Pump
    1/18/1996
    #71                                                            $0.00     Book Value                        $0.00
    Cylinder
    1/22/1996
    #72                                                            $0.00     Book Value                        $0.00
    Inducer
    2/9/1996
    #73                                                            $0.00     Book Value                        $0.00
    P-2000 Pump
    2/23/1996
    #74                                                            $0.00     Book Value                        $0.00
    Digital Ultrasonic Gage
    2/16/1996
    #75                                                            $0.00     Book Value                        $0.00
    3 Storage Tanks
    5/23/1996
    #76                                                            $0.00     Book Value                        $0.00
    2 Storage Tanks
    5/16/1996
    #77                                                            $0.00     Book Value                        $0.00
    Pipe Threader Machine
    5/16/1996
    #78                                                            $0.00     Book Value                        $0.00
    CB
    8/14/1996
    #79                                                            $0.00     Book Value                        $0.00
    Scale
    12/30/1996
    #80                                                            $0.00     Book Value                        $0.00
    Valve
    1/21/1997
    #81                                                            $0.00     Book Value                        $0.00
    Central Control Unit
    1/31/1997
    #82                                                            $0.00     Book Value                        $0.00
    50 Hp Shaft
    2/19/1997
    #83                                                            $0.00     Book Value                        $0.00




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            Name

    Custom Eprom
    3/18/1997
    #84                                                            $0.00     Book Value                        $0.00
    Conductivity Controller
    3/18/1997
    #85                                                            $0.00     Book Value                        $0.00
    2 Storage Tanks
    3/27/1997
    #86                                                            $0.00     Book Value                        $0.00
    Grove Manlift
    4/1/1997
    #87                                                            $0.00     Book Value                        $0.00
    Weater Well-J-Unit
    4/24/1997
    #88                                                            $0.00     Book Value                        $0.00
    Alarm System
    5/6/1997
    #89                                                            $0.00     Book Value                        $0.00
    Pressure Vessel
    5/29/1997
    #90                                                            $0.00     Book Value                        $0.00
    Leaking Boiler Tube Repa
    6/12/1997
    #91                                                            $0.00     Book Value                        $0.00
    Vacuum Pump Repair
    6/25/1997
    #93                                                            $0.00     Book Value                        $0.00
    Cooling Tower Repair
    6/30/1997
    #94                                                            $0.00     Book Value                        $0.00
    Cooling Tower Louvers
    6/30/1997
    #95                                                            $0.00     Book Value                        $0.00
    1" Nutter Rings
    6/30/1997
    #96                                                            $0.00     Book Value                        $0.00
    GE Supply
    6/30/1997
    #97                                                            $0.00     Book Value                        $0.00
    Seal Assemblies
    10/5/1994
    #98                                                            $0.00     Book Value                        $0.00
    Portable Indicator & Ala
    10/11/1994
    #99                                                            $0.00     Book Value                        $0.00
    Roper Pump
    12/9/1994
    #100                                                           $0.00     Book Value                        $0.00
    Fusion Inc.
    2/1/1995
    #101                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 25 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Surplus Material
    2/6/1995
    #102                                                           $0.00     Book Value                        $0.00
    Allen-Stuart
    3/2/1995
    #103                                                           $0.00     Book Value                        $0.00
    Transformer
    5/8/1995
    #104                                                           $0.00     Book Value                        $0.00
    Dacon
    6/28/1995
    #105                                                           $0.00     Book Value                        $0.00
    Tank
    7/1/1995
    #106                                                           $0.00     Book Value                        $0.00
    2 Transformer Banks
    7/26/1995
    #107                                                           $0.00     Book Value                        $0.00
    Skimmer
    10/6/1995
    #108                                                           $0.00     Book Value                        $0.00
    Roper Pump
    10/23/1995
    #109                                                           $0.00     Book Value                        $0.00
    Sunflow P-2000 Pump
    12/18/1995
    #110                                                           $0.00     Book Value                        $0.00
    V/P Pump
    1/18/1996
    #111                                                           $0.00     Book Value                        $0.00
    Airgas
    1/22/1996
    #112                                                           $0.00     Book Value                        $0.00
    Inducer
    2/9/1996
    #113                                                           $0.00     Book Value                        $0.00
    P-2000 Pump
    2/23/1996
    #114                                                           $0.00     Book Value                        $0.00
    Tokheim Meter
    2/1/1996
    #115                                                           $0.00     Book Value                        $0.00
    Digital Ultrasonic Gage
    2/16/1996
    #116                                                           $0.00     Book Value                        $0.00
    Transmitter
    3/29/1996
    #117                                                           $0.00     Book Value                        $0.00
    Valve Assembly
    3/22/1996
    #118                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 26 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Sensor
    4/1/1996
    #119                                                           $0.00     Book Value                        $0.00
    3 Storage Tanks
    5/23/1996
    #120                                                           $0.00     Book Value                        $0.00
    2 Storage Tanks
    5/16/1996
    #121                                                           $0.00     Book Value                        $0.00
    Pipe Threader Machine
    5/16/1996
    #122                                                           $0.00     Book Value                        $0.00
    Urai Roots Blower
    5/16/1996
    #123                                                           $0.00     Book Value                        $0.00
    UDC 6300 Control
    6/14/1996
    #124                                                           $0.00     Book Value                        $0.00
    Blend Pad-C Cip
    6/1/1996
    #125                                                           $0.00     Book Value                        $0.00
    Paramins Tank Cip
    6/1/1996
    #126                                                           $0.00     Book Value                        $0.00
    Flare Additions Cip
    6/1/1996
    #127                                                           $0.00     Book Value                        $0.00
    Vacuum Pump
    10/11/1996
    #128                                                           $0.00     Book Value                        $0.00
    Seal Assembly
    11/7/1996
    #129                                                           $0.00     Book Value                        $0.00
    Baldor Motor
    11/20/1996
    #130                                                           $0.00     Book Value                        $0.00
    Scale
    12/3/1996
    #131                                                           $0.00     Book Value                        $0.00
    Fisher 667-ED-45/3582 VA
    1/21/1997
    #132                                                           $0.00     Book Value                        $0.00
    1051-8500-40/5461/P
    1/30/1997
    #133                                                           $0.00     Book Value                        $0.00
    Carrier Compressor
    1/30/1997
    #134                                                           $0.00     Book Value                        $0.00
    Central Control Unit
    1/31/1997
    #135                                                           $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Filter Housing
    2/12/1997
    #136                                                           $0.00     Book Value                        $0.00
    Burner With Controller
    5/1/2012
    #1580                                                      $7,599.36     Book Value                        $0.00
    H-7 Accum. Labor
    5/28/2012
    #1582                                                                    Book Value                        $0.00
    T-822 Jet Pot Labor
    5/28/2012
    #1583                                                                    Book Value                        $0.00
    H-7 Accum. Labor
    5/21/2012
    #1584                                                                    Book Value                        $0.00
    Labor-Job # 205048
    5/21/2012
    #1585                                                                    Book Value                        $0.00
    V-4 Labor
    5/1/2012
    #1586                                                                    Book Value                        $0.00
    Seal Pot
    5/1/2012
    #1587                                                                    Book Value                        $0.00
    Durco Pump
    5/1/2012
    #1588                                                                    Book Value                        $0.00
    2009-Kawaski Club Cart
    5/1/2012
    #1589                                                                    Book Value                        $0.00
    Flare Tip Revamp-Cip
    5/31/2012
    #1590                                                                    Book Value                        $0.00
    Dow Nxus-10356
    5/31/2012
    #1591                                                                    Book Value                        $0.00
    Dow Qm 2004 Cip
    5/31/2012
    #1592                                                                    Book Value                        $0.00
    Inf. C-9417 Cip
    5/31/2012
    #1593                                                                    Book Value                        $0.00
    Km 2024-Wash System
    5/31/2012
    #1594                                                                    Book Value                        $0.00
    Teikoku Pump Assembly
    6/28/2012
    #1595                                                                    Book Value                        $0.00
    Promass 80F80 Flowmeter
    6/7/2012
    #1596                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 28 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Laboratory Density Meter
    06/1/2012
    #1598                                                                    Book Value                        $0.00
    Promass Flowmeters
    6/1/2012
    #1599                                                                    Book Value                        $0.00
    June Labor
    6/15/2012
    #1600                                                                    Book Value                        $0.00
    Ultrasonic Thickness Guage
    7/1/2012
    #1601                                                                    Book Value                        $0.00
    Exchanger Repair
    7/1/2012
    #1602                                                                    Book Value                        $0.00
    Carbon Steel Filter Housing
    7/13/2012
    #1603                                                                    Book Value                        $0.00
    Heat Exchnger
    7/9/2012
    #1604                                                                    Book Value                        $0.00
    Fisher Plug System
    7/16/2012
    #1605                                                                    Book Value                        $0.00
    Vortex Flowmeter
    7/19/2012
    #1606                                                                    Book Value                        $0.00
    Used Vessel
    7/30/2012
    #1607                                                                    Book Value                        $0.00
    Flow Thru Sample System
    7/27/2012
    #1608                                                                    Book Value                        $0.00
    Rice Lake Load Cells
    7/31/2012
    #1609                                                                    Book Value                        $0.00
    Labor-Globalelding
    7/15/2012
    #1610                                                                    Book Value                        $0.00
    Builodout For Lab Storage
    8/28/2012
    #1613                                                                    Book Value                        $0.00
    Pump Kit
    8/13/2012
    #1615                                                                    Book Value                        $0.00
    Oxygen Transmitter
    8/16/2012
    #1616                                                                    Book Value                        $0.00
    Blend Tanks- 2
    8/28/2012
    #1617                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Grove Crane Repair
    8/22/2012
    #1618                                                                    Book Value                        $0.00
    Exchanger Rework
    8/3/2012
    #1619                                                                    Book Value                        $0.00
    Level Radar
    8/6/2012
    #1620                                                                    Book Value                        $0.00
    Kf Titrino Plus
    8/8/2012
    #1621                                                                    Book Value                        $0.00
    Beach Russ Vacuum Pump
    8/15/2012
    #1623                                                                    Book Value                        $0.00
    Mass Flowmeter
    8/28/2012
    #1624                                                                    Book Value                        $0.00
    Contract Labor-Global
    8/15/2012
    #1625                                                                    Book Value                        $0.00
    Power Converter
    8/16/2012
    #1626                                                                    Book Value                        $0.00
    Fire Monitor
    9/11/2012
    #1627                                                                    Book Value                        $0.00
    Lfeline System
    9/1/2012
    #1628                                                                    Book Value                        $0.00
    Botom Strage Tank
    9/25/2012
    #1629                                                                    Book Value                        $0.00
    Herringbone Kit
    9/4/2012
    #1630                                                                    Book Value                        $0.00
    To Close Cip Toe Plates
    9/15/2012
    #1631                                                                    Book Value                        $0.00
    Fisher Ball Bearings
    9/18/2012
    #1632                                                                    Book Value                        $0.00
    Heat Exchanger
    9/25/2012
    #1633                                                                    Book Value                        $0.00
    Pentair Filter Housing
    9/27/2012
    #1634                                                                    Book Value                        $0.00
    Foamglas
    9/1/2012
    #1635                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Labor For Capital Proj.
    9/15/2012
    #1636                                                                    Book Value                        $0.00
    Clse Inf. C-9417 Filter
    9/15/2012
    #1637                                                                    Book Value                        $0.00
    Flare Tip Revamp
    9/15/2012
    #1638                                                                    Book Value                        $0.00
    Sulphur Pump
    9/1/2012
    #1639                                                                    Book Value                        $0.00
    Gate Valve
    9/24/2012
    #1640                                                                    Book Value                        $0.00
    Parking Lot Ext.
    10/22/2012
    #1641                                                                    Book Value                        $0.00
    Oscillating Monitor Pkg
    10/10/2012
    #1642                                                                    Book Value                        $0.00
    Flowmeter
    10/6/2012
    #1643                                                                    Book Value                        $0.00
    Threading Machine
    10/1/2012
    #1644                                                                    Book Value                        $0.00
    Retrofit Kit
    10/18/2012
    #1645                                                                    Book Value                        $0.00
    Heat Exchanger
    10/24/2012
    #1646                                                                    Book Value                        $0.00
    A/C System
    10/22/2012
    #1647                                                                    Book Value                        $0.00
    Hot Oil Heater
    10/31/2012
    #1648                                                                    Book Value                        $0.00
    Mass Flowmeter
    10/1/2012
    #1649                                                                    Book Value                        $0.00
    Flowmeter
    10/16/2012
    #1650                                                                    Book Value                        $0.00
    Control Valve
    10/1/2012
    #1651                                                                    Book Value                        $0.00
    Load Lifter
    10/22/2012
    #1652                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 31 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Control Valve
    10/31/2012
    #1653                                                                    Book Value                        $0.00
    Flanges
    10/31/2012
    #1654                                                                    Book Value                        $0.00
    Baldor Motor
    10/31/2012
    #1655                                                                    Book Value                        $0.00
    Labor-Global Welding
    10/15/2012
    #1656                                                                    Book Value                        $0.00
    Cone Bottom Tank
    11/1/2012
    #1659                                                                    Book Value                        $0.00
    Diaphragm Seal
    11/1/2012
    #1661                                                                    Book Value                        $0.00
    Heat Exchnger
    11/8/2012
    #1662                                                                    Book Value                        $0.00
    Deluge System
    11/29/2012
    #1663                                                                    Book Value                        $0.00
    Mech. Seal
    11/22/2012
    #1664                                                                    Book Value                        $0.00
    Seals & Casing
    11/22/2012
    #1665                                                                    Book Value                        $0.00
    Valve
    11/19/2012
    #1666                                                                    Book Value                        $0.00
    Mold For Shaft
    11/21/2012
    #1667                                                                    Book Value                        $0.00
    Tefc Blower Assembly
    12/1/2012
    #1669                                                                    Book Value                        $0.00
    J-Unit Hot Oil System Cip
    12/31/2012
    #1670                                                                    Book Value                        $0.00
    Replacing T-415 Cip
    12/31/2012
    #1671                                                                    Book Value                        $0.00
    Durco Centrif. Pump
    12/27/2012
    #1672                                                                    Book Value                        $0.00
    Elevance Project
    12/31/2012
    #1673                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 32 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Mead Westvaco Cip
    12/31/2012
    #1674                                                                    Book Value                        $0.00
    Dow Vorasurf
    12/31/2012
    #1675                                                                    Book Value                        $0.00
    Vorsaurf Filter Press
    12/31/2012
    #1676                                                                    Book Value                        $0.00
    Rail Loading Platform - Rx11
    12/31/2012
    #1677                                                                    Book Value                        $0.00
    C9290 Inf. Rail Loading
    12/31/2012
    #1678                                                                    Book Value                        $0.00
    Px3872 Filtration
    12/31/2012
    #1679                                                                    Book Value                        $0.00
    Micro Motion Meter
    12/6/2012
    #1680                                                                    Book Value                        $0.00
    Stainless Gate Valve
    12/4/2012
    #1681                                                                    Book Value                        $0.00
    Global Labor
    12/31/2012
    #1683                                                                    Book Value                        $0.00
    Pallet Hjot Box
    1/14/2013
    #1686                                                                    Book Value                        $0.00
    Beach Russ Vacuum Pump 2
    1/25/2013
    #1687                                                                    Book Value                        $0.00
    U-Tube Exchanger
    1/18/2013
    #1688                                                                    Book Value                        $0.00
    Gear Shaft
    1/31/2013
    #1689                                                                    Book Value                        $0.00
    Ss Gate Valve
    1/31/2013
    #1690                                                                    Book Value                        $0.00
    Fencing-Back Of Plant
    2/19/2013
    #1691                                                                    Book Value                        $0.00
    Pilot Lab Storage Rm.
    2/19/2013
    #1692                                                                    Book Value                        $0.00
    Hot Oil Heater
    2/26/2013
    #1693                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Condensor-Dist. 1
    2/6/2013
    #1694                                                                     Book Value                        $0.00
    Gate Valve
    2/7/2013
    #1695                                                                     Book Value                        $0.00
    Motor-40 Hp
    2/25/2013
    #1696                                                                     Book Value                        $0.00
    Reliance Levelarm Boiler
    2/28/2013
    #1697                                                                     Book Value                        $0.00
    Gear Pump Assembly
    2/26/2013
    #1698                                                                     Book Value                        $0.00
    Ert Bldg. Expansion
    4/8/2013
    #1699                                                                     Book Value                        $0.00
    Camera Production-All Bldgs
    3/20/2013
    #1700                                                                     Book Value                        $0.00
    Mass Flowmeter
    3/31/2013
    #1701                                                                     Book Value                        $0.00
    Luperox Freezer
    3/1/2013
    #1702                                                                     Book Value                        $0.00
    Cip-Dist 1 Utility
    3/15/2013
    #1704                                                                     Book Value                        $0.00
    Cip Tank Painting
    3/15/2013
    #1705                                                                     Book Value                        $0.00
    Cip-Hitec 3331-Afton
    3/15/2013
    #1706                                                                     Book Value                        $0.00
    Boiler Tubes Repair For Leakage
    4/10/2013
    #1708                                                                     Book Value                        $0.00
    Used Exchangers Hastelloy
    4/30/2013
    #1709                                                                     Book Value                        $0.00
    Security Camera Repair/Upgrades
    4/13/2013
    #1710                                                                     Book Value                        $0.00
    Stub Shaft
    4/9/2013
    #1711                                                                     Book Value                        $0.00
    Fire Water Diesel Pump Service
    4/10/2013
    #1712                                                                     Book Value                        $0.00




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Debtor      KMCO, LLC                                                         Case number (if known)   20-60028
            Name

    Fire Water Pump Start Up
    4/13/2013
    #1713                                                                       Book Value                        $0.00
    Excess Fence Line Clearing And Tree Removal
    5/7/2013
    #1716                                                                       Book Value                        $0.00
    Taylor-Dunn B-150 Loadmaster
    5/23/2013
    #1717                                                                       Book Value                        $0.00
    Coriolis Mass Flowmeter
    5/9/2013
    #1718                                                                       Book Value                        $0.00
    Injector Pump Assembly
    5/28/2013
    #1719                                                                       Book Value                        $0.00
    Rotary Gear Pump
    2/12/1997
    #137                                                              $0.00     Book Value                        $0.00
    Fabricate Shafts And Build Coupling Flanges T764
    5/14/2013
    #1720                                                                       Book Value                        $0.00
    Close Cip Dow-Qm2004
    5/31/2013
    #1721                                                                       Book Value                        $0.00
    Stokes 1300 Cfm Vacuum Pump
    6/10/2013
    #1729                                                                       Book Value                        $0.00
    Wsf-240/150-29Ta Worker Polish
    6/25/2013
    #1730                                                                       Book Value                        $0.00
    Chain Link Fence
    7/11/2013
    #1735                                                                       Book Value                        $0.00
    500 Bbl 12'Dia X 25'H Atmospheric Tanks
    7/1/2013
    #1736                                                                       Book Value                        $0.00
    Float Assy 96"
    7/25/2013
    #1737                                                                       Book Value                        $0.00
    Belzona 1111 (Super Metal) 2Kgpp
    7/22/2013
    #1738                                                                       Book Value                        $0.00
    Consumables Blast And Paint Labor
    7/30/2013
    #1739                                                                       Book Value                        $0.00
    To Close Tergitol Wash System Upgrade
    7/31/2013
    #1746                                                                       Book Value                        $0.00
    To Close Eep Chillers Rx1 Project
    7/31/2013
    #1747                                                                       Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    To Close Maleic System Revisions Rx1
    7/31/2013
    #1748                                                                    Book Value                        $0.00
    To Close H10 Power Location
    7/31/2013
    #1749                                                                    Book Value                        $0.00
    To Close Infin. 4220 Rx1
    7/31/2013
    #1750                                                                    Book Value                        $0.00
    To Close Flowmeter Eo-K1 Project
    7/31/2013
    #1751                                                                    Book Value                        $0.00
    To Close New Admin Build
    7/31/2013
    #1752                                                                    Book Value                        $0.00
    Resin Dowex Marathon
    8/5/2013
    #1753                                                                    Book Value                        $0.00
    Eep Chillers
    8/29/2013
    #1754                                                                    Book Value                        $0.00
    Sihi Vacuum Pump And Liquid Ring
    8/27/2013
    #1757                                                                    Book Value                        $0.00
    Close Ne Boiler Plantwide
    9/30/2013
    #1762                                                                    Book Value                        $0.00
    Close Cooling Tower Repairs
    9/30/2013
    #1763                                                                    Book Value                        $0.00
    Compressor Fast 60 Pe Open 5000
    9/30/2013
    #1764                                                                    Book Value                        $0.00
    Open Cs Tanks, 10% At Order, 20% At Drawing
    9/30/2013
    #1765                                                                    Book Value                        $0.00
    Close Afton H3193 H6 Rx1
    9/30/2013
    #1766                                                                    Book Value                        $0.00
    Close Replacing T415 Rx1
    9/30/2013
    #1767                                                                    Book Value                        $0.00
    Close Dowtherm Heater Project
    9/30/2013
    #1768                                                                    Book Value                        $0.00
    Close Rx1/Rx2 Control Room
    9/30/2013
    #1769                                                                    Book Value                        $0.00
    Close T822 Jet Pot Rx2
    9/30/2013
    #1770                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Close K9 Sib Revisions Rx2
    9/30/2013
    #1771                                                                     Book Value                        $0.00
    Close Rk8 Charge Sys Revision
    9/30/2013
    #1772                                                                     Book Value                        $0.00
    Motor B45940T, 50Hp, Baldor Reliance Mfg, 1200
    Rpm
    9/30/2013
    #1773                                                                     Book Value                        $0.00
    Partial Cond. Poly Fac 703, Rx2
    9/30/2013
    #1778                                                                     Book Value                        $0.00
    Tank 803
    9/30/2013
    #1779                                                                     Book Value                        $0.00
    6" Vellan Ball Valve Bettis F01413Ssez
    9/30/2013
    #1780                                                                     Book Value                        $0.00
    A/C Condensing Unit Admin 110/15/2013
    #1781                                                                     Book Value                        $0.00
    Series Gc Custom And Headspace Sampler
    10/1/2013
    #1782                                                                     Book Value                        $0.00
    Coriolis Mass Flowmeter
    10/9/2013
    #1783                                                                     Book Value                        $0.00
    Regulator With Valve Body
    10/22/2013
    #1788                                                                     Book Value                        $0.00
    Liquiphant And Coriolis Mass Flowmeter
    11/15/2013
    #1790                                                                     Book Value                        $0.00
    Agitator Shaft
    11/5/2013
    #1791                                                                     Book Value                        $0.00
    New Exchanger On T-1344
    3/31/2013
    #1792                                                                     Book Value                        $0.00
    Insulate Eo Header
    7/31/2013
    #1793                                                                     Book Value                        $0.00
    New H-1 Accumulator & Oh Cond
    8/31/2013
    #1794                                                                     Book Value                        $0.00
    Insulate Steam Suppy Lines
    5/31/2013
    #1795                                                                     Book Value                        $0.00
    Replace Sib Scrubber
    5/31/2013
    #1796                                                                     Book Value                        $0.00




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Debtor      KMCO, LLC                                                        Case number (if known)   20-60028
            Name

    New Cuno @ T-1573
    4/30/2013
    #1797                                                                      Book Value                        $0.00
    Repair J-2 Exchanger
    6/30/2013
    #1798                                                                      Book Value                        $0.00
    Repair J-4 Pot, Internal Repairs
    6/30/2013
    #1799                                                                      Book Value                        $0.00
    Repair K-11 Internal, Nozzles
    6/30/2013
    #1800                                                                      Book Value                        $0.00
    Repair K-8
    6/30/2013
    #1801                                                                      Book Value                        $0.00
    Front Office Water Line
    7/31/2013
    #1802                                                                      Book Value                        $0.00
    New Pipe Rack At Cooling Towers10/31/2013
    #1803                                                                      Book Value                        $0.00
    Replace T-600, Tmn Wash
    5/31/2013
    #1804                                                                      Book Value                        $0.00
    Rx1 Dowtherm Filter
    5/31/2013
    #1805                                                                      Book Value                        $0.00
    Replace Tmn Storage Tanks
    7/31/2013
    #1806                                                                      Book Value                        $0.00
    T-822 Repairs
    6/30/2013
    #1807                                                                      Book Value                        $0.00
    Srv F-7 Peroxide Charge Pot
    6/30/2013
    #1808                                                                      Book Value                        $0.00
    J-3 Oh Cond
    6/30/2013
    #1809                                                                      Book Value                        $0.00
    C9412 Discharge Line
    7/31/2013
    #1810                                                                      Book Value                        $0.00
    Replace T-523
    7/31/2013
    #1811                                                                      Book Value                        $0.00
    Ergonox Line Modification
    8/31/2013
    #1812                                                                      Book Value                        $0.00
    K-5 Temp Control
    10/31/2013
    #1813                                                                      Book Value                        $0.00
    K-6 Caustic Line To Jet Pot
    8/31/2013
    #1814                                                                      Book Value                        $0.00

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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    N-2 Pad On Hot Oil Tank
    7/31/2013
    #1815                                                                    Book Value                        $0.00
    Warehouse Racks
    7/31/2013
    #1816                                                                    Book Value                        $0.00
    T-2002 Repairs, Wastewater
    11/30/2013
    #1817                                                                    Book Value                        $0.00
    K-10 Platform
    9/30/2013
    #1818                                                                    Book Value                        $0.00
    Afton Olefin Storage (T-1303)
    9/30/2013
    #1819                                                                    Book Value                        $0.00
    Seal-Off Dike Wall
    9/30/2013
    #1820                                                                    Book Value                        $0.00
    Boiler Blow Down Automation
    9/30/2013
    #1821                                                                    Book Value                        $0.00
    H-1 Sulfur Platform
    10/31/2013
    #1822                                                                    Book Value                        $0.00
    Drum Yard Eye Wash
    9/30/2013
    #1823                                                                    Book Value                        $0.00
    Repair T-1201 Floor
    10/31/2013
    #1824                                                                    Book Value                        $0.00
    Flare Line
    9/30/2013
    #1825                                                                    Book Value                        $0.00
    T-568 Repair, Roof Replacement10/31/2013
    #1826                                                                    Book Value                        $0.00
    F-101 Roof
    10/31/2013
    #1827                                                                    Book Value                        $0.00
    New Sib Scrubber Modifications Per Afton
    10/31/2013
    #1828                                                                    Book Value                        $0.00
    Run Bo To K-6
    10/31/2013
    #1829                                                                    Book Value                        $0.00
    50 Hp Shaft
    2/19/1997
    #138                                                           $0.00     Book Value                        $0.00
    Replace Flare Header W/Ss
    10/31/2013
    #1830                                                                    Book Value                        $0.00
    Recycle Sib Piping T-1604 (Afton)11/30/2013
    #1831                                                                    Book Value                        $0.00



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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 39 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Re-Insulate J-4 Pot
    10/31/2013
    #1832                                                                    Book Value                        $0.00
    Voranol 470X
    11/30/2013
    #1833                                                                    Book Value                        $0.00
    K-5 Vac Modifications
    11/30/2013
    #1834                                                                    Book Value                        $0.00
    Coriolis Mass Flowmeter
    12/12/2013
    #1835                                                                    Book Value                        $0.00
    Ga-90 Motor
    12/15/2013
    #1836                                                                    Book Value                        $0.00
    Nitrogen Changeover System
    12/5/2013
    #1837                                                                    Book Value                        $0.00
    Fisher Globe Valve
    12/30/2013
    #1838                                                                    Book Value                        $0.00
    Promass Coriolis Flowmeter
    12/18/2013
    #1839                                                                    Book Value                        $0.00
    Promass 83F50 Flowmeter
    12/1/2013
    #1840                                                                    Book Value                        $0.00
    Wastewater Tank Replacement, T-2003,4
    12/31/2013
    #1841                                                                    Book Value                        $0.00
    Dwd Mass Flow Meter
    12/31/2013
    #1842                                                                    Book Value                        $0.00
    Rxii T-1809 Mass Flow Meter
    12/31/2013
    #1843                                                                    Book Value                        $0.00
    Sib Comm.Mic1115 Rxii
    12/31/2013
    #1844                                                                    Book Value                        $0.00
    Plant Utility Upgrade
    12/31/2013
    #1845                                                                    Book Value                        $0.00
    Honeywell Expansion Project
    12/31/2013
    #1846                                                                    Book Value                        $0.00
    Dike Walls - Plantwide
    12/31/2013
    #1847                                                                    Book Value                        $0.00
    Flare Knockout Pot
    12/31/2013
    #1848                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Pib T-1566 Rxi
    12/31/2013
    #1849                                                                     Book Value                        $0.00
    Rk10 Oxide Interlocs Rxii
    12/31/2013
    #1850                                                                     Book Value                        $0.00
    Dow Dwd2010.01 Rxii
    12/31/2013
    #1851                                                                     Book Value                        $0.00
    Security Door Admin 3 Dwnstrs
    1/9/2014
    #1852                                                                     Book Value                        $0.00
    Coriolis Mass Flowmeter
    1/1/2014
    #1853                                                                     Book Value                        $0.00
    Sscf Heat Exchanger
    1/28/2014
    #1854                                                                     Book Value                        $0.00
    Ql-1000 High Availability/Back-Up/Disaster
    1/15/2014
    #1855                                                                     Book Value                        $0.00
    Repair To Grove Crane
    10/17/2012
    #1858                                                                     Book Value                        $0.00
    Repair To Grove Crane
    10/1/2012
    #1859                                                                     Book Value                        $0.00
    Heat Exchanger Sscf 316Ss
    2/5/2014
    #1860                                                                     Book Value                        $0.00
    Labor And Material For Tube Repair South Boiler
    2/1/2014
    #1861                                                                     Book Value                        $0.00
    Agitator Shaft Assembly
    2/4/2014
    #1862                                                                     Book Value                        $0.00
    Build Hubs H10/Rx1 "A"&"B"/Rew
    2/1/2014
    #1863                                                                     Book Value                        $0.00
    K5 Agitator Stub Shaft
    2/1/2014
    #1864                                                                     Book Value                        $0.00
    Velan Ball Valve, Full Port Metal Seated
    2/27/2014
    #1865                                                                     Book Value                        $0.00
    Double Cartridge Seal Repair, Housing And Sleeve
    2/26/2014
    #1866                                                                     Book Value                        $0.00
    Parking Lot Concrete Repairs,Concrete Inlet
    Repair
    3/10/2014
    #1867                                                                     Book Value                        $0.00



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Debtor      KMCO, LLC                                                         Case number (if known)   20-60028
            Name

    Powerboss Propane Powered With Lp Tank
    3/6/2014
    #1869                                                                       Book Value                        $0.00
    Vortex Flowmeter
    3/27/2014
    #1872                                                                       Book Value                        $0.00
    Fisher Steam Ez Control Valve
    3/31/2014
    #1873                                                                       Book Value                        $0.00
    Global Labor J1 Pot Repl Acid Nozzles
    3/31/2014
    #1877                                                                       Book Value                        $0.00
    Global Labor Upgrade K11 Steam Coils
    3/31/2014
    #1878                                                                       Book Value                        $0.00
    Global Labor Repl Temp H2O Piping
    3/31/2014
    #1879                                                                       Book Value                        $0.00
    Global Labor Rework K11 Condensate Piping
    3/31/2014
    #1881                                                                       Book Value                        $0.00
    Global Labor 9412 Trans
    3/31/2014
    #1882                                                                       Book Value                        $0.00
    Promass Flowmeter
    4/14/2014
    #1883                                                                       Book Value                        $0.00
    Fisher Control Valce Carbon Steel
    4/14/2014
    #1884                                                                       Book Value                        $0.00
    Pump Assy, Liquiflo, Mag Dirve
    4/18/2014
    #1885                                                                       Book Value                        $0.00
    60 Hp Motor, Frame 405T, Explosion Proof
    4/29/2014
    #1886                                                                       Book Value                        $0.00
    Rubitherm Project Rx2
    5/31/2014
    #1889                                                                       Book Value                        $0.00
    Deg Ethoxilation Rx2
    5/31/2014
    #1890                                                                       Book Value                        $0.00
    Aerobic System Installation
    5/8/2014
    #1891                                                                       Book Value                        $0.00
    Cooling Tower Repairds
    5/31/2014
    #1892                                                                       Book Value                        $0.00
    K-10 Fabricate Stub Shaft, Lock Collars And Ring,
    5/13/2014
    #1893                                                                       Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Fisher Control Valve, H8 Tcv 01
    5/23/2014
    #1894                                                                     Book Value                        $0.00
    Fisher Control Valve, H8 Tcv 02
    5/23/2014
    #1895                                                                     Book Value                        $0.00
    Promass Flowmeter
    5/2/2014
    #1896                                                                     Book Value                        $0.00
    Radar Level Transmitter
    5/9/2014
    #1897                                                                     Book Value                        $0.00
    Promass Flowmeter
    5/28/2014
    #1898                                                                     Book Value                        $0.00
    Radar Level Transmitter
    5/31/2014
    #1899                                                                     Book Value                        $0.00
    Promass Flowmeter
    6/2/2014
    #1900                                                                     Book Value                        $0.00
    Promass Flowmeter, Coriolis
    6/10/2014
    #1901                                                                     Book Value                        $0.00
    Global New Pipe Rack At Cooling Towers
    6/30/2014
    #1903                                                                     Book Value                        $0.00
    K-Unit Waste Line
    6/30/2014
    #1904                                                                     Book Value                        $0.00
    H1 Jet Pot Waste Line
    6/30/2014
    #1905                                                                     Book Value                        $0.00
    H11 Jet Pot
    6/30/2014
    #1906                                                                     Book Value                        $0.00
    Wtu Repl Waste Water Line
    6/30/2014
    #1907                                                                     Book Value                        $0.00
    Safety Handrails For Tank & Thief Hatches
    6/30/2014
    #1908                                                                     Book Value                        $0.00
    Re-Work Wfe Rotor
    6/30/2014
    #1910                                                                     Book Value                        $0.00
    F8 Flare Line Upgrade
    6/30/2014
    #1911                                                                     Book Value                        $0.00
    Upgrade K7 Sparger
    6/30/2014
    #1912                                                                     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 43 of 153
Debtor      KMCO, LLC                                                         Case number (if known)   20-60028
            Name

    Pollution Control Civil Work
    6/30/2014
    #1913                                                                       Book Value                        $0.00
    Coriolis Flow Meter
    7/1/2014
    #1914                                                                       Book Value                        $0.00
    Gearbox
    7/15/2014
    #1915                                                                       Book Value                        $0.00
    Float Assembly, Fiberglass
    7/18/2014
    #1916                                                                       Book Value                        $0.00
    Roots Blower
    7/24/2014
    #1917                                                                       Book Value                        $0.00
    Remote Seals
    7/22/2014
    #1918                                                                       Book Value                        $0.00
    Coriolis Mass Flowmeter
    7/30/2014
    #1919                                                                       Book Value                        $0.00
    T1701 Coil Upgrade
    8/31/2014
    #1920                                                                       Book Value                        $0.00
    Railroad Crossing Arms
    8/31/2014
    #1921                                                                       Book Value                        $0.00
    T1606 Exchanger Change Out
    8/31/2014
    #1922                                                                       Book Value                        $0.00
    Afton H4896, H6 To 29 Track Trans Line
    8/31/2014
    #1923                                                                       Book Value                        $0.00
    Spent Acid Vent Line To F7 Jetpot
    8/31/2014
    #1924                                                                       Book Value                        $0.00
    K6 Tempered Water
    8/31/2014
    #1925                                                                       Book Value                        $0.00
    K6 Temperature Automation
    8/31/2014
    #1926                                                                       Book Value                        $0.00
    K4 Internal Weld Repairs
    8/31/2014
    #1927                                                                       Book Value                        $0.00
    K3 Vessel Upgrade On Reactor & Accumulator
    8/31/2014
    #1928                                                                       Book Value                        $0.00
    Pollution Control Civil Work
    8/31/2014
    #1929                                                                       Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Vertical Tank, 9150 Gallon
    9/1/2014
    #1930                                                                     Book Value                        $0.00
    Semi-Micro Balance, 60/120Gx0.01/0.1Mg
    9/1/2014
    #1931                                                                     Book Value                        $0.00
    Chromatograph With Injector, Chemstation And
    Drive
    9/19/2014
    #1932                                                                     Book Value                        $0.00
    Weigh Scale With Forklift Skid Bade And Ind.
    Pack.
    9/1/2014
    #1933                                                                     Book Value                        $0.00
    Pressure Transmitter
    9/4/2014
    #1934                                                                     Book Value                        $0.00
    H-8 Coil/Vessel
    9/30/2014
    #1936                                                                     Book Value                        $0.00
    Tank Painting
    9/30/2014
    #1937                                                                     Book Value                        $0.00
    1975-1994 Land Additions
    7/1/1975
    #1939                                                                     Book Value                        $0.00
    950 Pib T1566 Rx1
    9/30/2014
    #1940                                                                     Book Value                        $0.00
    H10 & H6 Bottom Valve Repl
    9/30/2014
    #1941                                                                     Book Value                        $0.00
    Ecosurf Lf Piping, Tank
    9/30/2014
    #1942                                                                     Book Value                        $0.00
    K10 Internal Weld Repairs
    9/30/2014
    #1943                                                                     Book Value                        $0.00
    Stadis F8 Jet Pot
    9/30/2014
    #1944                                                                     Book Value                        $0.00
    F7 Jet Pot
    9/30/2014
    #1945                                                                     Book Value                        $0.00
    Cuno Filter Housing, Filterite Model
    10/7/2014
    #1948                                                                     Book Value                        $0.00
    Coriolis Multivariable Transmitter And Controller
    10/1/2014
    #1949                                                                     Book Value                        $0.00
    Coriolis Mass Flowmeter
    10/1/2014
    #1950                                                                     Book Value                        $0.00


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Debtor      KMCO, LLC                                                        Case number (if known)   20-60028
            Name

    2014-Utv 390Cc Trail Wagon 4X2
    10/1/2014
    #1951                                                                      Book Value                        $0.00
    K-5 Floor Scale
    10/31/2014
    #1952                                                                      Book Value                        $0.00
    Pipe Rack Fence
    11/1/2014
    #1953                                                                      Book Value                        $0.00
    K7 Middle Blade Assembly
    11/11/2014
    #1954                                                                      Book Value                        $0.00
    Sscf Heat Exchanger
    11/7/2014
    #1955                                                                      Book Value                        $0.00
    Coriolis Mass Flowmeter Rx2
    11/11/2014
    #1956                                                                      Book Value                        $0.00
    2014-Utv 390Cc Trail Wagon 4X2
    11/1/2014
    #1957                                                                      Book Value                        $0.00
    Sscf Heat Exchanger
    12/5/2014
    #1958                                                                      Book Value                        $0.00
    Filter Vessel With 3 Bag Housing
    12/9/2014
    #1959                                                                      Book Value                        $0.00
    Eh Meter, Direct Replacement For Micromotion
    12/31/2014
    #1960                                                                      Book Value                        $0.00
    Cip C Unit Pot Repl Head
    12/31/2014
    #1961                                                                      Book Value                        $0.00
    Cip H10 Jet Pot Nozzle Changeout12/31/2014
    #1962                                                                      Book Value                        $0.00
    Cip Ppg200 Transfer Lines K10 To T1615
    12/31/2014
    #1963                                                                      Book Value                        $0.00
    Cip K7 Agitator
    12/31/2014
    #1964                                                                      Book Value                        $0.00
    Cip H10 Line
    12/31/2014
    #1965                                                                      Book Value                        $0.00
    Cip T1560 Transfer Line Repl
    12/31/2014
    #1966                                                                      Book Value                        $0.00
    Cip T789 Changeout
    12/31/2014
    #1967                                                                      Book Value                        $0.00
    Cip J2 Exchanger & Meter Mod.12/31/2014
    #1968                                                                      Book Value                        $0.00



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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Cip T1040 & 1020 Transfer Line12/31/2014
    #1969                                                                    Book Value                        $0.00
    Cip Kbi-1410 Trans Line T711 To K2
    12/31/2014
    #1970                                                                    Book Value                        $0.00
    Cip Eep Chill Water Modifications12/31/2014
    #1971                                                                    Book Value                        $0.00
    Cip K11 Bottoms Pump
    12/31/2014
    #1972                                                                    Book Value                        $0.00
    Cip T1611 Pxtj
    12/31/2014
    #1973                                                                    Book Value                        $0.00
    Cip Eep Level Controls
    12/31/2014
    #1974                                                                    Book Value                        $0.00
    Cip K10 Valve Actuator
    12/31/2014
    #1975                                                                    Book Value                        $0.00
    Cip Voracor Vapor Lines To Flare12/31/2014
    #1976                                                                    Book Value                        $0.00
    Cip F7 & F8 Upgrades
    12/31/2014
    #1977                                                                    Book Value                        $0.00
    Cip T1623 Level Indicator
    12/31/2014
    #1978                                                                    Book Value                        $0.00
    Cip Radar Sensor Level Indicator12/31/2014
    #1979                                                                    Book Value                        $0.00
    Cip Move Natural Gas Line For Wwt Improvement
    12/31/2014
    #1980                                                                    Book Value                        $0.00
    Cip Plant Utility Upgrade
    12/31/2014
    #1981                                                                    Book Value                        $0.00
    Cip Plant/City Water Split
    12/31/2014
    #1982                                                                    Book Value                        $0.00
    Cip Honewell Expansion Project12/31/2014
    #1983                                                                    Book Value                        $0.00
    Cip Atmospheric Storage Tank Modifications
    12/31/2014
    #1984                                                                    Book Value                        $0.00
    Cip Spcc Upgrades Plantwide12/31/2014
    #1985                                                                    Book Value                        $0.00
    Cip Improvement To Cooling Water Flow
    12/31/2014
    #1986                                                                    Book Value                        $0.00
    Cip H11 Jet Pot
    12/31/2014
    #1987                                                                    Book Value                        $0.00



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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Cip Afton G1 Scrubber Pot
    12/31/2014
    #1988                                                                    Book Value                               $0.00
    Cip Storage Tank For Nash
    12/31/2014
    #1989                                                                    Book Value                               $0.00
    Cip 744 Breaker Tank Replacement
    12/31/2014
    #1990                                                                    Book Value                               $0.00
    Cip Oxide Interlocs
    12/31/2014
    #1991                                                                    Book Value                               $0.00
    Cip K Unit Transformer
    12/31/2014
    #1992                                                                    Book Value                               $0.00
    Cip Afton H3331 Filter Press
    12/31/2014
    #1993                                                                    Book Value                               $0.00
    Cip Sib Process Improvements12/31/2014
    #1994                                                                    Book Value                               $0.00
    Cip Ecosurf Eh Piping, Tanks
    12/31/2014
    #1995                                                                    Book Value                               $0.00
    Cip Voranol 470X Upgrades
    12/31/2014
    #1996                                                                    Book Value                               $0.00
    Cip Trimene Base S1/S2
    12/31/2014
    #1997                                                                    Book Value                               $0.00
    Cip Afton Project H7135
    12/31/2014
    #1998                                                                    Book Value                               $0.00
    Cip Wastewater Treatment Tank Project
    12/31/2014
    #1999                                                                    Book Value                        $2,000,000.00
    Boiler Repairs
    1/1/2015
    #2000                                                                    Book Value                               $0.00
    Boiler
    1/1/2015
    #2001                                                                    Book Value                               $0.00
    Bottom Flange
    1/27/2015
    #2002                                                                    Book Value                               $0.00
    Compressor And Condenser Coil
    2/1/2015
    #2003                                                                    Book Value                               $0.00
    Nema 4 Stainless 480 V Breaker & Starter
    2/19/2015
    #2004                                                                    Book Value                               $0.00
    Exchanger, 503 Sf
    2/1/2015
    #2005                                                                    Book Value                               $0.00

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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Heat Exchanger
    2/11/2015
    #2006                                                                    Book Value                        $0.00
    Poly Tank
    2/17/2015
    #2007                                                                    Book Value                        $0.00
    Rotary Gear Pump
    2/12/1997
    #137                                                           $0.00     Book Value                        $0.00
    50 Hp Shaft
    2/19/1997
    #138                                                           $0.00     Book Value                        $0.00
    Grove Manlift
    4/1/1997
    #139                                                           $0.00     Book Value                        $0.00
    Alarm System
    5/6/1997
    #140                                                           $0.00     Book Value                        $0.00
    Tokheim Meter
    5/8/1997
    #141                                                           $0.00     Book Value                        $0.00
    Pressure Vessel
    5/29/1997
    #142                                                           $0.00     Book Value                        $0.00
    Leaking Boiler Tube
    6/12/1997
    #143                                                           $0.00     Book Value                        $0.00
    Beach-Russ Vac. Pump
    6/25/1997
    #145                                                           $0.00     Book Value                        $0.00
    585 Sq. Ft. Exchanger
    8/2/1996
    #146                                                           $0.00     Book Value                        $0.00
    Exxon Parabar 9402
    6/30/1997
    #147                                                           $0.00     Book Value                        $0.00
    K-5 Storage Tank
    6/30/1997
    #148                                                           $0.00     Book Value                        $0.00
    T-750 Xylene Tank
    6/30/1997
    #149                                                           $0.00     Book Value                        $0.00
    Tank Painting Supplies
    7/25/1994
    #150                                                           $0.00     Book Value                        $0.00
    Tank Painting Supplies
    8/2/1994
    #151                                                           $0.00     Book Value                        $0.00
    Tank Painting Supplies
    8/2/1994
    #152                                                           $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Seal Assembly
    9/14/1994
    #153                                                           $0.00     Book Value                        $0.00
    Portable Indicator & Ala
    10/11/1994
    #154                                                           $0.00     Book Value                        $0.00
    Seals, Pump Parts
    2/1/1995
    #155                                                           $0.00     Book Value                        $0.00
    Equipment
    2/6/1995
    #156                                                           $0.00     Book Value                        $0.00
    Equipment
    3/2/1995
    #157                                                           $0.00     Book Value                        $0.00
    Seal & Pump Parts
    3/9/1995
    #158                                                           $0.00     Book Value                        $0.00
    Equipment
    3/22/1995
    #159                                                           $0.00     Book Value                        $0.00
    Equipment
    3/23/1995
    #160                                                           $0.00     Book Value                        $0.00
    Equipment
    5/8/1995
    #161                                                           $0.00     Book Value                        $0.00
    Equipment
    6/28/1995
    #162                                                           $0.00     Book Value                        $0.00
    Two Transformer Banks
    7/26/1995
    #163                                                           $0.00     Book Value                        $0.00
    Pl 15 Transmitter
    10/11/1995
    #164                                                           $0.00     Book Value                        $0.00
    Skimmer
    10/6/1995
    #165                                                           $0.00     Book Value                        $0.00
    Roper Pump
    10/23/1995
    #166                                                           $0.00     Book Value                        $0.00
    Hydra Cell Cast Iron Pum
    10/27/1995
    #167                                                           $0.00     Book Value                        $0.00
    Stainless Steel Coupler
    11/1/1995
    #168                                                           $0.00     Book Value                        $0.00
    P-2000 Pump To 75HP
    12/18/1995
    #169                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 50 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    V/P Pump
    1/18/1996
    #170                                                           $0.00     Book Value                        $0.00
    Junction Box
    1/17/1996
    #171                                                           $0.00     Book Value                        $0.00
    Equipment
    1/22/1996
    #172                                                           $0.00     Book Value                        $0.00
    Inducer
    2/9/1996
    #173                                                           $0.00     Book Value                        $0.00
    P 2000 Pump
    2/23/1996
    #174                                                           $0.00     Book Value                        $0.00
    Tokheim Meter
    2/1/1996
    #175                                                           $0.00     Book Value                        $0.00
    12,000 Gallon Tank
    2/15/1996
    #176                                                           $0.00     Book Value                        $0.00
    Digital Ultrasonic Gauge
    2/16/1996
    #177                                                           $0.00     Book Value                        $0.00
    Pl 95 Vortex Flowmeter
    3/14/1996
    #178                                                           $0.00     Book Value                        $0.00
    Transmitter
    3/18/1996
    #179                                                           $0.00     Book Value                        $0.00
    3 Storage Tanks
    5/23/1996
    #180                                                           $0.00     Book Value                        $0.00
    2 Storage Tanks
    5/16/1996
    #181                                                           $0.00     Book Value                        $0.00
    Pipe Threader Machine
    5/16/1996
    #182                                                           $0.00     Book Value                        $0.00
    Double Mech. Seal Pump
    6/13/1996
    #183                                                           $0.00     Book Value                        $0.00
    Model 1Q310A Indicator
    9/12/1996
    #184                                                           $0.00     Book Value                        $0.00
    Honetwell Udc6300 Contro
    10/4/1996
    #185                                                           $0.00     Book Value                        $0.00
    2 Ton Air Hoist
    11/7/1996
    #186                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 51 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    3/4" Ci Main Valve
    11/11/1996
    #187                                                           $0.00     Book Value                        $0.00
    Storage Tank
    10/31/1996
    #188                                                           $0.00     Book Value                        $0.00
    Scale
    12/30/1996
    #189                                                           $0.00     Book Value                        $0.00
    Tachometer
    12/19/1996
    #190                                                           $0.00     Book Value                        $0.00
    Vertical Vessel
    12/1/1996
    #191                                                           $0.00     Book Value                        $0.00
    Fisher 667-Ed-45/3582 VA
    1/21/1997
    #192                                                           $0.00     Book Value                        $0.00
    Central Control Unit W/S
    1/31/1997
    #193                                                           $0.00     Book Value                        $0.00
    Filter Housing
    2/12/1997
    #194                                                           $0.00     Book Value                        $0.00
    50 HP Shaft
    2/19/1997
    #195                                                           $0.00     Book Value                        $0.00
    Seal Assembly For Maag P
    2/26/1997
    #196                                                           $0.00     Book Value                        $0.00
    Grove Manlift
    4/1/1997
    #197                                                           $0.00     Book Value                        $0.00
    Alarm System
    5/6/1997
    #198                                                           $0.00     Book Value                        $0.00
    Relief Valve
    5/22/1997
    #199                                                           $0.00     Book Value                        $0.00
    Pressure Valve
    5/29/1997
    #200                                                           $0.00     Book Value                        $0.00
    Rep. Of Leaking Boiler T
    6/12/1997
    #201                                                           $0.00     Book Value                        $0.00
    Lb Frame-Trip-Unit
    7/1/1997
    #203                                                           $0.00     Book Value                        $0.00
    Load Cell
    7/1/1997
    #204                                                           $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    S-3 New Reactor
    6/30/1997
    #205                                                           $0.00     Book Value                        $0.00
    PO Storage Tank
    6/30/1997
    #206                                                           $0.00     Book Value                        $0.00
    Pollution Control
    2/28/1996
    #207                                                           $0.00     Book Value                        $0.00
    200 32X45 Pails
    12/18/1996
    #208                                                           $0.00     Book Value                        $0.00
    Column Packing
    3/18/1997
    #209                                                           $0.00     Book Value                        $0.00
    Column Packing
    3/18/1997
    #210                                                           $0.00     Book Value                        $0.00
    Suction Strainer
    4/17/1997
    #211                                                           $0.00     Book Value                        $0.00
    200 5X8 Mesh 45# 20 Pail
    7/1/1997
    #212                                                           $0.00     Book Value                        $0.00
    HP3395 Integrator
    8/3/1994
    #213                                                           $0.00     Book Value                        $0.00
    Equipment
    2/9/1995
    #214                                                           $0.00     Book Value                        $0.00
    Equipment
    7/5/1995
    #215                                                           $0.00     Book Value                        $0.00
    Equipment
    10/19/1995
    #216                                                           $0.00     Book Value                        $0.00
    Restroom & Const. Addit.
    5/7/1997
    #225                                                           $0.00     Book Value                        $0.00
    Air Conditioner
    7/30/1997
    #226                                                           $0.00     Book Value                        $0.00
    Houston Sales Ofc./Fm196
    2/15/1999
    #227                                                           $0.00     Book Value                        $0.00
    Houston Sales Ofc./1960
    3/15/1999
    #228                                                           $0.00     Book Value                        $0.00
    Houston Sales Ofc/1960
    5/25/1999
    #229                                                           $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Carbon Steel Tubes
    7/15/1997
    #231                                                           $0.00     Book Value                        $0.00
    Carbon Steel Tubes
    7/30/1997
    #232                                                           $0.00     Book Value                        $0.00
    Hairpin Exchanger
    2/1/2015
    2008                                                                     Book Value                        $0.00
    Firewalls, Wiresless Access Points And Antivirius
    2/18/2015
    #2009                                                                    Book Value                        $0.00
    Chiller Repairs
    3/11/2015
    #2010                                                                    Book Value                        $0.00
    Excellence Titrator
    3/1/2015
    #2011                                                                    Book Value                        $0.00
    Sindie Gen 2 Analyzer
    3/1/2015
    #2012                                                                    Book Value                        $0.00
    Heat Exchanger
    3/9/2015
    #2013                                                                    Book Value                        $0.00
    Used Exchanger
    3/1/2015
    #2014                                                                    Book Value                        $0.00
    Cuno Filter
    3/1/2015
    #2015                                                                    Book Value                        $0.00
    K11 Valve Upgrade
    3/31/2015
    #2016                                                                    Book Value                        $0.00
    Sulfur System Modification K-8
    3/31/2015
    #2017                                                                    Book Value                        $0.00
    Global Labor-Safety Projects
    3/31/2015
    #2018                                                                    Book Value                        $0.00
    Global Labor-Di H20 T-752 For Eep
    3/31/2015
    #2019                                                                    Book Value                        $0.00
    Global Labor-H-7 Bottom Flange
    3/31/2015
    #2020                                                                    Book Value                        $0.00
    Global Labor-900 Tank Farm Ditch Covering
    3/31/2015
    #2021                                                                    Book Value                        $0.00
    Global Labor-G-1 Exchanger Changeout
    3/31/2015
    #2022                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 54 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Global Labor-H-1 Jet Pot Caustic Line
    3/31/2015
    #2023                                                                    Book Value                        $0.00
    Water Tank
    4/10/2015
    #2024                                                                    Book Value                        $0.00
    Mass Flowmeter
    4/15/2015
    #2025                                                                    Book Value                        $0.00
    Magnetic Level
    4/13/2015
    #2026                                                                    Book Value                        $0.00
    Liquid Jet Exhauster W/ Protective Spray Coating
    4/8/2015
    #2027                                                                    Book Value                        $0.00
    2015-Utv 390Cc Trail Wagon
    4/9/2015
    #2028                                                                    Book Value                        $0.00
    Instrument For Total Organic Carbon
    5/5/2015
    #2029                                                                    Book Value                        $0.00
    Prosonic Flow
    5/14/2015
    #2030                                                                    Book Value                        $0.00
    Flowmeter
    5/14/2015
    #2031                                                                    Book Value                        $0.00
    Flowmeter
    5/13/2015
    #2032                                                                    Book Value                        $0.00
    Ross And Tms Upgrade
    5/8/2015
    #2033                                                                    Book Value                        $0.00
    Honeywell Wireless Transmitter
    6/12/2015
    #2035                                                                    Book Value                        $0.00
    Honeywell Wireless Transmitter
    6/12/2015
    #2036                                                                    Book Value                        $0.00
    Heat Exchanger
    6/2/2015
    #2037                                                                    Book Value                        $0.00
    Hkd 3400 Breaker
    6/1/2015
    #2038                                                                    Book Value                        $0.00
    Hkd 3400 Breaker
    6/1/2015
    #2039                                                                    Book Value                        $0.00
    Flow Meter
    6/1/2015
    #2040                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 55 of 153
Debtor      KMCO, LLC                                                        Case number (if known)   20-60028
            Name

    H12 Shaft
    6/1/2015
    #2041                                                                      Book Value                        $0.00
    Rotary Piston Pump Repair
    6/8/2015
    #2042                                                                      Book Value                        $0.00
    H12 Agitator Repair
    6/1/2015
    #2043                                                                      Book Value                        $0.00
    Used-Exchanger
    6/1/2015
    #2044                                                                      Book Value                        $0.00
    Replace Heil 5 Ton A/C System & Heat Air Handler
    6/24/2015
    #2045                                                                      Book Value                        $0.00
    J-1 Accum Oh Cond Modif - Global Labor
    6/30/2015
    #2047                                                                      Book Value                        $0.00
    Heos Storage Tank Relocation - Global Labor
    6/30/2015
    #2048                                                                      Book Value                        $0.00
    Dbhp Storage Tank Relocation - Global Labor
    6/30/2015
    #2049                                                                      Book Value                        $0.00
    H-12 Reactor Agitator - Global Labor
    6/30/2015
    #2050                                                                      Book Value                        $0.00
    H-6 Reactor - Global Labor
    6/30/2015
    #2051                                                                      Book Value                        $0.00
    K-2 Accum New Srv - Global Labor
    6/30/2015
    #2052                                                                      Book Value                        $0.00
    A Unit Turnaround - Global Labor
    6/30/2015
    #2053                                                                      Book Value                        $0.00
    Repl F-101 Filter Press W/New Press-Global Labor
    6/30/2015
    #2054                                                                      Book Value                        $0.00
    Seperate Process Water & Potable Water-Globa
    Labor
    6/30/2015
    #2055                                                                      Book Value                        $0.00
    K-7 Exchanger & Coils-Global Labor
    6/30/2015
    #2056                                                                      Book Value                        $0.00
    J-4 Unit Turnaround & Vacuum Pump-Global
    Labor

    6/30/2015
    #2057                                                                      Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    T-421 Modif. & Walkway - Global Labor
    6/30/2015
    #2058                                                                     Book Value                           $0.00
    K-4 Platform & N2 Lines On Oxide Lines-Global
    Labo
    6/30/2015
    #2059                                                                     Book Value                           $0.00
    Filter F-105 Install New Platform-Global Labor
    6/30/2015
    #2060                                                                     Book Value                           $0.00
    K-10 Unit Turnaround - Global Labor
    6/30/2015
    #2061                                                                     Book Value                           $0.00
    Radar Level
    7/1/2015
    #2063                                                                     Book Value                           $0.00
    Schneider Power Module
    7/1/2015
    #2064                                                                     Book Value                           $0.00
    Flow Meter
    7/9/2015
    #2065                                                                     Book Value                           $0.00
    Maag Gear Pump
    7/17/2015
    #2066                                                                     Book Value                           $0.00
    Openlab Cds
    7/20/2015
    #2067                                                                     Book Value                           $0.00
    Heat Exchanger
    8/3/2015
    #2068                                                                     Book Value                        Unknown
    Promass Flow Meter
    8/13/2015
    #2069                                                                     Book Value                           $0.00
    Micro Motion Transmitter
    8/14/2015
    #2070                                                                     Book Value                           $0.00
    Mosherflo D
    8/31/2015
    #2071                                                                     Book Value                           $0.00
    Railroad Tracks
    9/3/2015
    #2072                                                                     Book Value                           $0.00
    Valve
    9/14/2015
    #2073                                                                     Book Value                           $0.00
    Repairs To Forklift
    9/30/2015
    #2074                                                                     Book Value                           $0.00
    Global Labor-H-11 Unit Turn Around
    9/30/2015
    #2075                                                                     Book Value                           $0.00



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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Global Labor-K-11 Accumulator Turn Around
    9/30/2015
    #2076                                                                     Book Value                        $0.00
    Global Labor-Platflorm On 103 Filter
    9/30/2015
    #2077                                                                     Book Value                        $0.00
    Global Labor-Install Loading Line To T-509
    9/30/2015
    #2078                                                                     Book Value                        $0.00
    Global Labor-Rotate H-9 Fit-01 From Horiz. To Flag
    9/30/2015
    #2079                                                                     Book Value                        $0.00
    Global Labor-H-9 Unit Turn Around
    9/30/2015
    #2080                                                                     Book Value                        $0.00
    Global Labor-Fab & Repl Kbi-2440 Line K-4 To T-
    706
    9/30/2015
    #2081                                                                     Book Value                        $0.00
    Global Labor-H-8 Turn Around
    9/30/2015
    #2082                                                                     Book Value                        $0.00
    Global Labor-D-Unit Turn Around
    9/30/2015
    #2083                                                                     Book Value                        $0.00
    Global Labor-Install 100' Of 2"C.S. Line From
    9/30/2015
    #2084                                                                     Book Value                        $0.00
    Global Labor-Mod. For T-423 Maleic Tank
    9/30/2015
    #2085                                                                     Book Value                        $0.00
    Global Labor-T-522 Fab New Line
    9/30/2015
    #2086                                                                     Book Value                        $0.00
    Cip Infineum Dbhp/Heos Rx1
    9/30/2015
    #2087                                                                     Book Value                        $0.00
    Cip-Plant/City Water Split
    9/30/2015
    #2088                                                                     Book Value                        $0.00
    Cip-Plant Road Repair
    9/30/2015
    #2089                                                                     Book Value                        $0.00
    Cip-Plant Road Repair
    9/30/2015
    #2090                                                                     Book Value                        $0.00
    Cip-Plant Utility Upgrade
    9/30/2015
    #2091                                                                     Book Value                        $0.00
    Cip-Tank Painting/Refurb.
    9/30/2015
    #2092                                                                     Book Value                        $0.00



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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 58 of 153
Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Cip-Atmosphere Storage Tank Rep.
    9/30/2015
    #2093                                                                     Book Value                        $0.00
    Cip-Plant Fence-Plantwide
    9/30/2015
    #2094                                                                     Book Value                        $0.00
    Cip-Plantwide Alarm Upgrade
    9/30/2015
    #2095                                                                     Book Value                        $0.00
    Cip-Sulturic Acid Tank Modification D1
    9/30/2015
    #2096                                                                     Book Value                        $0.00
    Cip-Storage Tank For Nash Rx2
    9/30/2015
    #2097                                                                     Book Value                        $0.00
    Cip-744 Breaker Tank Repl
    9/30/2015
    #2098                                                                     Book Value                        $0.00
    Cip-K-Unit Transformer
    9/30/2015
    #2099                                                                     Book Value                        $0.00
    Cip-F101 Filter Replacement Rx2
    9/30/2015
    #2100                                                                     Book Value                        $0.00
    Cip-K-7 Containment Rx2
    9/30/2015
    #2101                                                                     Book Value                        $0.00
    Cip-Rk8 Nash Line Improv Rx2
    9/30/2015
    #2102                                                                     Book Value                        $0.00
    Micro Motion 3500 Transmitter10/19/2015
    #2103                                                                     Book Value                        $0.00
    Micro Motion Cmf100 Model
    10/30/2015
    #2104                                                                     Book Value                        $0.00
    Teca Thermoelectric Air Conditioner
    10/1/2015
    #2105                                                                     Book Value                        $0.00
    Gse Model 355Is
    10/7/2015
    #2106                                                                     Book Value                        $0.00
    New Sewer Line Dist 1 To Waste Water
    10/31/2015
    #2107                                                                     Book Value                        $0.00
    Insulation K-10 Exchanger
    10/31/2015
    #2108                                                                     Book Value                        $0.00
    H-10 Turnaround
    11/30/2015
    #2109                                                                     Book Value                        $0.00
    Pump And Line Charge Tp H1211/30/2015
    #2110                                                                     Book Value                        $0.00



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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Stramline Piping & Reduce 90'S On H11
    11/30/2015
    #2111                                                                    Book Value                        $0.00
    Installation For Eo Chiller
    11/30/2015
    #2112                                                                    Book Value                        $0.00
    Used-Exchanger
    11/12/2015
    #2113                                                                    Book Value                        $0.00
    Repairs To North Boiler
    11/5/2015
    #2114                                                                    Book Value                        $0.00
    Valve Repairs
    11/1/2015
    #2115                                                                    Book Value                        $0.00
    Globaltherm Hot Oil Production Assist.
    11/30/2015
    #2116                                                                    Book Value                        $0.00
    I/O Cabinet A/C Unit Rx 2
    12/1/2015
    #2117                                                                    Book Value                        $0.00
    New-Maag Gear Pump Rt 56-1 Refitherm
    12/15/2015
    #2118                                                                    Book Value                        $0.00
    Rx2 Waste Line Refab
    12/31/2015
    #2119                                                                    Book Value                        $0.00
    G1 Cooling Waste Line
    12/31/2015
    #2120                                                                    Book Value                        $0.00
    Insulate K4 Reactor
    12/31/2015
    #2121                                                                    Book Value                        $0.00
    Remove & Replace H11 Condenser
    12/31/2015
    #2122                                                                    Book Value                        $0.00
    Replace Line On T701 & T798

    12/31/2015
    #2123                                                                    Book Value                        $0.00
    Cip-Ib Tank Relocation Rx2
    12/31/2015
    #2124                                                                    Book Value                        $0.00
    Cip-Heat Exchangers Upgrade Ku12/31/2015
    #2125                                                                    Book Value                        $0.00
    Cip-K-1 Swordfish Project
    12/31/2015
    #2126                                                                    Book Value                        $0.00
    Cip-Misc Equipment 12/2015
    12/31/2015
    #2127                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Cip-Plc Upgrades
    12/31/2015
    #2130                                                                     Book Value                              $0.00
    Cip-Infineum Equipment
    12/31/2015
    #2131                                                                     Book Value                              $0.00
    Cip-N2 System Upgrade
    12/31/2015
    #2132                                                                     Book Value                              $0.00
    Cip-Fall Protection System
    12/31/2015
    #2133                                                                     Book Value                              $0.00
    Cip-New Tanks-Plantwide
    12/31/2015
    #2134                                                                     Book Value                              $0.00
    Cip-Replace C Unit/Acc Repairs

    12/31/2015
    #2135                                                                     Book Value                              $0.00
    Cip-N Boiler Fan/Valve Upgrade

    12/31/2015
    #2136                                                                     Book Value                              $0.00
    Cip-Cooling Tower Mod. Dist. 1

    12/31/2015
    #2137                                                                     Book Value                              $0.00
    Cip-H10 Accum. Repair/Upgrade

    12/31/2015
    #2138                                                                     Book Value                              $0.00
    Cip-Repl Tank 766 Rx1
    12/31/2015
    #2139                                                                     Book Value                              $0.00
    Cip-Eep Ea Scrubber Redesign

    12/31/2015
    #2140                                                                     Book Value                              $0.00
    Cip-H10 Hot Oil Exchanger
    12/31/2015
    #2141                                                                     Book Value                              $0.00
    Cip-Oxide Interlocks
    12/31/2015
    #2142                                                                     Book Value                              $0.00
    Cip-K Unit Cooling Tower Header

    12/31/2015
    #2143                                                                     Book Value                        $500,000.00
    Cip-2501/2502 Eo Storage Repair

    12/31/2015
    #2144                                                                     Book Value                              $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Cip-K4 Repairs
    12/31/2015
    #2145                                                                    Book Value                              $0.00
    Cip-Septic System For Maint. Warehouse
    12/31/2015
    #2146                                                                    Book Value                              $0.00
    Cip-Wastewater Treatment Tank

    12/31/2015
    #2147                                                                    Book Value                        $500,000.00
    Portable Ramp
    1/27/2016
    #2148                                                                    Book Value                              $0.00
    Flow Meter
    1/21/2016
    #2149                                                                    Book Value                              $0.00
    Gearbox Rebuilt
    1/5/2016
    #2150                                                                    Book Value                              $0.00
    Eep Turnover
    1/31/2016
    #2151                                                                    Book Value                              $0.00
    Rail Tracks Replacement
    2/26/2016
    #2152                                                                    Book Value                              $0.00
    Eep Dryer
    2/9/2016
    #2153                                                                    Book Value                              $0.00
    Heat Exchanger
    2/18/2016
    #2154                                                                    Book Value                              $0.00
    P4Mx 91-6
    2/29/2016
    #2155                                                                    Book Value                              $0.00
    3" 300# Valtek Mk I
    3/1/2016
    #2156                                                                    Book Value                              $0.00
    New-Maag Gear Pump Rt 56-1 Refiltherm
    3/14/2016
    #2157                                                                    Book Value                              $0.00
    Heat Exchanger
    4/1/2016
    #2158                                                                    Book Value                              $0.00
    Cip-T1616 Sock Filter
    4/30/2016
    #2159                                                                    Book Value                              $0.00
    Bunker Gear
    5/19/2016
    #2160                                                                    Book Value                              $0.00
    Heat Exchanger
    5/25/2016
    #2161                                                                    Book Value                              $0.00



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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Motor Pump For Boiler
    5/31/2016
    #2162                                                                    Book Value                        $0.00
    Parking Lot Resurfacing
    6/26/2016
    #2163                                                                    Book Value                        $0.00
    6 Ton Rooftop Unit
    6/17/2016
    #2164                                                                    Book Value                        $0.00
    Cip-S1/S2 Conversion To Sib
    6/30/2016
    #2165                                                                    Book Value                        $0.00
    Cip-500 Sump Repair
    6/30/2016
    #2166                                                                    Book Value                        $0.00
    Cip-1608 Filter Change
    6/30/2016
    #2167                                                                    Book Value                        $0.00
    Cip-K6 Exchange Repl. Phase 2
    6/30/2016
    #2168                                                                    Book Value                        $0.00
    Audible Alarms
    7/31/2016
    #2169                                                                    Book Value                        $0.00
    Rebuild Pumps
    7/31/2016
    #2170                                                                    Book Value                        $0.00
    Hydraulic Pump
    8/1/2016
    #2171                                                                    Book Value                        $0.00
    Flow Meter
    8/1/2016
    #2172                                                                    Book Value                        $0.00
    Chairs-Control Room
    8/31/2016
    #2173                                                                    Book Value                        $0.00
    Transmission
    7/31/2016
    #2174                                                                    Book Value                        $0.00
    Flanged Vortex Flowmater
    9/19/2016
    #2175                                                                    Book Value                        $0.00
    A/C Unit
    9/1/2016
    #2176                                                                    Book Value                        $0.00
    Horizontal Varec Flame
    10/3/2016
    #2177                                                                    Book Value                        $0.00
    H-8/3700 Transmitter
    10/14/2016
    #2178                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 63 of 153
Debtor      KMCO, LLC                                                         Case number (if known)   20-60028
            Name

    Sales Office Improvements
    11/3/2016
    #2179                                                                       Book Value                        $0.00
    Oil Test Centrifuge - Lab
    11/1/2016
    #2181                                                                       Book Value                        $0.00
    Velan Hard Face Seat, Bolted Bonnet Gate Valve
    11/2/2016
    #2182                                                                       Book Value                        $0.00
    Promass 83F50, Dn50 2"
    10/28/2016
    #2183                                                                       Book Value                        $0.00
    Coriolis Mass Flow Meters - 2Ea. 1"
    11/3/2016
    #2184                                                                       Book Value                        $0.00
    Coriolis Mass Flow Meters 2Ea. 2"
    11/14/2016
    #2185                                                                       Book Value                        $0.00
    Locomotive Axle Change
    11/9/2016
    #2187                                                                       Book Value                        $0.00
    Honeywell Expansion Project
    12/31/2016
    #2190                                                                       Book Value                        $0.00
    New Tanks For Plant
    12/31/2016
    #2191                                                                       Book Value                        $0.00
    Retubing Hot Oil Exchanger
    12/31/2016
    #2192                                                                       Book Value                        $0.00
    Ammonia/Water Process Phase 1
    12/31/2016
    #2193                                                                       Book Value                        $0.00
    500 Sump Repair
    12/31/2016
    #2194                                                                       Book Value                        $0.00
    Oxide Interlocs
    12/1/2016
    #2195                                                                       Book Value                        $0.00
    Sib Process Improvements
    12/1/2016
    #2196                                                                       Book Value                        $0.00
    Storage Booster Pump
    12/1/2016
    #2197                                                                       Book Value                        $0.00
    Employee Parking Lot Lighting
    12/1/2016
    #2198                                                                       Book Value                        $0.00
    Pha Bottom Valve Remote
    12/31/2016
    #2199                                                                       Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Dcs Expansion Cabinet
    12/1/2016
    #2200                                                                    Book Value                              $0.00
    Major Maintenance Agitators
    12/1/2016
    #2201                                                                    Book Value                              $0.00
    Quality Mgmt System Software Phase 2
    12/1/2016
    #2202                                                                    Book Value                              $0.00
    Wwt Plant Air Blower
    12/1/2016
    #2203                                                                    Book Value                              $0.00
    Wastewater Treatment Tanks
    12/1/2016
    #2204                                                                    Book Value                        $100,000.00
    Conference Table And Chairs
    12/13/2016
    #2205                                                                    Book Value                              $0.00
    Nox Upgrade
    12/31/2016
    #2206                                                                    Book Value                              $0.00
    Diamon Series Filter Press
    1/1/2017
    #2207                                                                    Book Value                              $0.00
    Afton Chiller-Major Rep
    2/28/2017
    #2209                                                                    Book Value                              $0.00
    Ammonia Gas Detection
    2/28/2017
    #2210                                                                    Book Value                              $0.00
    1227 Kmco Project Change
    2/28/2017
    #2211                                                                    Book Value                              $0.00
    Cooler Level Gauge
    2/28/2017
    #2212                                                                    Book Value                              $0.00
    Waste Water Blower Repair
    2/28/2017
    #2213                                                                    Book Value                              $0.00
    Coriolis Mass Flowmeter
    2/28/2017
    #2215                                                                    Book Value                              $0.00
    Coriolis Mass Flowmeter
    2/28/2017
    #2216                                                                    Book Value                              $0.00
    Toc-Lcsn Lab Equipment
    3/31/2017
    #2218                                                                    Book Value                              $0.00
    Heat Exchanger
    3/31/2017
    #2219                                                                    Book Value                              $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    Liquid Ring Vaccum Pump
    3/1/2017
    #2220                                                                     Book Value                        $0.00
    F101 Filter Replacement Rx2
    3/31/2017
    #2221                                                                     Book Value                        $0.00
    Nonyl Phenol Insulation
    3/31/2017
    #2222                                                                     Book Value                        $0.00
    Flashpoint Instrument
    3/31/2017
    #2223                                                                     Book Value                        $0.00
    Carrier 15-T 2-Stage R-410A A/C & Heat Grn-
    196404
    4/24/2017
    #2224                                                                     Book Value                        $0.00
    5 Ton Proserv Trsg Bridge Crane Grn-197324
    5/16/2017
    #2226                                                                     Book Value                        $0.00
    Liquid Jet Exhauster Grn-196868
    5/1/2017
    #2227                                                                     Book Value                        $0.00
    Liquid Jet Exhauster Grn-196869
    5/1/2017
    #2228                                                                     Book Value                        $0.00
    241711 Grid Screen Grn-196893
    5/1/2017
    #2229                                                                     Book Value                        $0.00
    Test Tube Bath Grn-196950
    5/1/2017
    #2230                                                                     Book Value                        $0.00
    Eo R/C Unload Station
    6/30/2017
    #2233                                                                     Book Value                        $0.00
    K-11 Reactor 9695
    6/30/2017
    #2234                                                                     Book Value                        $0.00
    Oxygen Transmit
    6/30/2017
    #2235                                                                     Book Value                        $0.00
    Jet Pot Duplex Strainer H6
    12/18/2016
    #2236                                                                     Book Value                        $0.00
    Pha Overhead Valve Interlock

    12/31/2016
    #2239                                                                     Book Value                        $0.00
    K11 Coil Upgrade
    5/1/2017
    #2240                                                                     Book Value                        $0.00
    2501/2502 Eo Storage
    4/15/2016
    #2241                                                                     Book Value                        $0.00


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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Audible Alarms
    3/1/2017
    #2242                                                                    Book Value                        $0.00
    Boiler Shutdown
    5/5/2017
    #2243                                                                    Book Value                        $0.00
    Trailer Park Expansion
    6/30/2017
    #2244                                                                    Book Value                        $0.00
    Skid Pump
    7/31/2017
    #2246                                                                    Book Value                        $0.00
    Skid Pump
    7/31/2017
    #2247                                                                    Book Value                        $0.00
    Skid Pump
    7/31/2017
    #2248                                                                    Book Value                        $0.00
    Carrier 20 Ton A/C Unit
    7/31/2017
    #2250                                                                    Book Value                        $0.00
    Sscf Heat Exchanger
    8/30/2017
    #2251                                                                    Book Value                        $0.00
    K6 Gearbox
    8/31/2017
    #2252                                                                    Book Value                        $0.00
    K6 Flange Adapter
    9/30/2017
    #2253                                                                    Book Value                        $0.00
    Sales Office Furniture
    2/28/2017
    #2254                                                                    Book Value                        $0.00
    Cad Soft/Hardware Upgrade
    7/31/2017
    #2255                                                                    Book Value                        $0.00
    K-10 Fireproofing
    8/30/2017
    #2256                                                                    Book Value                        $0.00
    Flare Instrumentation
    8/30/2017
    #2257                                                                    Book Value                        $0.00
    North Drum Yard
    8/31/2017
    #2258                                                                    Book Value                        $0.00
    Transformer
    9/30/2017
    #2259                                                                    Book Value                        $0.00
    Lighting Panel Rx2
    9/30/2017
    #2260                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Lighting Panel Rx1
    9/30/2017
    #2261                                                                    Book Value                        $0.00
    Pump Motor Dist1
    9/30/2017
    #2262                                                                    Book Value                        $0.00
    Pump Motor Rx1
    9/30/2017
    #2263                                                                    Book Value                        $0.00
    Pressure Transmitter
    9/30/2017
    #2264                                                                    Book Value                        $0.00
    Starter Motor H8
    9/30/2017
    #2265                                                                    Book Value                        $0.00
    Flow Meter
    9/30/2017
    #2266                                                                    Book Value                        $0.00
    Pump Motor Cooling Tower
    9/30/2017
    #2267                                                                    Book Value                        $0.00
    Pump Motor Cooling Tower
    9/30/2017
    #2268                                                                    Book Value                        $0.00
    Starter Motor H12
    9/30/2017
    #2269                                                                    Book Value                        $0.00
    Pump Motor Cooling Tower K
    9/30/2017
    #2270                                                                    Book Value                        $0.00
    Pump Motor Cooling Tower K
    9/30/2017
    #2271                                                                    Book Value                        $0.00
    Pump Motor Cooling Tower K
    9/30/2017
    #2272                                                                    Book Value                        $0.00
    Starter Motor H12
    9/30/2017
    #2273                                                                    Book Value                        $0.00
    Pump Motor Dist1
    9/30/2017
    #2274                                                                    Book Value                        $0.00
    Pump Motor Rx1
    9/30/2017
    #2275                                                                    Book Value                        $0.00
    Pump Motor Cooling Tower
    9/30/2017
    #2276                                                                    Book Value                        $0.00
    Pump Motor Cooling Tower
    9/30/2017
    #2277                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Flow Meter K3
    9/30/2017
    #2278                                                                    Book Value                              $0.00
    Breaker Box
    9/30/2017
    #2279                                                                    Book Value                              $0.00
    Turnstiles
    11/30/2017
    #2280                                                                    Book Value                              $0.00
    Eep Chiller Rx1
    12/31/2017
    #2281                                                                    Book Value                              $0.00
    Control Room Rx1/Rx2
    12/31/2017
    #2282                                                                    Book Value                         $50,000.00
    Pipe Rack
    12/31/2017
    #2283                                                                    Book Value                        $100,000.00
    G1 Hoist Crane
    12/31/2017
    #2284                                                                    Book Value                              $0.00
    Cold Chamber Bath Tube
    1/31/2018
    #2286                                                                    Book Value                              $0.00
    Liquid Bath Tube
    1/31/2018
    #2287                                                                    Book Value                              $0.00
    Oxide Area Gad Detection
    4/30/2018
    #2288                                                                    Book Value                              $0.00
    C12 Oxide Pump K2
    4/30/2018
    #2289                                                                    Book Value                              $0.00
    K-Unit Cooling Tower
    4/30/2018
    #2290                                                                    Book Value                        $200,000.00
    Pressure Washer
    4/30/2018
    #2291                                                                    Book Value                              $0.00
    Motor Control Center
    4/30/2018
    #2292                                                                    Book Value                         $50,000.00
    Rail Track 27
    4/30/2018
    #2293                                                                    Book Value                              $0.00
    Rail Track 28
    4/30/2018
    #2294                                                                    Book Value                              $0.00
    K10 Agitator Stub Shaft
    5/31/2018
    #2295                                                                    Book Value                              $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Electrical Upgrade Phase 1
    6/30/2018
    #2296                                                                    Book Value                        $0.00
    Eep Cooling Water Upgrade Project
    6/30/2018
    #2297                                                                    Book Value                        $0.00
    Control Room Revison 3 Project
    6/30/2018
    #2298                                                                    Book Value                        $0.00
    Eep Resin Bed Upgrade Project
    6/30/2018
    #2299                                                                    Book Value                        $0.00
    Bt-6 Drum Scale
    6/30/2018
    #2300                                                                    Book Value                        $0.00
    5 Ton A/C Sys - Changeroom
    8/1/2018
    #2301                                                                    Book Value                        $0.00
    5 Ton A/C Sys - Rx1
    8/1/2018
    #2302                                                                    Book Value                        $0.00
    K5 Flanged Nozzles
    8/1/2018
    #2303                                                                    Book Value                        $0.00
    H8 Hightemp Interlock System
    8/1/2018
    #2304                                                                    Book Value                        $0.00
    Plant Shutdown Jun-16 Project
    8/1/2018
    #2305                                                                    Book Value                        $0.00
    T-571 Roof Replacement
    8/31/2018
    #2306                                                                    Book Value                        $0.00
    Rxii K1-K4 Pipe Spools
    8/31/2018
    #2307                                                                    Book Value                        $0.00
    Compressed Air Sys Pha-1
    8/31/2018
    #2308                                                                    Book Value                        $0.00
    Eo Day Tank Cooling Project
    10/31/2018
    #2309                                                                    Book Value                        $0.00
    K5 Boiler Retube Project
    10/31/2018
    #2310                                                                    Book Value                        $0.00
    Plant Overhaul Assets
    1/1/2018
    #2311                                                                    Book Value                        $0.00
    Plant Overhaul Assets Ii
    1/1/2018
    #2312                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Overhaul Distillation 1
    1/1/2018
    #2313                                                                    Book Value                        $0.00
    Overhaul Rx 1
    1/1/2018
    #2314                                                                    Book Value                        $0.00
    T803 Overhaul Afe
    1/1/2018
    #2315                                                                    Book Value                        $0.00
    Trimene Base Rx 2
    1/1/2018
    #2316                                                                    Book Value                        $0.00
    Overhaul Rx 2
    1/1/2018
    #2317                                                                    Book Value                        $0.00
    Firewater System
    1/1/2018
    #2318                                                                    Book Value                        $0.00
    Overhaul Tank Farm
    1/1/2018
    #2319                                                                    Book Value                        $0.00
    Office - New Addition
    1/1/2018
    #2320                                                                    Book Value                        $0.00
    Plant Overhaul Assets Iii
    1/1/2018
    #2321                                                                    Book Value                        $0.00
    Overhaul Utilitie System
    1/1/2018
    #2322                                                                    Book Value                        $0.00
    Avatar Tech Reporting
    11/30/2018
    #2323                                                                    Book Value                        $0.00
    K8 And K9 Multi-Sock Filter
    9/30/2018
    #2324                                                                    Book Value                        $0.00
    H-11 Exchanger Condenser
    8/31/2018
    #2325                                                                    Book Value                        $0.00
    K-10 Jacket Upgrade
    10/30/2018
    #2326                                                                    Book Value                        $0.00
    K-5 Boiler Retube
    9/30/2018
    #2327                                                                    Book Value                        $0.00
    2018 Hot Box Project
    10/30/2018
    #2328                                                                    Book Value                        $0.00
    H-6 Reactor Overhaul
    10/30/2018
    #2329                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    K-4 Piping
    10/31/2018
    #2330                                                                    Book Value                        $0.00
    Formalin Line
    10/31/2018
    #2331                                                                    Book Value                        $0.00
    F-8 Agitator Blades Assembly
    10/31/2018
    #2332                                                                    Book Value                        $0.00
    F-8 Shaft Gearbox Pillar
    10/31/2018
    #2333                                                                    Book Value                        $0.00
    G-1 Piping
    11/30/2018
    #2334                                                                    Book Value                        $0.00
    T1611 Rail Upgrade
    11/30/2018
    #2335                                                                    Book Value                        $0.00
    T1700 Condenate Line
    10/30/2018
    #2336                                                                    Book Value                        $0.00
    Chlorine Contact Tank
    12/31/2018
    #2337                                                                    Book Value                        $0.00
    T1800 Condesate Line Overhaul12/31/2018
    #2338                                                                    Book Value                        $0.00
    Process Water Tank Overhaul12/31/2018
    #2339                                                                    Book Value                        $0.00
    Control System Server Upgrade


    12/31/2018
    #2340                                                                    Book Value                        $0.00
    Ross Implementation
    12/31/2018
    #2341                                                                    Book Value                        $0.00
    Electrical Wiring Maint Office
    12/31/2018
    #2342                                                                    Book Value                        $0.00
    Tabware Pm Scheduling Software
    12/31/2018
    #2343                                                                    Book Value                        $0.00
    Railroad Curve Main Line
    11/30/2018
    #2344                                                                    Book Value                        $0.00
    Facility Steam And Condensate Overhaul
    12/31/2018
    #2345                                                                    Book Value                        $0.00
    Electric Upgrade Phase 2
    12/31/2018
    #2346                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Steam Upgrades Phase 1
    12/31/2018
    #2347                                                                    Book Value                        $0.00
    J-5 Agitator Assembly Upgrade

    12/31/2018
    #2348                                                                    Book Value                        $0.00
    Process Water Pumps Overha

    12/31/2018
    #2349                                                                    Book Value                        $0.00
    Pump Foundation Upgardes Phase 1
    12/31/2018
    #2350                                                                    Book Value                        $0.00
    Tank Inspection Project
    12/31/2018
    #2351                                                                    Book Value                        $0.00
    Pipe Inspection Project
    12/31/2018
    #2352                                                                    Book Value                        $0.00
    Hopper Ext Lids Supper Sack Upgrade
    11/30/2018
    #2353                                                                    Book Value                        $0.00
    K5 Shaft
    12/31/2018
    #2354                                                                    Book Value                        $0.00
    K5 Nozzle Overhaul Project
    12/31/2018
    #2355                                                                    Book Value                        $0.00
    Instrument Upgrade Phase 1
    12/31/2018
    #2356                                                                    Book Value                        $0.00
    Instrument Upgrade Phase 2
    12/31/2018
    #2357                                                                    Book Value                        $0.00
    Caustic Line
    10/31/2018
    #2358                                                                    Book Value                        $0.00
    K7 Clump Buster Cover
    12/31/2018
    #2359                                                                    Book Value                        $0.00
    V-101 Filter Press
    12/31/2018
    #2360                                                                    Book Value                        $0.00
    H-11 Exchanger Retube Project

    12/31/2018
    #2361                                                                    Book Value                        $0.00
    K5 Overhaul
    12/31/2018
    #2362                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                       Case number (if known)   20-60028
            Name

    H10 Accumulator Overhaul
    12/31/2018
    #2363                                                                     Book Value                              $0.00
    Sulfur Feed System Upgrade
    12/31/2018
    #2364                                                                     Book Value                              $0.00
    E-Unit Tube Sheet Upgrade
    11/30/2018
    #2365                                                                     Book Value                              $0.00
    H6 Steam And Coolign Exchanger Retube
    12/31/2018
    #2367                                                                     Book Value                              $0.00
    Eep Equipment
    1/31/2019
    #2368                                                                     Book Value                              $0.00
    Salt Heater Tube
    1/31/2019
    #2369                                                                     Book Value                              $0.00
    Steam Boilers (2)
    3/1/2019
    #2370                                                                     Book Value                        $100,000.00
    Sulfer Feed And Control Upgrade
    3/1/2019
    #2371                                                                     Book Value                              $0.00
    Flare Line Overhaul
    3/1/2019
    #2372                                                                     Book Value                              $0.00
    Rx2 Tempered Water Exchange
    3/1/2019
    #2373                                                                     Book Value                              $0.00
    Rx1 H5 Preheater Exchanger
    3/1/2019
    #2374                                                                     Book Value                              $0.00
    Volumetric Titrator
    3/1/2019
    #2375                                                                     BookValue                               $0.00
    Vacuum Pump
    8/7/1997
    #233                                                            $0.00     Book Value                              $0.00
    PSI 3500 Cat Pump
    9/17/1997
    #234                                                            $0.00     Book Value                              $0.00
    Pipe Threding Machine
    9/18/1997
    #235                                                            $0.00     Book Value                              $0.00
    Overhaul Kit
    10/24/1997
    #236                                                            $0.00     Book Value                              $0.00
    A/C Package
    10/9/1997
    #237                                                            $0.00     Book Value                              $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 74 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Gear Pump
    11/13/1997
    #238                                                           $0.00     Book Value                        $0.00
    Reliance 50 HP Motor
    11/13/1997
    #239                                                           $0.00     Book Value                        $0.00
    Storage Tank 14X30
    1/9/1997
    #240                                                           $0.00     Book Value                        $0.00
    Two 12X42 Storage Tanks
    1/5/1998
    #241                                                           $0.00     Book Value                        $0.00
    Expansion Joint
    3/25/1998
    #244                                                           $0.00     Book Value                        $0.00
    Air Compressor
    3/26/1998
    #245                                                           $0.00     Book Value                        $0.00
    Remanuf. Valves
    3/30/1998
    #246                                                           $0.00     Book Value                        $0.00
    Cone Bottom Storage Tank
    5/20/1998
    #250                                                           $0.00     Book Value                        $0.00
    Reman. Control Valve
    5/20/1998
    #251                                                           $0.00     Book Value                        $0.00
    Scale
    6/11/1998
    #252                                                           $0.00     Book Value                        $0.00
    Portable Building
    6/11/1998
    #253                                                           $0.00     Book Value                        $0.00
    Tank
    6/29/1998
    #254                                                           $0.00     Book Value                        $0.00
    Impeller
    6/16/1998
    #255                                                           $0.00     Book Value                        $0.00
    Blackmer Pump
    7/27/1998
    #256                                                           $0.00     Book Value                        $0.00
    FT1/90 System
    7/1/1998
    #257                                                           $0.00     Book Value                        $0.00
    Plastic Tank
    8/5/1998
    #258                                                           $0.00     Book Value                        $0.00
    Donovan Meter
    9/8/1998
    #259                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 75 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Transmitter
    10/31/1998
    #261                                                           $0.00     Book Value                        $0.00
    Filter Vessel
    1/4/1999
    #262                                                           $0.00     Book Value                        $0.00
    Air Compressor
    1/15/1999
    #263                                                           $0.00     Book Value                        $0.00
    Donovan Meter
    5/1/1999
    #264                                                           $0.00     Book Value                        $0.00
    Cooling Tower
    6/1/1999
    #265                                                           $0.00     Book Value                        $0.00
    Cooling Tower Repair
    7/9/1997
    #266                                                           $0.00     Book Value                        $0.00
    Vacuum Pump
    8/7/1997
    #267                                                           $0.00     Book Value                        $0.00
    3500 PSI Cat Pump
    9/17/1997
    #268                                                           $0.00     Book Value                        $0.00
    Pipe Threading Machine
    9/18/1997
    #269                                                           $0.00     Book Value                        $0.00
    Overhaul Kit
    10/24/1997
    #270                                                           $0.00     Book Value                        $0.00
    A/C Package
    10/9/1997
    #271                                                           $0.00     Book Value                        $0.00
    Gear Pump
    11/13/1997
    #272                                                           $0.00     Book Value                        $0.00
    Relinace 50 Hp Motor
    11/13/1997
    #273                                                           $0.00     Book Value                        $0.00
    Vessel Skirt
    3/12/1998
    #274                                                           $0.00     Book Value                        $0.00
    Air Compressor
    3/26/1998
    #277                                                           $0.00     Book Value                        $0.00
    Remanufactured Valves
    4/8/1998
    #278                                                           $0.00     Book Value                        $0.00
    Radar Level Guage
    4/30/1998
    #280                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 76 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Vacuum Pump
    5/20/1998
    #283                                                           $0.00     Book Value                        $0.00
    Portable Building
    6/11/1998
    #284                                                           $0.00     Book Value                        $0.00
    Tank
    6/29/1998
    #285                                                           $0.00     Book Value                        $0.00
    Plastic Tank
    8/5/1998
    #287                                                           $0.00     Book Value                        $0.00
    Sensor
    8/18/1998
    #289                                                           $0.00     Book Value                        $0.00
    Donovan Meter
    9/8/1998
    #290                                                           $0.00     Book Value                        $0.00
    GE Breaker
    9/18/1998
    #291                                                           $0.00     Book Value                        $0.00
    Filter Vessel
    1/4/1999
    #292                                                           $0.00     Book Value                        $0.00
    Air Compressor
    1/15/1999
    #293                                                           $0.00     Book Value                        $0.00
    Flow Meter
    4/21/1999
    #294                                                           $0.00     Book Value                        $0.00
    Donovan Meter
    5/1/1999
    #295                                                           $0.00     Book Value                        $0.00
    Impeller
    5/19/1999
    #296                                                           $0.00     Book Value                        $0.00
    J-2 Cip Transfer
    5/30/1999
    #297                                                           $0.00     Book Value                        $0.00
    Cooling Tower
    6/1/1999
    #298                                                           $0.00     Book Value                        $0.00
    585 Sq. Ft. Exchanger
    7/3/1997
    #299                                                           $0.00     Book Value                        $0.00
    Impeller
    7/30/1997
    #300                                                           $0.00     Book Value                        $0.00
    MBI Cartridge Seal Unit
    8/7/1997
    #301                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 77 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Impeller
    8/7/1997
    #302                                                           $0.00     Book Value                        $0.00
    SS Eductor
    9/2/1997
    #303                                                           $0.00     Book Value                        $0.00
    Viton Scale
    9/17/1997
    #304                                                           $0.00     Book Value                        $0.00
    3500 PSI Cat Pump
    9/17/1997
    #305                                                           $0.00     Book Value                        $0.00
    Pipe Threading Machine
    9/18/1997
    #306                                                           $0.00     Book Value                        $0.00
    Overhaul Kit
    10/24/1997
    #307                                                           $0.00     Book Value                        $0.00
    A/C Package
    10/9/1997
    #308                                                           $0.00     Book Value                        $0.00
    Gear Pump
    11/13/1997
    #309                                                           $0.00     Book Value                        $0.00
    Reliance 50 HP Motor
    11/13/1997
    #310                                                           $0.00     Book Value                        $0.00
    Air Compressor
    3/26/1998
    #313                                                           $0.00     Book Value                        $0.00
    Roper Pump
    3/31/1998
    #314                                                           $0.00     Book Value                        $0.00
    Flow Meter
    4/23/1998
    #315                                                           $0.00     Book Value                        $0.00
    Meter Replacement
    5/12/1998
    #316                                                           $0.00     Book Value                        $0.00
    Intermediate Drape-Over
    5/20/1998
    #319                                                           $0.00     Book Value                        $0.00
    Tandem Seal
    5/26/1998
    #320                                                           $0.00     Book Value                        $0.00
    Seal Unit
    5/31/1998
    #322                                                           $0.00     Book Value                        $0.00
    Portable Bldg.
    6/11/1998
    #323                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 78 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Tank
    6/29/1998
    #324                                                           $0.00     Book Value                        $0.00
    Eductor
    7/9/1998
    #325                                                           $0.00     Book Value                        $0.00
    326Plastic Tank8/5/1998                                        $0.00     Book Value                        $0.00
    5 Reactors
    9/1/2006
    #1035                                                                    Book Value                        $0.00
    Used Exchanger
    9/13/2006
    #1036                                                                    Book Value                        $0.00
    Dynapump
    9/14/2006
    #1037                                                                    Book Value                        $0.00
    Heat Exchanger
    9/1/2006
    #1039                                                                    Book Value                        $0.00
    Autocad Upgrade
    9/1/2006
    #1040                                                                    Book Value                        $0.00
    Tanker Parking Area
    10/10/2006
    #1041                                                                    Book Value                        $0.00
    Cs Stiffening Rings
    10/10/2006
    #1042                                                                    Book Value                        $0.00
    Cs Stiffening Rings
    10/10/2006
    #1043                                                                    Book Value                        $0.00
    Cs Stiffening Rings
    10/10/2006
    #1044                                                                    Book Value                        $0.00
    Cs Stiffening Rings
    10/10/2006
    #1045                                                                    Book Value                        $0.00
    Used Exchanger
    10/1/2006
    #1046                                                                    Book Value                        $0.00
    Used Exchanger
    10/1/2006
    #1047                                                                    Book Value                        $0.00
    Fisher Ball Valve
    10/1/2006
    #1048                                                                    Book Value                        $0.00
    Transmitter With Seals
    10/12/2006
    #1049                                                                    Book Value                        $0.00
    Gate Valve
    10/6/2006
    #1050                                                                    Book Value                        $0.00



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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 79 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Air Fin Cooler
    10/1/2006
    #1051                                                                    Book Value                        $0.00
    Transmitter & Sensor
    10/1/2006
    #1052                                                                    Book Value                        $0.00
    Transmitter
    10/13/2006
    #1053                                                                    Book Value                        $0.00
    Chemineer Gear Box
    10/19/2006
    #1054                                                                    Book Value                        $0.00
    Fisher Control Valve
    10/12/2006
    #1055                                                                    Book Value                        $0.00
    Various Pollution Control
    10/1/2006
    #1056                                                                    Book Value                        $0.00
    Railroad Drainage Imp
    11/3/2006
    #1057                                                                    Book Value                        $0.00
    Dike Wall No Office
    11/1/2006
    #1058                                                                    Book Value                        $0.00
    Nebraska Boiiler
    11/6/2006
    #1059                                                                    Book Value                        $0.00
    Nebraska Boiler
    11/6/2006
    #1060                                                                    Book Value                        $0.00
    Nebraska Boiler
    11/6/2006
    #1061                                                                    Book Value                        $0.00
    Nebraska Boiiler
    11/6/2006
    #1062                                                                    Book Value                        $0.00
    Grid Screen
    11/9/2006
    #1063                                                                    Book Value                        $0.00
    Used Exchanger
    11/8/2006
    #1064                                                                    Book Value                        $0.00
    Reliance Motor
    11/9/2006
    #1065                                                                    Book Value                        $0.00
    Pollution Control
    11/1/2006
    #1066                                                                    Book Value                        $0.00
    New Office Addition
    12/1/2006
    #1067                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 80 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    New Office Addition
    12/1/2006
    #1068                                                                    Book Value                        $0.00
    Stainless Tank
    12/1/2006
    #1069                                                                    Book Value                        $0.00
    Close Adipure Cip
    12/1/2006
    #1070                                                                    Book Value                        $0.00
    Ross Erp Computer Syst
    12/1/2006
    #1072                                                                    Book Value                        $0.00
    Railrd. Drainage Impr.
    1/15/2007
    #1073                                                                    Book Value                        $0.00
    Platecoil Bank
    1/15/2007
    #1074                                                                    Book Value                        $0.00
    Vacuum Pump
    1/11/2007
    #1075                                                                    Book Value                        $0.00
    Rebar-Pollution Control
    1/1/2007
    #1076                                                                    Book Value                        $0.00
    Rr Culvert Replacement
    2/16/2007
    #1077                                                                    Book Value                        $0.00
    Cycloblower
    2/5/2007
    #1078                                                                    Book Value                        $0.00
    2 Steel Cone Btm Tank
    2/19/2007
    #1079                                                                    0.00                              $0.00
    Instrument Control System
    2/1/2007
    #1081                                                                    Book Value                        $0.00
    12X42 Cone Bottom Tank
    2/19/2007
    #1082                                                                    Book Value                        $0.00
    12 X 42 Cone Bottom Tank
    2/19/2007
    #1083                                                                    0.00                              $0.00
    12 X 42 Cone Btm Tank
    2/19/2007
    #1084                                                                    Book Value                        $0.00
    12 X 42 Cone Btm Tank
    2/19/2007
    #1085                                                                    Book Value                        $0.00
    12 X 42 Cone Bttom Tank
    2/19/2007
    #1086                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 81 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    2 Used Vessels
    3/1/2007
    #1087                                                                    Book Value                        $0.00
    2 Cs Steel Tanks
    3/1/2007
    #1088                                                                    Book Value                        $0.00
    2 Cstanks 16X42
    3/5/2007
    #1089                                                                    Book Value                        $0.00
    Vacuum Pump
    3/15/2007
    #1090                                                                    Book Value                        $0.00
    Filter Cartridge
    3/1/2007
    #1091                                                                    Book Value                        $0.00
    Temp.Bath Unit
    3/20/2007
    #1092                                                                    Book Value                        $0.00
    Rebar
    3/20/2007
    #1093                                                                    Book Value                        $0.00
    Concrete Hardware
    3/19/2007
    #1094                                                                    Book Value                        $0.00
    Railroad Upgrades
    4/7/2007
    #1096                                                                    Book Value                        $0.00
    2 Used Exchangers
    4/1/2007
    #1097                                                                    Book Value                        $0.00
    2 Used Exchangers
    4/1/2007
    #1098                                                                    Book Value                        $0.00
    2 Used Exchangers
    4/1/2007
    #1099                                                                    Book Value                        $0.00
    2 Used Exchangers
    4/1/2007
    #1100                                                                    Book Value                        $0.00
    Oil Heating System
    4/1/2007
    #1101                                                                    Book Value                        $0.00
    Reb Drive And Flange
    4/17/2007
    #1102                                                                    Book Value                        $0.00
    Gear Pump
    4/10/2007
    #1104                                                                    Book Value                        $0.00
    2200 Gal. C.S. Tank
    4/1/2007
    #1105                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 82 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Pump Kit
    4/9/2007
    #1106                                                                    Book Value                        $0.00
    5900 Gal. Clad Vessel
    4/16/2007
    #1108                                                                    Book Value                        $0.00
    Pump Assembly/Impeller
    4/25/2007
    #1109                                                                    Book Value                        $0.00
    Chiller
    4/26/2007
    #1110                                                                    Book Value                        $0.00
    Pollution Cntrol
    4/1/2007
    #1111                                                                    Book Value                        $0.00
    12 X 42 Cs Tank
    5/18/2007
    #1112                                                                    Book Value                        $0.00
    12 X 42 Cs Tank
    5/18/2007
    #1113                                                                    Book Value                        $0.00
    12 X 42 Cs Tank
    5/18/2007
    #1114                                                                    Book Value                        $0.00
    12 X 42 Cs Tank
    5/18/2007
    #1115                                                                    Book Value                        $0.00
    Transformer
    5/1/2007
    #1116                                                                    Book Value                        $0.00
    Transformer
    5/1/2007
    #1117                                                                    Book Value                        $0.00
    Transformer
    5/1/2007
    #1118                                                                    Book Value                        $0.00
    Transfirmer
    5/1/2007
    #1119                                                                    Book Value                        $0.00
    12 X 42 Ss Tank
    5/18/2007
    #1120                                                                    Book Value                        $0.00
    124 Ton Chiller
    5/1/2007
    #1121                                                                    Book Value                        $0.00
    Platecoil Bank
    5/16/2007
    #1122                                                                    Book Value                        $0.00
    Recond Chempump
    5/16/2007
    #1123                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 83 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    GE Breaker
    9/18/1998
    #328                                                           $0.00     Book Value                        $0.00
    4 Transmitter-Eo Storage
    5/4/2007
    #1124                                                                    Book Value                        $0.00
    Filter Housing
    5/18/2007
    #1125                                                                    Book Value                        $0.00
    Air Compressor
    1/15/1999
    #330                                                           $0.00     Book Value                        $0.00
    Recond. Control Valve
    5/1/2007
    #1126                                                                    Book Value                        $0.00
    Digital Viscometer
    2/10/1999
    #331                                                           $0.00     Book Value                        $0.00
    Galvenized Fabrication
    5/15/2007
    #1127                                                                    Book Value                        $0.00
    End Gate Valve
    5/19/1999
    #332                                                           $0.00     Book Value                        $0.00
    Used Exchanger
    5/3/2007
    #1128                                                                    Book Value                        $0.00
    333Used Exchanger5/1/1999                                      $0.00     Book Value                        $0.00
    Filter Housing
    5/1/2007
    #1129                                                                    Book Value                        $0.00
    Pollution Control Equip
    5/1/2007
    #1130                                                                    Book Value                        $0.00
    Steel R/R Crossing
    6/1/2007
    #1131                                                                    Book Value                        $0.00
    12 X 42 C/S Tank
    6/5/2007
    #1132                                                                    Book Value                        $0.00
    12 X 42 Cs Tank
    6/5/2007
    #1133                                                                    Book Value                        $0.00
    12 X 42 Cs Tank
    6/5/2007
    #1134                                                                    Book Value                        $0.00
    12X42 Cs Tank
    6/5/2007
    #1135                                                                    Book Value                        $0.00
    3 16X42 Cs Tanks
    6/1/2007
    #1136                                                                    Book Value                        $0.00



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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 84 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    3-16X42 Cs Tanks
    6/1/2007
    #1137                                                                    Book Value                        $0.00
    3-16X42 Cs Tanks
    6/1/2007
    #1138                                                                    Book Value                        $0.00
    3-16X421 Cs Tanks
    6/1/2007
    #1139                                                                    Book Value                        $0.00
    2 16 X 42 Cs Tanks
    6/1/2007
    #1140                                                                    Book Value                        $0.00
    2 16X42 Cs Tanks
    6/1/2007
    #1141                                                                    Book Value                        $0.00
    2 16X42 Cs Tanks
    6/1/2007
    #1142                                                                    Book Value                        $0.00
    2 16 X 42 Cs Tanks
    6/1/2007
    #1143                                                                    Book Value                        $0.00
    2 18 X 50 Cs Storage Tank
    6/4/2007
    #1144                                                                    Book Value                        $0.00
    2 18 X 50 Cs Tanks
    6/4/2007
    #1145                                                                    Book Value                        $0.00
    2 18 X 50 Cs Tanks
    6/4/2007
    #1146                                                                    Book Value                        $0.00
    2 18X50 Cs Tanks
    6/4/2007
    #1147                                                                    Book Value                        $0.00
    3 16X42 Cs Tanks
    6/4/2007
    #1148                                                                    Book Value                        $0.00
    3 16X42 Cs Tanks
    6/4/2007
    #1149                                                                    Book Value                        $0.00
    3 16X42 Cs Tanks
    6/4/2007
    #1150                                                                    Book Value                        $0.00
    3 16X42 Cs Tanks
    6/4/2007
    #1151                                                                    Book Value                        $0.00
    2- 12X42 Cs,Ss Tanks
    6/4/2007
    #1152                                                                    Book Value                        $0.00
    2 12X42 Cs,Ss, Tanks
    6/4/2007
    #1153                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 85 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    2 12X42 Cs,Ss, Tanks
    6/4/2007
    #1154                                                                    Book Value                        $0.00
    2 12X42 Cs,Ss Tanks
    6/4/2007
    #1155                                                                    Book Value                        $0.00
    12 X 42 Ss Tank
    6/5/2007
    #1156                                                                    Book Value                        $0.00
    350 Psi Nebraska Boiler
    6/1/2007
    #1158                                                                    Book Value                        $0.00
    Ultra Low Nox Burner
    6/1/2007
    #1159                                                                    Book Value                        $0.00
    Goulds Ss Pump
    6/4/2007
    #1160                                                                    Book Value                        $0.00
    Fisher Valve
    6/8/2007
    #1161                                                                    Book Value                        $0.00
    Heat Exchanger
    6/18/2007
    #1162                                                                    Book Value                        $0.00
    4 Loading Ramps
    6/21/2007
    #1164                                                                    Book Value                        $0.00
    Pollution Control Equip
    6/1/2007
    #1165                                                                    Book Value                        $0.00
    Process Pump
    7/11/2007
    #1170                                                                    Book Value                        $0.00
    Pollution Control
    7/1/2007
    #1171                                                                    Book Value                        $0.00
    Security Cameras
    7/10/2007
    #1172                                                                    Book Value                        $0.00
    Rosedale Filter Housing
    7/16/2007
    #1175                                                                    Book Value                        $0.00
    4 Loading Walkways
    7/18/2007
    #1176                                                                    Book Value                        $0.00
    Liquid Ring Vac. Pump
    7/19/2007
    #1178                                                                    Book Value                        $0.00
    Baldor Motor
    7/20/2007
    #1179                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 86 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Flame Arrestor
    7/25/2007
    #1180                                                                    Book Value                        $0.00
    Pollution Control Equip
    7/1/2007
    #1181                                                                    Book Value                        $0.00
    Pollution Control Equip
    7/16/2007
    #1182                                                                    Book Value                        $0.00
    4 Used Exchangers
    7/12/2007
    #1183                                                                    Book Value                        $0.00
    Transportation Cart
    8/23/2007
    #1184                                                                    Book Value                        $0.00
    Transportation Cart
    8/23/2007
    #1185                                                                    Book Value                        $0.00
    Transportation Cart
    8/23/2007
    #1186                                                                    Book Value                        $0.00
    Transportation Cart
    8/23/2007
    #1187                                                                    Book Value                        $0.00
    Used Vessel
    8/8/2007
    #1192                                                                    Book Value                        $0.00
    Used Vessel
    8/8/2007
    #1193                                                                    Book Value                        $0.00
    Used Vessel
    8/8/2007
    #1194                                                                    Book Value                        $0.00
    Used Vessel
    8/8/2007
    #1195                                                                    Book Value                        $0.00
    Used Pump
    8/1/2007
    #1196                                                                    Book Value                        $0.00
    Various Pollution Control
    8/1/2007
    #1197                                                                    Book Value                        $0.00
    2-95000 Gal. Tank
    9/1/2007
    #1202                                                                    Book Value                        $0.00
    2-95000 Gal. Tanks
    9/1/2007
    #1203                                                                    Book Value                        $0.00
    2-95000 Gal Tanks
    9/1/2007
    #1204                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 87 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    2-95000 Gal. Tanks
    9/1/2007
    #1205                                                                    Book Value                        $0.00
    3 16X42 Steel Tanks
    9/1/2007
    #1206                                                                    Book Value                        $0.00
    3 16X42 Steel Tanks
    9/1/2007
    #1207                                                                    Book Value                        $0.00
    3 16X42 Steel Tanks
    9/1/2007
    #1208                                                                    Book Value                        $0.00
    3 16X42 Steel Tanks
    9/1/2007
    #1209                                                                    Book Value                        $0.00
    Oscillating Monitor
    9/1/2007
    #1210                                                                    Book Value                        $0.00
    1200 & 1000 Gal. Vessel
    9/1/2007
    #1211                                                                    Book Value                        $0.00
    3 Storage Tanks
    9/11/2007
    #1212                                                                    Book Value                        $0.00
    3 Storage Tanks
    9/11/2007
    #1213                                                                    Book Value                        $0.00
    3 Storage Tanks
    9/11/2007
    #1214                                                                    Book Value                        $0.00
    3 Storage Tanks
    9/11/2007
    #1215                                                                    Book Value                        $0.00
    Durco Stainless Pump
    3/2/2007
    #1216                                                                    Book Value                        $0.00
    930 Gal. Stainless Vessel
    8/8/2007
    #1217                                                                    Book Value                        $0.00
    Used Exchanger
    4/11/2007
    #1218                                                                    Book Value                        $0.00
    Retube Exchanger
    9/1/2007
    #1219                                                                    Book Value                        $0.00
    Liquid Ring Vacuum Pump
    9/1/2007
    #1220                                                                    Book Value                        $0.00
    2 Dynapumps
    9/1/2007
    #1221                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 88 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Chiller
    9/12/2007
    #1222                                                                    Book Value                        $0.00
    Used Exchanger
    9/17/2007
    #1223                                                                    Book Value                        $0.00
    Liquid Ring Vacuum Pump
    9/5/2007
    #1224                                                                    Book Value                        $0.00
    Filter Housing
    9/20/2007
    #1226                                                                    Book Value                        $0.00
    Pollution Control
    9/1/2007
    #1227                                                                    Book Value                        $0.00
    Ottawa Plant Mule
    10/9/2007
    #1228                                                                    Book Value                        $0.00
    Ottawa Plant Muile
    10/9/2007
    #1229                                                                    Book Value                        $0.00
    Opttawa Plant Mule
    10/9/2007
    #1230                                                                    Book Value                        $0.00
    Ottawa Plant Mule
    10/9/2007
    #1231                                                                    Book Value                        $0.00
    Cartridge Filter
    10/1/2007
    #1233                                                                    Book Value                        $0.00
    Baldor Motor
    10/5/2007
    #1234                                                                    Book Value                        $0.00
    Baldor Motor
    10/5/2007
    #1235                                                                    Book Value                        $0.00
    Baldor Motor
    10/5/2007
    #1236                                                                    Book Value                        $0.00
    Baldor Motor
    10/5/2007
    #1237                                                                    Book Value                        $0.00
    Vortex Flowmeter
    10/1/2007
    #1238                                                                    Book Value                        $0.00
    Heat Exchanger
    10/23/2007
    #1239                                                                    Book Value                        $0.00
    Heat Exchanger
    10/8/2007
    #1240                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Durco Pump
    10/12/2007
    #1241                                                                    Book Value                        $0.00
    Fin Fan
    10/1/2007
    #1242                                                                    Book Value                        $0.00
    Compressor
    10/10/2007
    #1243                                                                    Book Value                        $0.00
    2 Used Exchangers
    10/1/2007
    #1244                                                                    Book Value                        $0.00
    Remote Monitor
    10/12/2007
    #1245                                                                    Book Value                        $0.00
    Titrator
    10/1/2007
    #1246                                                                    Book Value                        $0.00
    Eep Loading Walkway
    11/8/2007
    #1251                                                                    Book Value                        $0.00
    Vacuum Pump
    11/7/2007
    #1252                                                                    Book Value                        $0.00
    Vacuum Pump
    11/1/2007
    #1253                                                                    Book Value                        $0.00
    New Malaic Tank
    11/20/2007
    #1254                                                                    Book Value                        $0.00
    Cooling Tower Kit
    11/15/2007
    #1255                                                                    Book Value                        $0.00
    Blackmer Pump
    11/13/2007
    #1256                                                                    Book Value                        $0.00
    Centrifuge
    11/1/2007
    #1257                                                                    Book Value                        $0.00
    Polluition Control
    11/20/2007
    #1259                                                                    Book Value                        $0.00
    Used Exchanger
    12/1/2007
    #1261                                                                    Book Value                        $0.00
    Flowtube/Transmitter
    12/1/2007
    #1262                                                                    Book Value                        $0.00
    Used Exchanger
    12/1/2007
    #1263                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    1988 Equipment Additions
    1/15/1988
    #1264                                                                    Book Value                        $0.00
    1991 Equip. Additions
    1/15/1991
    #1265                                                                    Book Value                        $0.00
    1992 Equip. Additions
    1/15/1992
    #1266                                                                    Book Value                        $0.00
    1993 Equip. Additions
    1/15/1993
    #1267                                                                    Book Value                        $0.00
    1989 Equip. Additions
    1/15/1989
    #1268                                                                    Book Value                        $0.00
    1975-1980 Equip Additions
    1/1/1980
    #1269                                                                    Book Value                        $0.00
    Adipure J5 Cip
    12/31/2007
    #1271                                                                    Book Value                        $0.00
    Infineum Rx1 Cip
    12/31/2007
    #1272                                                                    Book Value                        $0.00
    Huntsman Polyamide Cip
    12/31/2007
    #1273                                                                    Book Value                        $0.00
    Aminator Rx11 Cip
    12/31/2007
    #1274                                                                    Book Value                        $0.00
    Exxon Mobil Cip
    12/31/2007
    #1275                                                                    Book Value                        $0.00
    New Bldg. Addit-Cip
    12/31/2007
    #1276                                                                    Book Value                        $0.00
    Ross Erp Computer Systemj
    12/31/2007
    #1277                                                                    Book Value                        $0.00
    Old World/Huntsman Cip
    12/31/2007
    #1278                                                                    Book Value                        $0.00
    Used Surplus Mat'L
    1/1/2008
    #1279                                                                    Book Value                        $0.00
    Flowsensor&Transmitter
    1/1/2008
    #1280                                                                    Book Value                        $0.00
    Rotary Pump
    1/11/2008
    #1281                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 91 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Pressure Filter
    1/9/2008
    #1282                                                                    Book Value                        $0.00
    Pressure Filter
    1/9/2008
    #1283                                                                    Book Value                        $0.00
    Flowtube
    1/1/2008
    #1284                                                                    Book Value                        $0.00
    Sensor,Transmitter
    1/1/2008
    #1285                                                                    Book Value                        $0.00
    Pvc Fil Retrofit Kit
    1/1/2008
    #1286                                                                    Book Value                        $0.00
    Dehumidifier
    1/30/2008
    #1287                                                                    Book Value                        $0.00
    Rudd 5 Ton A/C Unit
    1/9/2008
    #1288                                                                    Book Value                        $0.00
    Air Compressor
    2/1/2008
    #1289                                                                    Book Value                        $0.00
    Truck Scale
    2/21/2008
    #1290                                                                    Book Value                        $0.00
    Durco Stainless Pump
    2/21/2008
    #1291                                                                    Book Value                        $0.00
    Burner Install
    2/8/2008
    #1292                                                                    Book Value                        $0.00
    Hot Oil Heater Controls
    2/1/2008
    #1293                                                                    Book Value                        $0.00
    Gear Pumping Unit
    2/22/2008
    #1294                                                                    Book Value                        $0.00
    2 Used Columns,Vessels
    3/1/2008
    #1297                                                                    Book Value                        $0.00
    2 Flow Sensors
    3/1/2008
    #1298                                                                    Book Value                        $0.00
    Centrifugal Pump
    3/13/2008
    #1299                                                                    Book Value                        $0.00
    Used Pumps&Exchangers
    3/4/2008
    #1300                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 92 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Control Valve
    3/17/2008
    #1301                                                                    Book Value                        $0.00
    Wide Line Inducer
    3/24/2008
    #1302                                                                    Book Value                        $0.00
    Rail Expansion Envir.
    3/1/2008
    #1303                                                                    Book Value                        $0.00
    1975-1980 Equip Additions
    1/1/1980
    #1304                                                                    Book Value                        $0.00
    12 X 12 Metal Bldg
    4/1/2008
    #1305                                                                    Book Value                        $0.00
    Impeller For Durco Pump
    4/14/2008
    #1306                                                                    Book Value                        $0.00
    Roper Pumping Unit
    4/1/2008
    #1307                                                                    Book Value                        $0.00
    Used Exchanger
    4/2/2008
    #1308                                                                    Book Value                        $0.00
    Single Seal Viton
    4/1/2008
    #1309                                                                    Book Value                        $0.00
    2 Storage Tanks
    4/15/2008
    #1310                                                                    Book Value                        $0.00
    Level Transmitter
    4/10/2008
    #1311                                                                    Book Value                        $0.00
    Stainless Exchanger
    4/29/2008
    #1312                                                                    Book Value                        $0.00
    Vacuum Tank-4500 Gal.
    10/1/2005
    #1314                                                                    Book Value                        $0.00
    Fisher Control Valve
    5/9/2008
    #1315                                                                    Book Value                        $0.00
    Environmental Work
    5/1/2008
    #1316                                                                    Book Value                        $0.00
    Used 15,655 Gal. Vessel
    6/20/2008
    #1317                                                                    Book Value                        $0.00
    Heat Exchanger
    6/25/2008
    #1318                                                                    Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 93 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Rail Expansion Envir.
    6/1/2008
    #1320                                                                    Book Value                        $0.00
    Catalyst Meter
    7/1/2008
    #1321                                                                    Book Value                        $0.00
    Cooling Tower
    6/1/1999
    #334                                                           $0.00     Book Value                        $0.00
    Crne Chempump
    6/21/1999
    #335                                                           $0.00     Book Value                        $0.00
    Toshiba Motor
    7/16/2008
    #1322                                                                    Book Value                        $0.00
    Vacuum Pump
    6/25/1999
    #336                                                           $0.00     Book Value                        $0.00
    Pollution Control
    7/1/2008
    #1324                                                                    Book Value                        $0.00
    Mechanical Seal
    8/7/1997
    #337                                                           $0.00     Book Value                        $0.00
    Building For Rx Lab
    8/15/2008
    #1325                                                                    Book Value                        $0.00
    3500 PSI Cat Pump
    9/17/1997
    #338                                                           $0.00     Book Value                        $0.00
    Generator-750 Kw Cat
    8/1/2008
    #1326                                                                    Book Value                        $0.00
    Pipe Threading Machine
    9/18/1997
    #339                                                           $0.00     Book Value                        $0.00
    MBII Cartridge Seal Unit
    10/2/1997
    #340                                                           $0.00     Book Value                        $0.00
    Chem Pump
    8/29/2008
    #1327                                                                    Book Value                        $0.00
    Overhaul Kit
    10/24/1997
    #341                                                           $0.00     Book Value                        $0.00
    4 Storage Tanks
    8/11/2008
    #1328                                                                    Book Value                        $0.00
    A/C Package
    10/9/1997
    #342                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 94 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Pollution Control
    8/1/2008
    #1329                                                                    Book Value                        $0.00
    Pressure Transmitter
    10/14/1997
    #343                                                           $0.00     Book Value                        $0.00
    2 Work Carts
    8/15/2008
    #1330                                                                    Book Value                        $0.00
    2 In. Pump
    9/18/2008
    #1331                                                                    Book Value                        $0.00
    Gear Pump
    11/13/1997
    #344                                                           $0.00     Book Value                        $0.00
    Reliance 50 HP Motor
    11/13/1997
    #345                                                           $0.00     Book Value                        $0.00
    Used Exchanger
    9/1/2008
    #1332                                                                    Book Value                        $0.00
    Baldor Motor
    9/30/2008
    #1333                                                                    Book Value                        $0.00
    Flow Sensor & Transmitter
    9/1/2008
    #1334                                                                    Book Value                        $0.00
    Pollution Control
    9/9/2008
    #1335                                                                    Book Value                        $0.00
    Tandem Bellows
    3/18/1998
    #348                                                           $0.00     Book Value                        $0.00
    Alarm System
    9/4/2008
    #1336                                                                    Book Value                        $0.00
    Air Compressor
    3/26/1998
    #349                                                           $0.00     Book Value                        $0.00
    Air Compressor
    10/8/2008
    #1337                                                                    Book Value                        $0.00
    40 HP GE Motor
    10/10/2008
    #1338                                                                    Book Value                        $0.00
    Roper Pump
    4/8/1998
    #350                                                           $0.00     Book Value                        $0.00
    Heat Exchanger
    10/14/2008
    #1339                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Hydracell Pump
    10/23/2008
    #1340                                                                    Book Value                              $0.00
    Used Exchanger
    10/28/2008
    #1341                                                                    Book Value                              $0.00
    Flowtube
    10/24/2008
    #1342                                                                    Book Value                              $0.00
    Transmitter
    10/29/2008
    #1343                                                                    Book Value                              $0.00
    7 Used Reactors
    11/3/2008
    #1346                                                                    Book Value                              $0.00
    Instrumentation
    11/7/2008
    #1347                                                                    Book Value                              $0.00
    New Locomotive
    12/31/2008
    #1348                                                                    Book Value                        $100,000.00
    New Rail Project
    12/31/2008
    #1349                                                                    Book Value                              $0.00
    Used Pumps
    11/20/2008
    #1350                                                                    Book Value                              $0.00
    Vacuum Eductor
    12/9/2008
    #1351                                                                    Book Value                              $0.00
    Mitsubishi Forklift
    12/18/2008
    #1352                                                                    Book Value                              $0.00
    Used Exchanger
    12/5/2008
    #1353                                                                    Book Value                              $0.00
    Used Exchanger
    12/10/2008
    #1354                                                                    Book Value                              $0.00
    Used Exchanger
    12/10/2008
    #1355                                                                    Book Value                              $0.00
    H-6 Reactor Cip
    12/31/2008
    #1357                                                                    Book Value                              $0.00
    Stainless Filter
    12/23/2008
    #1358                                                                    Book Value                              $0.00
    Rail Project
    12/3/2008
    #1359                                                                    Book Value                              $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 96 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    1700 Tank Farm Cip
    12/31/2008
    #1360                                                                    Book Value                        $0.00
    Eductor
    1/1/2009
    #1361                                                                    Book Value                        $0.00
    4 Four In. Pumps
    1/1/2009
    #1362                                                                    Book Value                        $0.00
    Flow Meter
    4/23/1998
    #351                                                           $0.00     Book Value                        $0.00
    Used Atlas 375 Compressor
    1/22/2009
    #1363                                                                    Book Value                        $0.00
    2 Durco Pumps
    1/28/2009
    #1364                                                                    Book Value                        $0.00
    Scale
    5/26/1998
    #354                                                           $0.00     Book Value                        $0.00
    Fisher Regulator
    1/22/2009
    #1365                                                                    Book Value                        $0.00
    Portable Bldg.
    6/11/1998
    #355                                                           $0.00     Book Value                        $0.00
    Pressure Transmitter
    6/11/1998
    #356                                                           $0.00     Book Value                        $0.00
    Autotitrator
    1/1/2009
    #1366                                                                    Book Value                        $0.00
    Concrete Work-Drain
    1/20/2009
    #1367                                                                    Book Value                        $0.00
    Tank
    6/29/1998
    #358                                                           $0.00     Book Value                        $0.00
    Egr Regulator-Boiler
    2/23/2009
    #1368                                                                    Book Value                        $0.00
    Shaft & Bearing Set
    6/19/1998
    #359                                                           $0.00     Book Value                        $0.00
    Boiler Feedwater Pump
    2/13/2009
    #1369                                                                    Book Value                        $0.00
    Cross Hinds Grounding
    6/30/1998
    #360                                                           $0.00     Book Value                        $0.00




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                       Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 97 of 153
Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    H-11 Chage Meter
    2/11/2009
    #1370                                                                    Book Value                        $0.00
    Donovan Meter
    7/13/1998
    #361                                                           $0.00     Book Value                        $0.00
    Plastic Tank
    8/5/1998
    #362                                                           $0.00     Book Value                        $0.00
    2 Fin Fans
    2/1/2009
    #1371                                                                    Book Value                        $0.00
    Cf Ball Valve
    8/21/1998
    #363                                                           $0.00     Book Value                        $0.00
    MB 11 Cartridge Seal
    11/16/1998
    #364                                                           $0.00     Book Value                        $0.00
    Air Compressor
    1/15/1999
    #365                                                           $0.00     Book Value                        $0.00
    PDN 4009
    1/10/1999
    #366                                                           $0.00     Book Value                        $0.00
    Heat Exchanger
    4/13/1999
    #367                                                           $0.00     Book Value                        $0.00
    Griswold Pump
    5/5/1999
    #368                                                           $0.00     Book Value                        $0.00
    Pollution Control
    2/1/2009
    #1372                                                                    Book Value                        $0.00
    End Gate Valve
    5/19/1999
    #369                                                           $0.00     Book Value                        $0.00
    C Transport Software
    2/1/2009
    #1373                                                                    Book Value                        $0.00
    Cooling Tower
    6/1/1999
    #370                                                           $0.00     Book Value                        $0.00
    Piers For New Filter Pres
    3/24/2009
    #1374                                                                    Book Value                        $0.00
    Shaft Set
    6/21/1999
    #371                                                           $0.00     Book Value                        $0.00
    Forms & Rebar
    3/24/2009
    #1375                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    2 Used Exchangers
    4/23/2009
    #1376                                                                    Book Value                        $0.00
    SS Used Exchanger
    4/20/2009
    #1377                                                                    Book Value                        $0.00
    Sawdust
    4/8/2009
    #1378                                                                    Book Value                        $0.00
    Septic Work Behind Admin
    4/6/2009
    #1379                                                                    Book Value                        $0.00
    Used Exchanger
    5/27/2009
    #1380                                                                    Book Value                        $0.00
    4 Carbon Steel Tank
    5/1/2009
    #1381                                                                    Book Value                        $0.00
    Carrier Ac/Heating Syster
    5/6/2009
    #1382                                                                    Book Value                        $0.00
    Marine Sawdust
    5/12/2009
    #1383                                                                    Book Value                        $0.00
    Used Reactors
    6/1/2009
    #1384                                                                    Book Value                        $0.00
    Used Exchanger
    6/15/2009
    #1385                                                                    Book Value                        $0.00
    Sawdust-Poll.Control
    6/23/2009
    #1386                                                                    Book Value                        $0.00
    1975-1980 Equip Additions
    1/1/1980
    #1387                                                                    Book Value                        $0.00
    1991 Equip. Additions
    1/15/1991
    #1388                                                                    Book Value                        $0.00
    Plant Alarm System
    7/1/2009
    #1390                                                                    Book Value                        $0.00
    N.E. Boiler Rework
    8/1/2009
    #1391                                                                    Book Value                        $0.00
    Heat Exchanger
    8/22/2009
    #1392                                                                    Book Value                        $0.00
    Heat Exchanger
    8/18/2009
    #1393                                                                    Book Value                        $0.00




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Debtor      KMCO, LLC                                                      Case number (if known)   20-60028
            Name

    Marine Sawdust
    8/14/2009
    #1394                                                                    Book Value                        $0.00
    Liquid Ring Vac.Pump
    9/2/2009
    #1395                                                                    Book Value                        $0.00
    45 Ton Carrier Chiller
    9/1/2009
    #1396                                                                    Book Value                        $0.00
    Centrifugl Pump
    9/28/2009
    #1397                                                                    Book Value                        $0.00
    Road Repair @ Eng.Bldg
    10/18/2009
    #1398                                                                    Book Value                        $0.00
    U Tube Exchanger
    10/2/2009
    #1399                                                                    Book Value                        $0.00
    Used Agitator
    10/23/2009
    #1400                                                                    Book Value                        $0.00
    Micro Motion Sensor
    10/12/2009
    #1401                                                                    Book Value                        $0.00
    Marine Sawdust
    10/12/2009
    #1402                                                                    Book Value                        $0.00
    Rotary Piston Pump
    11/18/2009
    #1403                                                                    Book Value                        $0.00
    Rotary Piston Pump
    11/6/2009
    #1404                                                                    Book Value                        $0.00
    7800 Gal. Storage Tank
    11/24/2009
    #1405                                                                    Book Value                        $0.00
    Used Pumps
    11/1/2009
    #1407                                                                    Book Value                        $0.00
    Roof For Dist. 1
    12/29/2009
    #1408                                                                    Book Value                        $0.00
    Sensor
    6/21/1999
    #372                                                           $0.00     Book Value                        $0.00
    Used Tanks
    12/1/2009
    #1409                                                                    Book Value                        $0.00
    Roper Pump
    6/21/1999
    #373                                                           $0.00     Book Value                        $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Storage Tanks
    12/15/2009
    #1410                                                                Book Value                         $0.00
    Storge Tank
    12/15/2009
    #1411                                                                Book Value                         $0.00
    Sawdust
    12/9/2009
    #1412                                                                Book Value                         $0.00
    Cip-Afton Pp05
    12/31/2009
    #1413                                                                Book Value                         $0.00
    Cip-Close Km2024
    12/31/2009
    #1414                                                                Book Value                         $0.00
    Cip-Close Huntsman Xtf947
    12/31/2009
    #1415                                                                Book Value                         $0.00
    Used Exchanger
    1/7/2010
    #1416                                                                Book Value                         $0.00
    2 Process Pumps
    1/5/2010
    #1417                                                                Book Value                         $0.00
    Stainless Steel Tank
    1/25/2010
    #1418                                                                Book Value                         $0.00
    Sawdust
    2/22/2010
    #1419                                                                Book Value                         $0.00
    Durco Pump
    3/26/2010
    #1420                                                                Book Value                         $0.00
    Security Cameras
    3/1/2010
    #1421                                                                Book Value                         $0.00
    50 Hp Motor
    4/1/2010
    #1422                                                                Book Value                         $0.00
    Cone Btm Tank
    4/21/2010
    #1423                                                                Book Value                         $0.00
    Sand
    4/1/2010
    #1424                                                                Book Value                         $0.00
    Crushed Concrete
    4/7/2010
    #1425                                                                Book Value                         $0.00
    Concrete
    4/27/2010
    #1426                                                                Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Donovan 3# Meter
    5/14/1999
    #374                                                       $0.00     Book Value                         $0.00
    Close Fire Water Pond
    12/31/2005
    #1430                                                                Book Value                         $0.00
    Cooling Tower
    9/2/1997
    #375                                                       $0.00     Book Value                         $0.00
    3.5 Ton Carrier A/C
    5/19/2010
    #1431                                                                Book Value                         $0.00
    Chromotograph
    11/17/1998
    #376                                                       $0.00     Book Value                         $0.00
    Change Room
    5/17/2010
    #1432                                                                Book Value                         $0.00
    377Spectrometer12/18/1998                                  $0.00     Book Value                         $0.00
    Roadway To Rx1
    5/22/2010
    #1433                                                                Book Value                         $0.00
    Labor For Scrubber System
    12/31/1994
    #379                                                       $0.00     Book Value                         $0.00
    Sorb All Sawdust
    5/15/2010
    #1434                                                                Book Value                         $0.00
    1984 Equip. Additions
    1/15/1984
    #1435                                                                Book Value                         $0.00
    Labor For Digestion Syste
    12/31/1994
    #380                                                       $0.00     Book Value                         $0.00
    Vacuum Recovery Labor
    12/31/1994
    #381                                                       $0.00     Book Value                         $0.00
    Used Exchanger
    6/10/2010
    #1437                                                                Book Value                         $0.00
    Open Top Tank
    11/15/1995
    #382                                                       $0.00     Book Value                         $0.00
    100.5 Ton Carrydeck Crane
    6/1/2010
    #1438                                                                Book Value                         $0.00
    16 Boxes Mark 2
    9/22/1997
    #383                                                       $0.00     Book Value                         $0.00
    Drainage Work-Chiller
    6/15/2010
    #1439                                                                Book Value                         $0.00



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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    C-1000 Mark 2
    11/25/1997
    #384                                                       $0.00     Book Value                         $0.00
    Adt Security System
    7/1/2010
    #1441                                                                Book Value                         $0.00
    1600 Mark 2 Pails
    1/26/1998
    #385                                                       $0.00     Book Value                         $0.00
    Used Exchanger
    7/19/2010
    #1442                                                                Book Value                         $0.00
    Stainless Storage Tank
    7/7/2010
    #1444                                                                Book Value                         $0.00
    40 Boxes Mark 2 Pails
    3/31/1998
    #386                                                       $0.00     Book Value                         $0.00
    Sawdust
    7/13/2010
    #1445                                                                Book Value                         $0.00
    40 Boxes Mark 2 Pails
    5/31/1998
    #387                                                       $0.00     Book Value                         $0.00
    Sawdust
    8/17/2010
    #1446                                                                Book Value                         $0.00
    Air Monitor
    12/1/1998
    #388                                                       $0.00     Book Value                         $0.00
    Main Gate Upgrade
    9/22/2010
    #1447                                                                Book Value                         $0.00
    X-Ray Spectrometer
    8/20/1997
    #389                                                       $0.00     Book Value                         $0.00
    Diesel Boom Lift
    9/21/2010
    #1448                                                                Book Value                         $0.00
    X-Ray Spectrometer
    12/10/1997
    #390                                                       $0.00     Book Value                         $0.00
    Standby Generator
    9/22/2010
    #1449                                                                Book Value                         $0.00
    Tax On X-Ray Spectrometer
    3/27/1998
    #391                                                       $0.00     Book Value                         $0.00
    Gas Chromotgraph
    9/7/2010
    #1450                                                                Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Pm Cond. Motor
    4/28/1998
    #392                                                       $0.00     Book Value                         $0.00
    Sawdust,Rebar
    9/22/2010
    #1451                                                                Book Value                         $0.00
    Air Monitor
    12/1/1998
    #393                                                       $0.00     Book Value                         $0.00
    1984 Equip. Additions
    1/15/1984
    #1452                                                                Book Value                         $0.00
    486Slc 2-66 System
    10/28/1994
    #395                                                       $0.00     Book Value                         $0.00
    Micro Motion Sensor
    10/28/2010
    #1453                                                                Book Value                         $0.00
    Two Used Exchangers
    11/4/2010
    #1454                                                                Book Value                         $0.00
    Detroit Fire Pump
    11/11/2010
    #1455                                                                Book Value                         $0.00
    Used Exchanger
    11/4/2010
    #1456                                                                Book Value                         $0.00
    Maag Pump
    10/13/2010
    #1457                                                                Book Value                         $0.00
    Two Control Valves
    12/17/2010
    #1458                                                                Book Value                         $0.00
    Fire Pump Controller
    12/20/2010
    #1460                                                                Book Value                         $0.00
    Used 600 Gal. Vessel
    12/20/2010
    #1461                                                                Book Value                         $0.00
    Used Tank-9700 Gal.
    12/20/2010
    #1462                                                                Book Value                         $0.00
    Used 600 Gal. Vessel
    12/20/2010
    #1463                                                                Book Value                         $0.00
    To Close Afton Polysulfid
    12/31/2010
    #1464                                                                Book Value                         $0.00
    To Close F7/F8 Cip
    12/1/2010
    #1465                                                                Book Value                         $0.00




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                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 104 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    To Close Exxn Mobil Susp
    12/1/2010
    #1466                                                                Book Value                         $0.00
    Afton Pp05 Cip Proj.
    12/1/2010
    #1467                                                                Book Value                         $0.00
    Air Compressor
    1/17/2011
    #1468                                                                Book Value                         $0.00
    Vacuum Skid
    12/31/2010
    #1469                                                                Book Value                         $0.00
    Parking Lot Repair
    2/28/2011
    #1470                                                                Book Value                         $0.00
    Spectrometer
    1/24/2011
    #1471                                                                Book Value                         $0.00
    Stainless Steel Tank
    3/1/2011
    #1472                                                                Book Value                         $0.00
    Rain Drainage Sump
    3/29/2011
    #1473                                                                Book Value                         $0.00
    Tree Seedlings
    3/28/2011
    #1474                                                                Book Value                         $0.00
    Used Surplus Mat'L
    1/1/2008
    #1475                                                                Book Value                         $0.00
    Cooling Tower Repairs
    3/30/2011
    #1476                                                                Book Value                         $0.00
    Stainless Tank-9400 Gal
    4/5/2011
    #1477                                                                Book Value                         $0.00
    Dist. Column W/Packing
    3/31/2011
    #1478                                                                Book Value                         $0.00
    Portable Building
    5/17/2011
    #1479                                                                Book Value                         $0.00
    Stainless Steel Vessel
    5/18/2011
    #1480                                                                Book Value                         $0.00
    Welding Machine
    5/27/2011
    #1481                                                                Book Value                         $0.00
    Exchanger Head
    4/28/2011
    #1482                                                                Book Value                         $0.00




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                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 105 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Used Stainless Exchanger
    6/3/2011
    #1483                                                                Book Value                         $0.00
    Heat Exchanger
    6/1/2011
    #1484                                                                Book Value                         $0.00
    Platter Scanner
    6/1/2011
    #1485                                                                Book Value                         $0.00
    Air Fin Coolers(7)
    7/1/2011
    #1486                                                                Book Value                         $0.00
    Railroad Crossties
    7/1/2011
    #1487                                                                Book Value                         $0.00
    Walk In Freezer
    7/1/2011
    #1488                                                                Book Value                         $0.00
    Heat Exchanger
    8/1/2011
    #1489                                                                Book Value                         $0.00
    Concrete Work-Aug.
    8/1/2011
    #1490                                                                Book Value                         $0.00
    Agitator Shaft
    9/1/2011
    #1491                                                                Book Value                         $0.00
    Agitator Shaft
    9/1/2011
    #1492                                                                Book Value                         $0.00
    Stainless Steel Tank
    9/13/2011
    #1493                                                                Book Value                         $0.00
    Compressor
    9/1/2011
    #1494                                                                Book Value                         $0.00
    Concrete And Rebar
    9/1/2011
    #1497                                                                Book Value                         $0.00
    Used Exchanger
    10/1/2011
    #1498                                                                Book Value                         $0.00
    Used Vessel
    10/1/2011
    #1499                                                                Book Value                         $0.00
    Used Exchanger
    10/1/2011
    #1500                                                                Book Value                         $0.00
    Used SS Tank
    10/7/2011
    #1501                                                                Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Storage Remoite
    10/1/2011
    #1503                                                                Book Value                         $0.00
    32 AC.Tipton Walker Srvey
    12/26/1995
    #438                                                       $0.00     Book Value                         $0.00
    Condensation Unit-Freezer
    10/3/2011
    #1504                                                                Book Value                         $0.00
    Concrete Slab W/ Piers
    10/25/2011
    #1505                                                                Book Value                         $0.00
    Sales Ofc. FM 1960W
    5/25/1999
    #439                                                       $0.00     Book Value                         $0.00
    Analyst 200
    10/1/2011
    #1506                                                                Book Value                         $0.00
    Roof For S&R Dist 2
    3/3/1999
    #440                                                       $0.00     Book Value                         $0.00
    Scroll York Chiller
    11/1/2011
    #1507                                                                Book Value                         $0.00
    1975-1994 Land Additions
    7/1/1975
    #441                                                       $0.00     Book Value                         $0.00
    Blasting Shed Pad
    11/2/2011
    #1508                                                                Book Value                         $0.00
    1975-1980 Equip Additions
    1/1/1980
    #1509                                                                Book Value                         $0.00
    1978 Additions
    7/1/1978
    #442                                                       $0.00     Book Value                         $0.00
    Ali 12 System
    12/1/2011
    #1510                                                                Book Value                         $0.00
    1980 Additions
    7/1/1980
    #443                                                       $0.00     Book Value                         $0.00
    Cip-Dow Nop
    12/31/2011
    #1511                                                                Book Value                         $0.00
    1983 Additions
    7/1/1983
    #444                                                       $0.00     Book Value                         $0.00
    Cip Afton H3193
    12/31/2011
    #1512                                                                Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    1984 Additions
    7/1/1984
    #445                                                       $0.00     Book Value                         $0.00
    Cip-Afton Pp05
    12/31/2011
    #1513                                                                Book Value                         $0.00
    Cip-Afton Polysulfide
    12/31/2011
    #1514                                                                Book Value                         $0.00
    1985 Additions
    7/1/1985
    #446                                                       $0.00     Book Value                         $0.00
    Cip Km 2024 Wash System
    12/31/2011
    #1515                                                                Book Value                         $0.00
    1986 Additions
    7/1/1986
    #447                                                       $0.00     Book Value                         $0.00
    Cip-Elevance
    12/31/2011
    #1518                                                                Book Value                         $0.00
    1987 Additions
    7/1/1987
    #448                                                       $0.00     Book Value                         $0.00
    Cip-Catalyst-Pmne
    12/31/2011
    #1519                                                                Book Value                         $0.00
    1988 Additions
    7/1/1988
    #449                                                       $0.00     Book Value                         $0.00
    Cip-Huntsman Surfonic
    12/31/2011
    #1520                                                                Book Value                         $0.00
    1989 Additions
    7/1/1989
    #450                                                       $0.00     Book Value                         $0.00
    Cip-Vorasurf
    12/31/2011
    #1521                                                                Book Value                         $0.00
    Cip-=Lubrizol
    12/31/2011
    #1522                                                                Book Value                         $0.00
    1990 Additions
    7/1/1990
    #451                                                       $0.00     Book Value                         $0.00
    Hcc Closing Device
    12/7/2011
    #1523                                                                Book Value                         $0.00
    1991 Additions
    7/1/1991
    #452                                                       $0.00     Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    York Chiller
    12/19/2011
    #1524                                                                Book Value                         $0.00
    1992 Additions
    7/1/1992
    #453                                                       $0.00     Book Value                         $0.00
    Rx-11 Work E3 Filter Pr
    12/28/2011
    #1525                                                                Book Value                         $0.00
    1984 Additions F&F
    7/1/1984
    #455                                                       $0.00     Book Value                         $0.00
    Enlarge Area Dy
    12/28/2011
    #1526                                                                Book Value                         $0.00
    1985 Additions F&F
    7/1/1985
    #456                                                       $0.00     Book Value                         $0.00
    1975-1980 Equip Additions
    1/1/1980
    #1527                                                                Book Value                         $0.00
    1986 Additions F&F
    7/1/1986
    #457                                                       $0.00     Book Value                         $0.00
    Used 90 Ton Grove Crane
    1/18/2012
    #1528                                                                Book Value                         $0.00
    1987 Additions F&F
    7/1/1987
    #458                                                       $0.00     Book Value                         $0.00
    Termpered Water Pad
    1/10/2012
    #1530                                                                Book Value                         $0.00
    1988 Additions F&F
    7/1/1988
    #459                                                       $0.00     Book Value                         $0.00
    Heat Exchanger
    2/14/2012
    #1532                                                                Book Value                         $0.00
    1990 Additions F&F
    7/1/1990
    #460                                                       $0.00     Book Value                         $0.00
    Gorman Pump
    2/20/2012
    #1533                                                                Book Value                         $0.00
    1991 Additions F&F
    7/1/1991
    #461                                                       $0.00     Book Value                         $0.00
    Reman. Blower
    2/17/2012
    #1534                                                                Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    1991 Additions F&F
    7/1/1991
    #462                                                       $0.00     Book Value                         $0.00
    Used Reactor
    2/20/2012
    #1535                                                                Book Value                         $0.00
    Coiled Vessel 12X 35
    2/9/2012
    #1536                                                                Book Value                         $0.00
    1992 Additions F&F
    7/1/1992
    #463                                                       $0.00     Book Value                         $0.00
    Seal Support System
    2/24/2012
    #1537                                                                Book Value                         $0.00
    Filter Rebuild
    2/1/2012
    #1538                                                                Book Value                         $0.00
    Autocad Licenses3
    2/3/2012
    #1540                                                                Book Value                         $0.00
    1992 Additions F&F
    7/1/1992
    #464                                                       $0.00     Book Value                         $0.00
    Drobo San Uard Drive
    2/7/2012
    #1541                                                                Book Value                         $0.00
    1993 Additions F&F
    7/1/1993
    #465                                                       $0.00     Book Value                         $0.00
    Durco Pump
    1/12/2012
    #1542                                                                Book Value                         $0.00
    1993 Additions-F&F
    7/1/1993
    #466                                                       $0.00     Book Value                         $0.00
    Exchanger Head Fab
    1/26/2012
    #1543                                                                Book Value                         $0.00
    1994 Additions F&F
    7/1/1994
    #467                                                       $0.00     Book Value                         $0.00
    Vacuum Pump
    1/4/2012
    #1544                                                                Book Value                         $0.00
    1994 Additions - Comp
    7/1/1994
    #468                                                       $0.00     Book Value                         $0.00
    Radar Transmitter
    1/13/2012
    #1545                                                                Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Control Valve
    1/18/2012
    #1546                                                                Book Value                         $0.00
    1975-1980 Equip Additions
    1/1/1980
    #469                                                       $0.00     Book Value                         $0.00
    Electric Heat System
    3/31/2012
    #1547                                                                Book Value                         $0.00
    Power Upgrade Labor
    3/2/2012
    #1548                                                                Book Value                         $0.00
    1981 Equip. Additions
    12/31/1980
    #470                                                       $0.00     Book Value                         $0.00
    Flow Thru Sample Sys.
    3/28/2012
    #1549                                                                Book Value                         $0.00
    Level Transmitter
    3/1/2012
    #1550                                                                Book Value                         $0.00
    Carrier A/C System
    3/31/2012
    #1552                                                                Book Value                         $0.00
    Labor For Tank Top,Vessel
    3/12/2012
    #1553                                                                Book Value                         $0.00
    1983 Equip. Additions
    12/30/1981
    #471                                                       $0.00     Book Value                         $0.00
    Labor V4 & H7
    3/19/2012
    #1554                                                                Book Value                         $0.00
    1983 Equip. Additions
    1/15/1983
    #472                                                       $0.00     Book Value                         $0.00
    Labor V4 Eo Storage
    3/26/2012
    #1555                                                                Book Value                         $0.00
    K11 Road Concrete
    3/19/2012
    #1556                                                                Book Value                         $0.00
    1984 Equip. Additions
    1/15/1984
    #473                                                       $0.00     Book Value                         $0.00
    Turndown Shaft
    4/1/2012
    #1560                                                                Book Value                         $0.00
    1985 Additions
    1/15/1985
    #474                                                       $0.00     Book Value                         $0.00




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Debtor      KMCO, LLC                                                     Case number (if known)   20-60028
            Name

    Maint. To Ne Boiler
    4/1/2012
    #1561                                                                   Book Value                         $0.00
    1986 Equip. Additions
    1/15/1986
    #475                                                          $0.00     Book Value                         $0.00
    Honeywell Gp, Xmtr
    4/12/2012
    #1562                                                                   Book Value                         $0.00
    Support Beams For Air Fin Coolers
    4/1/2012
    #1563                                                                   Book Value                         $0.00
    1987 Equip. Additions
    1/15/1987
    #476                                                          $0.00     Book Value                         $0.00
    Repair To Crane
    4/6/2012
    #1564                                                                   Book Value                         $0.00
    Mdx Configured System
    4/1/2012
    #1565                                                                   Book Value                         $0.00
    Labor-Global
    4/2/2012
    #1566                                                                   Book Value                         $0.00
    Labor-Global Welding
    4/9/2012
    #1567                                                                   Book Value                         $0.00
    Labor-Global
    4/16/2012
    #1568                                                                   Book Value                         $0.00
    La Bor-Global
    4/23/2012
    #1569                                                                   Book Value                         $0.00
    1988 Equipment Additions
    1/15/1988
    #477                                                          $0.00     Book Value                         $0.00
    Project Scope Plan System
    4/19/2012
    #1570                                                                   Book Value                         $0.00
    Pip Standards
    4/17/2012
    #1571                                                                   Book Value                         $0.00
    1989 Equip. Additions
    1/15/1989
    #478                                                          $0.00     Book Value                         $0.00
    Ross Erp 10 Users Lic.
    4/1/2012
    #1572                                                                   Book Value                         $0.00
    1990 Equip. Additions
    1/15/1990
    #479                                                          $0.00     Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Vortex Flowmeters-5
    5/1/2012
    #1574                                                                Book Value                         $0.00
    1991 Equip. Additions
    1/15/1991
    #480                                                       $0.00     Book Value                         $0.00
    Used Exchangers-2
    5/17/2012
    #1575                                                                Book Value                         $0.00
    Electric Motor-60 Hp
    5/18/2012
    #1576                                                                Book Value                         $0.00
    1992 Equip. Additions
    1/15/1992
    #481                                                       $0.00     Book Value                         $0.00
    Multicoupler
    5/2/2012
    #1577                                                                Book Value                         $0.00
    1993 Equip. Additions
    1/15/1993
    #482                                                       $0.00     Book Value                         $0.00
    Combiner
    5/3/2012
    #1578                                                                Book Value                         $0.00
    1994 Equip. Additions
    1/15/1994
    #483                                                       $0.00     Book Value                         $0.00
    Watt Repeater
    5/2/2012
    #1579                                                                Book Value                         $0.00
    1997 Adjustments-Equip.
    1/15/1997
    #484                                                       $0.00     Book Value                         $0.00
    1997 F&F Additions
    1/15/1997
    #485                                                       $0.00     Book Value                         $0.00
    Heat Exchanger
    8/9/1999
    #488                                                       $0.00     Book Value                         $0.00
    Used Agitator
    8/1/1999
    #489                                                       $0.00     Book Value                         $0.00
    Surpus Material
    8/21/1999
    #490                                                       $0.00     Book Value                         $0.00
    Storage Tank
    9/1/1999
    #491                                                       $0.00     Book Value                         $0.00
    Heat Exchanger
    8/9/1999
    #492                                                       $0.00     Book Value                         $0.00




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            Name

    Used Agitator
    8/1/1999
    #493                                                       $0.00     Book Value                         $0.00
    Surplus Material
    8/21/1999
    #494                                                       $0.00     Book Value                         $0.00
    Heat Exchanger
    8/9/1999
    #495                                                       $0.00     Book Value                         $0.00
    Surplus Material
    8/21/1999
    #496                                                       $0.00     Book Value                         $0.00
    Donovan 3# Meter
    7/7/1999
    #497                                                       $0.00     Book Value                         $0.00
    Roper Pump
    7/7/1999
    #498                                                       $0.00     Book Value                         $0.00
    Transmitter
    7/14/1999
    #499                                                       $0.00     Book Value                         $0.00
    45 Ton Chiller
    7/21/1999
    #500                                                       $0.00     Book Value                         $0.00
    Heat Exchanger
    8/9/1999
    #501                                                       $0.00     Book Value                         $0.00
    Used Agitator
    8/1/1999
    #502                                                       $0.00     Book Value                         $0.00
    Surplus Material
    8/21/1999
    #503                                                       $0.00     Book Value                         $0.00
    2 Tanks W/Steam Coils
    9/1/1999
    #504                                                       $0.00     Book Value                         $0.00
    Grove Model AP308
    9/29/1999
    #505                                                       $0.00     Book Value                         $0.00
    Groves Model AP308
    9/29/1999
    #506                                                       $0.00     Book Value                         $0.00
    Groves Model AP308
    9/29/1999
    #507                                                       $0.00     Book Value                         $0.00
    Grove Model AP308
    9/29/1999
    #508                                                       $0.00     Book Value                         $0.00
    Titrator
    8/10/1999
    #509                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Titrator,2 Burette Drive
    9/2/1999
    #510                                                                 Book Value                         $0.00
    Lap Top Comp.For Willie
    9/16/1999
    #512                                                                 Book Value                         $0.00
    Network Computer
    9/27/1999
    #513                                                                 Book Value                         $0.00
    Varec 3# Flame Arrstr
    10/6/1999
    #514                                                                 Book Value                         $0.00
    Varec 3# Flamer Arrstr
    10/6/1999
    #516                                                                 Book Value                         $0.00
    Varec 3# Flame Arrstr
    10/6/1999
    #517                                                                 Book Value                         $0.00
    Varec 3# Flame Arrstr
    10/6/1999
    #518                                                                 Book Value                         $0.00
    Scale
    10/25/1999
    #519                                                                 Book Value                         $0.00
    Scale
    10/25/1999
    #520                                                                 Book Value                         $0.00
    Scale
    10/25/1999
    #521                                                                 Book Value                         $0.00
    Scale
    10/25/1999
    #522                                                                 Book Value                         $0.00
    Stokes Vacuum Pump
    10/18/1999
    #523                                                                 Book Value                         $0.00
    Bare Liquid Ring Vac.Pump
    10/29/1999
    #524                                                                 Book Value                         $0.00
    32 Boxes Mark 2
    #10/14/1999
    #525                                                                 Book Value                         $0.00
    Liquid Control Meter
    11/22/1999
    #527                                                                 Book Value                         $0.00
    Fisher Control Valve
    11/24/1999
    #528                                                                 Book Value                         $0.00
    Sensor And Transmitter
    11/1/1999
    #529                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Pump Woodruff Key
    11/11/1999
    #530                                                                 Book Value                         $0.00
    Sphere Sensor
    11/12/1999
    #531                                                                 Book Value                         $0.00
    Stainless Steel "U"Bends
    11/15/1999
    #532                                                                 Book Value                         $0.00
    New A/C Unit-Sales Ofc.
    11/1/1999
    #533                                                                 Book Value                         $0.00
    Phone Upgrades-Sales
    11/2/1999
    #534                                                                 Book Value                         $0.00
    Cip K-7 Dow Project
    12/31/1999
    #535                                                                 Book Value                         $0.00
    Impeller
    12/1/1999
    #536                                                                 Book Value                         $0.00
    Beach-Russ Vacuum Pump
    12/27/1999
    #537                                                                 Book Value                         $0.00
    Cip K-6 Chloropib
    12/31/1999
    #538                                                                 Book Value                         $0.00
    Bal.Moisture 120 Vac.
    12/7/1999
    #539                                                                 Book Value                         $0.00
    Beach-Russ Vacuum Pump
    1/5/2000
    #540                                                                 Book Value                         $0.00
    Gearreducer &Blade Fan
    1/19/2000
    #541                                                                 Book Value                         $0.00
    Sensor
    1/5/2000
    #542                                                                 Book Value                         $0.00
    Phone System Upgrades
    1/1/2000
    #543                                                                 Book Value                         $0.00
    Vacuum Pump
    2/14/2000
    #544                                                                 Book Value                         $0.00
    Sales Ofc.Renovations
    5/25/1999
    #545                                                                 Book Value                         $0.00
    Office Furn.
    6/1/1999
    #546                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    10 X 14 Portable Building
    3/14/2000
    #547                                                                 Book Value                         $0.00
    Prop Aerator 50Hp
    3/1/2000
    #548                                                                 Book Value                         $0.00
    Donovan 3' Meter & Regist
    3/6/2000
    #549                                                                 Book Value                         $0.00
    Piii 500 System For Maint
    4/26/2000
    #550                                                                 Book Value                         $0.00
    Organic Carbon Analyzer
    5/31/2000
    #551                                                                 Book Value                         $0.00
    Corsicana /Wfe Cip
    5/1/2000
    #552                                                                 Book Value                         $0.00
    Portable Molesieve Cip
    5/1/2000
    #553                                                                 Book Value                         $0.00
    Used Pressure Vessel
    6/8/2000
    #554                                                                 Book Value                         $0.00
    Used Pressure Vessel
    6/8/2000
    #555                                                                 Book Value                         $0.00
    Used Pressure Vessel
    6/8/2000
    #556                                                                 Book Value                         $0.00
    Used Pressure Vessel
    6/8/2000
    #557                                                                 Book Value                         $0.00
    Forklift
    4/17/2000
    #558                                                                 Book Value                         $0.00
    Forklift
    4/17/2000
    #559                                                                 Book Value                         $0.00
    Used Exchanger
    6/1/2000
    #560                                                                 Book Value                         $0.00
    Used Exchanger
    6/1/2000
    #561                                                                 Book Value                         $0.00
    Used Exchanger
    6/1/2000
    #562                                                                 Book Value                         $0.00
    Used Exchanger
    6/1/2000
    #563                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Stokes Vacuum Pump
    7/1/2000
    #564                                                                 Book Value                         $0.00
    Forklift
    7/1/2000
    #565                                                                 Book Value                         $0.00
    Used Pressure Vessel
    7/5/2000
    #566                                                                 Book Value                         $0.00
    Used Pressure Vessel
    7/5/2000
    #567                                                                 Book Value                         $0.00
    Used Pressure Vessel
    7/5/2000
    #568                                                                 Book Value                         $0.00
    2" 150# Sensor
    8/10/2000
    #569                                                                 Book Value                         $0.00
    Cip-Paratorq
    8/1/2000
    #570                                                                 Book Value                         $0.00
    New Tank Farm
    8/1/2000
    #571                                                                 Book Value                         $0.00
    Jet Pot Scrubber
    8/1/2000
    #572                                                                 Book Value                         $0.00
    Rk-8 Mole Sieve
    8/1/2000
    #573                                                                 Book Value                         $0.00
    Eep Expansion
    8/1/2000
    #574                                                                 Book Value                         $0.00
    Rx1 Tank 908
    8/1/2000
    #575                                                                 Book Value                         $0.00
    Lab Controller
    9/19/2000
    #576                                                                 Book Value                         $0.00
    Used Exchanger
    9/1/2000
    #578                                                                 Book Value                         $0.00
    Used Exchanger
    9/1/2000
    #579                                                                 Book Value                         $0.00
    Used Exchanger
    9/1/2000
    #580                                                                 Book Value                         $0.00
    Used Exchanger
    9/1/2000
    #581                                                                 Book Value                         $0.00




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                    Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 118 of 153
Debtor      KMCO, LLC                                                   Case number (if known)   20-60028
            Name

    Two Storage Tanks
    10/11/2000
    #582                                                                  Book Value                         $0.00
    Forklift
    11/1/2000
    #585                                                                  Book Value                         $0.00
    Hp 5890 Fid
    12/5/2000
    #586                                                                  Book Value                         $0.00
    Forklift
    12/5/2000
    #587                                                                  Book Value                         $0.00
    Used Sparkler Filter Mode
    12/11/2000
    #588                                                                  Book Value                         $0.00
    Sensor
    12/6/2000
    #589                                                                  Book Value                         $0.00
    Hp Design Plotter
    12/7/2000
    #590                                                                  Book Value                         $0.00
    K-6 Chloropib Proj.
    12/1/2000
    #591                                                                  Book Value                         $0.00
    Train Derailment
    12/1/2000
    #592                                                                  Book Value                         $0.00
    New Data Acqauisition
    12/1/2000
    #593                                                                  Book Value                         $0.00
    Interplant Network
    12/1/2000
    #594                                                                  Book Value                         $0.00
    Rl-8 Mole Sievde
    #12/1/2000
    #595                                                                  Book Value                         $0.00
    Dow Voranol
    12/1/2000
    #596                                                                  Book Value                         $0.00
    Boiler Upgrade
    12/1/2000
    #597                                                                  Book Value                         $0.00
    Rk-8 Project
    12/1/2000
    #598                                                                  Book Value                         $0.00
    Pm 1969 Project
    12/1/2000
    #599                                                                  0.00                               $0.00
    U/C Sa3 Proj.
    12/1/2000
    #600                                                                  Book Value                         $0.00




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                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 119 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    P2S5 Tote Bin
    12/1/2000
    #601                                                                 Book Value                         $0.00
    U/C Tepa
    12/1/2000
    #602                                                                 Book Value                         $0.00
    Huntsman Propyl Carbitol
    12/1/2000
    #603                                                                 Book Value                         $0.00
    Cognis Stearic Acid
    12/1/2000
    #604                                                                 Book Value                         $0.00
    Roof For Dry Storage Blde
    1/30/2001
    #605                                                                 Book Value                         $0.00
    Forklift
    1/1/2001
    #606                                                                 Book Value                         $0.00
    Forklift
    1/30/2001
    #607                                                                 Book Value                         $0.00
    Liquid Ring Pump
    1/1/2001
    #608                                                                 Book Value                         $0.00
    Sensor, Transmitter
    1/26/2001
    #609                                                                 Book Value                         $0.00
    Forklifts
    2/27/2001
    #610                                                                 Book Value                         $0.00
    Maag Pump Case
    2/1/2001
    #611                                                                 Book Value                         $0.00
    Liquid Ring Vacuum Pump
    3/1/2001
    #612                                                                 Book Value                         $0.00
    Titrator
    3/1/2001
    #613                                                                 Book Value                         $0.00
    Forklift
    4/1/2001
    #614                                                                 Book Value                         $0.00
    Sensor
    4/13/2001
    #617                                                                 Book Value                         $0.00
    Reducer & Drive Assembly
    4/1/2001
    #618                                                                 Book Value                         $0.00
    Mechanical Seal
    5/1/2001
    #619                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Forklift
    5/1/2001
    #620                                                                 Book Value                         $0.00
    Surplus Reactor
    5/1/2001
    #621                                                                 Book Value                         $0.00
    Vacuum Pump
    5/15/2001
    #622                                                                 Book Value                         $0.00
    Duct Bank & Trsfmr Pad
    5/23/2001
    #623                                                                 Book Value                         $0.00
    Duct Bank & Trsfmr Pad
    5/23/2001
    #624                                                                 Book Value                         $0.00
    Duct Bank & Trsfmr Pad
    5/23/2001
    #625                                                                 Book Value                         $0.00
    Duct Bank & Trsfmr. Pad
    5/23/2001
    #626                                                                 Book Value                         $0.00
    Pump Case
    5/1/2001
    #627                                                                 Book Value                         $0.00
    Lamimating Tags
    5/31/2001
    #628                                                                 Book Value                         $0.00
    Forklift
    6/1/2001
    #630                                                                 Book Value                         $0.00
    Chiller Barrell
    6/1/2001
    #631                                                                 Book Value                         $0.00
    Full Port Ball Valve
    6/4/2001
    #632                                                                 Book Value                         $0.00
    Transmitter
    6/1/2001
    #633                                                                 Book Value                         $0.00
    New Phone System
    6/30/2001
    #634                                                                 Book Value                         $0.00
    Forklift
    7/1/2001
    #635                                                                 Book Value                         $0.00
    Forklift
    7/30/2001
    #636                                                                 Book Value                         $0.00
    Pm 1969 Const.
    8/1/2001
    #637                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    U/C Sa-3 Const.
    8/1/2001
    #638                                                                 Book Value                         $0.00
    Tepa Construction
    8/1/2001
    #639                                                                 Book Value                         $0.00
    Liquid Ring Pump
    8/1/2001
    #640                                                                 Book Value                         $0.00
    New Data Acq. Const.
    8/1/2001
    #643                                                                 Book Value                         $0.00
    Boiler Upgrade Const.
    8/1/2001
    #644                                                                 Book Value                         $0.00
    P2S5 Tote Bin Const.
    8/1/2001
    #645                                                                 Book Value                         $0.00
    Cartride And Rings
    8/30/2001
    #647                                                                 Book Value                         $0.00
    Enductor
    8/30/2001
    #648                                                                 Book Value                         $0.00
    Octel 9000 Const.
    8/1/2001
    #649                                                                 Book Value                         $0.00
    Rk-8 Project Const.
    8/1/2001
    #650                                                                 Book Value                         $0.00
    Dow Voranol Const.
    8/1/2001
    #651                                                                 Book Value                         $0.00
    Cognis Stearic Acid Const
    8/1/2001
    #652                                                                 Book Value                         $0.00
    Forklift
    8/30/2001
    #654                                                                 Book Value                         $0.00
    Prop.16615,16619 Ramsey
    9/30/2001
    #655                                                                 Book Value                         $0.00
    Bldg.@16615,16619 Ramsey
    9/30/2001
    #656                                                                 Book Value                         $0.00
    Liquid Control Meter
    9/10/2001
    #657                                                                 Book Value                         $0.00
    Used Reactor
    9/20/2001
    #658                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Equipment
    9/10/2001
    #659                                                                 Book Value                         $0.00
    Vacuum Pump
    9/19/2001
    #660                                                                 Book Value                         $0.00
    Forklift
    10/1/2001
    #661                                                                 Book Value                         $0.00
    Bare Vacuum Unit
    10/17/2001
    #662                                                                 Book Value                         $0.00
    Labeling Machine
    11/12/2001
    #664                                                                 Book Value                         $0.00
    Beach Russ Vacuum Pump
    11/1/2001
    #665                                                                 Book Value                         $0.00
    Forklift Payout
    11/1/2001
    #666                                                                 Book Value                         $0.00
    1222 Crosby Dayton Rd.
    10/19/2001
    #667                                                                 Book Value                         $0.00
    1222 Crosby Dayton Rd.
    10/19/2001
    #668                                                                 Book Value                         $0.00
    Lab Equipment
    11/9/2001
    #669                                                                 Book Value                         $0.00
    5 Hp Pump And Cable
    12/11/2001
    #670                                                                 Book Value                         $0.00
    Forklift
    12/1/2001
    #671                                                                 Book Value                         $0.00
    115 Vac D/P
    12/11/2001
    #672                                                                 Book Value                         $0.00
    Huntsman Propyl Cip
    12/1/2001
    #673                                                                 Book Value                         $0.00
    Eep Expansion Cip
    12/1/2001
    #674                                                                 Book Value                         $0.00
    Parking Lot Addition
    12/1/2001
    #675                                                                 Book Value                         $0.00
    Grove Crane
    1/1/2002
    #676                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                   Case number (if known)   20-60028
            Name

    Forklift
    1/1/2002
    #677                                                                  Book Value                         $0.00
    Gate Valve
    1/15/2002
    #678                                                                  Book Value                         $0.00
    Beach Russ Vacuum Pump
    2/1/2002
    #679                                                                  Book Value                         $0.00
    Glas Lined Reactor
    2/27/2002
    #680                                                                  Book Value                         $0.00
    Storage Tank
    2/1/2002
    #681                                                                  Book Value                         $0.00
    Baffle
    3/22/2002
    #682                                                                  Book Value                         $0.00
    K Unit C Tower Motor
    3/1/2002
    #683                                                                  Book Value                         $0.00
    Hot Water Press
    3/20/2002
    #684                                                                  Book Value                         $0.00
    Tergitol Cip
    4/1/2002
    #685                                                                  Book Value                         $0.00
    Koch Project Cip
    4/1/2002
    #686                                                                  Book Value                         $0.00
    Agitator Seal
    4/23/2002
    #687                                                                  Book Value                         $0.00
    Sensor
    4/26/2002
    #688                                                                  Book Value                         $0.00
    Monitor
    4/4/2002
    #689                                                                  Book Value                         $0.00
    Monitor, Remote
    4/10/2002
    #690                                                                  Book Value                         $0.00
    Chromotograph
    4/18/2002
    #691                                                                  Book Value                         $0.00
    Liquid Ring Pump
    5/15/2002
    #692                                                                  Book Value                         $0.00
    Bag Filter
    5/30/2002
    #693                                                                  Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Driveway/Ramp
    6/13/2002
    #695                                                                 Book Value                         $0.00
    830 Crosby Dayton Prop
    6/5/2002
    #696                                                                 Book Value                         $0.00
    Heat Exchanger
    6/1/2002
    #697                                                                 Book Value                         $0.00
    Series Iii Integrator
    6/14/2002
    #698                                                                 Book Value                         $0.00
    Pentium 4 Processor
    6/1/2002
    #699                                                                 Book Value                         $0.00
    Oval Gear Meter
    7/12/2002
    #700                                                                 Book Value                         $0.00
    Air Conditioner Unit
    7/1/2002
    #701                                                                 Book Value                         $0.00
    Storage Tank
    8/1/2002
    #702                                                                 Book Value                         $0.00
    Sensor
    8/8/2002
    #703                                                                 Book Value                         $0.00
    Sweeper
    9/19/2002
    #704                                                                 Book Value                         $0.00
    Meter With Root Register
    9/20/2002
    #705                                                                 Book Value                         $0.00
    Cast Iron Meter
    9/1/2002
    #706                                                                 Book Value                         $0.00
    Vacuum Pump
    9/19/2002
    #707                                                                 Book Value                         $0.00
    Sphere Sensor
    9/20/2002
    #708                                                                 Book Value                         $0.00
    Air Purification Boxes
    9/10/2002
    #709                                                                 Book Value                         $0.00
    Forklift
    10/31/2002
    #710                                                                 Book Value                         $0.00
    S20316Ss
    10/15/2002
    #711                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Exchanger
    10/21/2002
    #712                                                                 Book Value                         $0.00
    Grinder
    11/1/2002
    #713                                                                 Book Value                         $0.00
    J-4,K7 U/C Sa3 Cip
    12/31/2002
    #715                                                                 Book Value                         $0.00
    J4, K7 U/C Sa3 Cip
    12/31/2002
    #716                                                                 Book Value                         $0.00
    Bare Vacuum Pump
    12/1/2002
    #717                                                                 Book Value                         $0.00
    Crompton Cip
    12/31/2002
    #718                                                                 Book Value                         $0.00
    Stadis Cip
    12/31/2002
    #719                                                                 Book Value                         $0.00
    Eep Cip`
    12/31/2002
    #720                                                                 Book Value                         $0.00
    15000 Gal. Vessel
    12/31/2002
    #721                                                                 Book Value                         $0.00
    Bearing Kit
    12/3/2002
    #722                                                                 Book Value                         $0.00
    Seal & Shaft Kit
    12/1/2002
    #723                                                                 Book Value                         $0.00
    Tempered Water Cip
    12/31/2002
    #724                                                                 Book Value                         $0.00
    Xus Fiilter Cip
    12/31/2002
    #725                                                                 Book Value                         $0.00
    Daqs Upgrade Cip
    12/31/2002
    #726                                                                 Book Value                         $0.00
    Exchanger
    12/12/2002
    #727                                                                 Book Value                         $0.00
    Fixed Tube Sheet
    1/13/2003
    #728                                                                 Book Value                         $0.00
    Cooling Tower
    1/27/2003
    #729                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Concrete & Monofill
    1/16/2003
    #730                                                                 Book Value                         $0.00
    Air Hammer Rental
    1/15/2003
    #731                                                                 Book Value                         $0.00
    Hardware
    1/8/2003
    #732                                                                 Book Value                         $0.00
    Dumbell/Shepler'S Equip
    1/13/2003
    #733                                                                 Book Value                         $0.00
    Rebar
    1/9/2003
    #734                                                                 Book Value                         $0.00
    Pump
    2/7/2003
    #735                                                                 Book Value                         $0.00
    Economizer
    2/14/2003
    #736                                                                 Book Value                         $0.00
    Economizer
    2/14/2003
    #737                                                                 Book Value                         $0.00
    Economizer
    2/14/2003
    #738                                                                 Book Value                         $0.00
    Economizer
    2/14/2003
    #739                                                                 Book Value                         $0.00
    Sensor, Transmitter
    2/5/2003
    #740                                                                 Book Value                         $0.00
    Vacuum Pump
    2/4/2003
    #741                                                                 Book Value                         $0.00
    Flow Tube
    2/10/2003
    #742                                                                 Book Value                         $0.00
    Adapter With Gasket
    2/12/2003
    #743                                                                 Book Value                         $0.00
    Evaporator
    2/18/2003
    #744                                                                 Book Value                         $0.00
    Dump Truck Rental
    2/1/2003
    #745                                                                 Book Value                         $0.00
    Excavator
    2/1/2003
    #746                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Complete Roof
    3/1/2003
    #747                                                                 Book Value                         $0.00
    Glasslined Dip Pipe
    3/3/2003
    #748                                                                 Book Value                         $0.00
    Mass Flow Tube/Transmitte
    2/12/2003
    #749                                                                 Book Value                         $0.00
    Packed Pump
    4/23/2003
    #750                                                                 Book Value                         $0.00
    Reconditioned Chempump
    4/1/2003
    #751                                                                 Book Value                         $0.00
    Scale Base & Remote
    4/1/2003
    #752                                                                 Book Value                         $0.00
    Butterfly Valve
    4/1/2003
    #753                                                                 Book Value                         $0.00
    Pressure Transmitter
    4/1/2003
    #754                                                                 Book Value                         $0.00
    Coupled Pump
    5/5/2003
    #755                                                                 Book Value                         $0.00
    10 Ton Chiller
    5/15/2003
    #756                                                                 Book Value                         $0.00
    Used Stock Pumps
    5/9/2003
    #757                                                                 Book Value                         $0.00
    Flexring J-1 Column
    5/16/2003
    #758                                                                 Book Value                         $0.00
    Cast Iron Meter
    6/2/2003
    #759                                                                 Book Value                         $0.00
    Buna Cover Gasket
    6/23/2003
    #760                                                                 Book Value                         $0.00
    Mark 2 Boxes
    6/13/2003
    #761                                                                 Book Value                         $0.00
    Butterfly Valve
    7/1/2003
    #762                                                                 Book Value                         $0.00
    Butterfly Valve
    7/1/2003
    #763                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Butterfly Valve
    7/1/2003
    #764                                                                 Book Value                         $0.00
    Butterfly Valve
    7/1/2003
    #765                                                                 Book Value                         $0.00
    Lightning Mixer
    7/2/2003
    #766                                                                 Book Value                         $0.00
    14 X 42 Stainless Tank
    8/1/2003
    #768                                                                 Book Value                         $0.00
    Transmitter
    8/1/2003
    #769                                                                 Book Value                         $0.00
    Sensor, Transmitter
    8/15/2003
    #770                                                                 Book Value                         $0.00
    Differential Press, Seals
    8/1/2003
    #771                                                                 Book Value                         $0.00
    Dell Computer,Printer,Sof
    8/1/2003
    #772                                                                 Book Value                         $0.00
    Software Kit
    8/1/2003
    #773                                                                 Book Value                         $0.00
    Sensor
    3/1/2003
    #774                                                                 Book Value                         $0.00
    Stainless St. Cartridge
    9/25/2003
    #775                                                                 Book Value                         $0.00
    Used Pressure Vessels
    10/7/2003
    #776                                                                 Book Value                         $0.00
    Carbon Steel Tank
    11/20/2003
    #777                                                                 Book Value                         $0.00
    Carbon Steel Tank
    11/20/2003
    #778                                                                 Book Value                         $0.00
    Steam Regulator
    12/9/2003
    #779                                                                 Book Value                         $0.00
    Auto Flash Tester
    12/1/2003
    #780                                                                 Book Value                         $0.00
    Integrator
    12/23/2003
    #781                                                                 Book Value                         $0.00




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                    Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 129 of 153
Debtor      KMCO, LLC                                                   Case number (if known)   20-60028
            Name

    Cose H-12 Cip
    12/1/2003
    #783                                                                  Book Value                         $0.00
    Sensor & Transmitter
    1/1/2004
    #784                                                                  Book Value                         $0.00
    3" Sensor
    2/3/2004
    #785                                                                  Book Value                         $0.00
    12' X 35' Tank
    2/1/2004
    #786                                                                  Book Value                         $0.00
    (2) Durco Pumps 8X6X14
    3/8/2004
    #787                                                                  Book Value                         $0.00
    L 41 Bearing
    3/1/2004
    #788                                                                  Book Value                         $0.00
    Flowmeter With Converter
    4/12/2004
    #789                                                                  Book Value                         $0.00
    2 Ton Trolley, 40' Lift
    4/1/2004
    #790                                                                  Book Value                         $0.00
    Micro Motion Sensor
    4/1/2004
    #791                                                                  Book Value                         $0.00
    Sulphur Pump
    4/1/2004
    #792                                                                  Book Value                         $0.00
    Flowmeter With Converter
    4/12/2004
    #793                                                                  Book Value                         $0.00
    Bearing
    4/1/2004
    #794                                                                  Book Value                         $0.00
    Replacement Transmitter
    5/4/2004
    #795                                                                  Book Value                         $0.00
    Filter Vessel
    5/6/2004
    #796                                                                  Book Value                         $0.00
    Teflon Gasket
    5/1/2004
    #797                                                                  Book Value                         $0.00
    Ultrasonic Flow Meter
    5/10/2004
    #798                                                                  Book Value                         $0.00
    100 Ton Chiller
    5/20/2004
    #799                                                                  Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Gas Regulator
    5/1/2004
    #800                                                                 Book Value                         $0.00
    Vacuum Pump Unit
    6/1/2004
    #801                                                                 Book Value                         $0.00
    Conductivity Sensor
    6/9/2004
    #802                                                                 Book Value                         $0.00
    Gc Network System
    6/1/2004
    #803                                                                 Book Value                         $0.00
    Gc Interface Board
    6/14/2004
    #804                                                                 Book Value                         $0.00
    Kf Titrator
    8/19/2004
    #805                                                                 Book Value                         $0.00
    Concrete
    8/1/2004
    #806                                                                 Book Value                         $0.00
    Misc. Equip-H-12 Project
    9/1/2004
    #807                                                                 Book Value                         $0.00
    Misc. Vip Voranol Rev.
    9/1/2004
    #808                                                                 Book Value                         $0.00
    Misc. Ciip-Quats Proj.
    9/1/2004
    #809                                                                 Book Value                         $0.00
    Cip-Infineum Pb Tankage
    10/1/2004
    #810                                                                 Book Value                         $0.00
    Eep Chill Water Expansion
    10/1/2004
    #811                                                                 Book Value                         $0.00
    Sensor & Transmitter
    10/21/2004
    #812                                                                 Book Value                         $0.00
    S1&S2 Crompton Cip
    10/1/2004
    #813                                                                 Book Value                         $0.00
    Sulfolene Exp. Cip
    11/1/2004
    #814                                                                 Book Value                         $0.00
    Rhodia Iboma Cip
    11/1/2004
    #815                                                                 Book Value                         $0.00
    G1 Adipure Cip
    11/1/2004
    #816                                                                 Book Value                         $0.00




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                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 131 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Cyclo Hexene Blend
    11/1/2004
    #817                                                                 Book Value                         $0.00
    Exxon Mobil Mcp 595
    11/1/2004
    #818                                                                 Book Value                         $0.00
    Pe 400 Cip
    11/1/2004
    #819                                                                 Book Value                         $0.00
    Thx Tergitol Cip
    11/1/2004
    #820                                                                 Book Value                         $0.00
    Roof Dist 1
    12/1/2004
    #821                                                                 Book Value                         $0.00
    Roof Rx 1
    12/1/2004
    #822                                                                 Book Value                         $0.00
    Carbon Steel Tank
    12/1/2004
    #823                                                                 Book Value                         $0.00
    Land Across Street
    1/11/2005
    #824                                                                 Book Value                         $0.00
    Electric Hoist & Motor
    1/1/2005
    #825                                                                 Book Value                         $0.00
    Carbon Steel Housing
    1/10/2005
    #826                                                                 Book Value                         $0.00
    Fisher Control Valve
    2/3/2005
    #827                                                                 Book Value                         $0.00
    Golf Cart
    2/16/2005
    #828                                                                 Book Value                         $0.00
    Golf Cart
    2/16/2005
    #831                                                                 Book Value                         $0.00
    Golf Cart
    2/16/2005
    #832                                                                 Book Value                         $0.00
    9 Tanks
    2/16/2005
    #833                                                                 Book Value                         $0.00
    Golf Cart
    2/16/2005
    #834                                                                 Book Value                         $0.00
    36 Boxes Mark 2
    2/18/2005
    #835                                                                 Book Value                         $0.00




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                    Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 132 of 153
Debtor      KMCO, LLC                                                   Case number (if known)   20-60028
            Name

    Vacuum Pump
    3/4/2005
    #836                                                                  Book Value                         $0.00
    Golf Ca Rt
    3/15/2005
    #837                                                                  Book Value                         $0.00
    Seal Housing
    3/22/2005
    #838                                                                  Book Value                         $0.00
    Loading Racks
    3/28/2005
    #839                                                                  Book Value                         $0.00
    Chempump- Assembly
    3/2/2005
    #840                                                                  Book Value                         $0.00
    Flow Control Meter
    3/1/2005
    #841                                                                  Book Value                         $0.00
    Durasamplir Ii Pe2000
    3/3/2005
    #842                                                                  Book Value                         $0.00
    Dirtwork, Rebar
    3/1/2005
    #843                                                                  Book Value                         $0.00
    Expansion Joint
    4/15/2005
    #844                                                                  Book Value                         $0.00
    Chempump
    4/29/2005
    #845                                                                  Book Value                         $0.00
    Pollution Control
    4/15/2005
    #846                                                                  Book Value                         $0.00
    330 Ft Track
    5/2/2005
    #847                                                                  Book Value                         $0.00
    Two Forklifts
    5/4/2005
    #848                                                                  Book Value                         $0.00
    Oxide Reactor
    5/10/2005
    #849                                                                  Book Value                         $0.00
    Perkin Elmer 3110 Aa
    5/9/2005
    #850                                                                  Book Value                         $0.00
    Various Poll. Control
    5/1/2005
    #851                                                                  Book Value                         $0.00
    5 Tanks With Rails & Coil
    6/21/2005
    #852                                                                  Book Value                         $0.00




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                    Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 133 of 153
Debtor      KMCO, LLC                                                   Case number (if known)   20-60028
            Name

    Used Exchanger
    6/1/2005
    #853                                                                  Book Value                         $0.00
    Used Exchanger
    6/1/2005
    #854                                                                  Book Value                         $0.00
    Filter Housing
    6/20/2005
    #855                                                                  Book Value                         $0.00
    Filter Vessel
    6/3/2005
    #856                                                                  Book Value                         $0.00
    Cooling Tower
    6/29/2005
    #857                                                                  Book Value                         $0.00
    Various Pollution Control
    6/1/2005
    #858                                                                  Book Value                         $0.00
    Truck Scale
    7/1/2005
    #859                                                                  Book Value                         $0.00
    Transm Itter 9739
    7/18/2005
    #860                                                                  Book Value                         $0.00
    Used 98 Groves Crane
    7/5/2005
    #861                                                                  Book Value                         $0.00
    Ss Filter Housing
    7/19/2005
    #862                                                                  Book Value                         $0.00
    Baffle
    7/1/2005
    #863                                                                  Book Value                         $0.00
    Heat Exchanger
    7/22/2005
    #864                                                                  Book Value                         $0.00
    Load Cell W/Readout
    7/1/2005
    #865                                                                  Book Value                         $0.00
    Pollution Control
    7/1/2005
    #866                                                                  Book Value                         $0.00
    Fabricate Nw Rr Crossing
    8/30/2005
    #867                                                                  Book Value                         $0.00
    Rec.Economizer
    8/1/2005
    #868                                                                  Book Value                         $0.00
    Rec. Economizer
    8/1/2005
    #869                                                                  Book Value                         $0.00




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                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 134 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Rec. Economizer
    8/1/2005
    #870                                                                 Book Value                         $0.00
    Rec. Economizer
    8/1/2005
    #871                                                                 Book Value                         $0.00
    Cycloblower
    8/1/2005
    #872                                                                 Book Value                         $0.00
    Cycloblower
    8/1/2005
    #873                                                                 Book Value                         $0.00
    Cycloblower
    8/1/2005
    #874                                                                 Book Value                         $0.00
    Cycloblower
    8/1/2005
    #875                                                                 Book Value                         $0.00
    Tub Condensor
    8/1/2005
    #876                                                                 Book Value                         $0.00
    Filter Housing & Bags
    8/23/2005
    #877                                                                 Book Value                         $0.00
    Used Exchanger
    8/11/2005
    #878                                                                 Book Value                         $0.00
    Vacuum Pump
    8/26/2005
    #879                                                                 Book Value                         $0.00
    Sparkler Filter
    8/25/2005
    #880                                                                 Book Value                         $0.00
    Used 285 Sf Exchanger
    8/11/2005
    #881                                                                 Book Value                         $0.00
    Golf Cart
    6/30/2005
    #882                                                                 Book Value                         $0.00
    Pollution Control
    8/1/2005
    #883                                                                 Book Value                         $0.00
    Roper Rotary Pump
    8/1/2005
    #884                                                                 Book Value                         $0.00
    Control Valve
    9/1/2005
    #886                                                                 Book Value                         $0.00
    Vacuum Unit
    9/9/2005
    #887                                                                 Book Value                         $0.00




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Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Single Pass Exchanger
    9/12/2005
    #888                                                                 Book Value                         $0.00
    Water Well Pump
    9/19/2005
    #889                                                                 Book Value                         $0.00
    Const Temp Bath
    9/15/2005
    #890                                                                 Book Value                         $0.00
    Sulfuir Oil Analyzer
    9/8/2005
    #891                                                                 Book Value                         $0.00
    Concrete For Pipe Rack
    9/15/2005
    #892                                                                 Book Value                         $0.00
    Carbon Steel Tank 18X50
    10/6/2005
    #893                                                                 Book Value                         $0.00
    Cast Iron Vlve
    10/21/2005
    #894                                                                 Book Value                         $0.00
    Pollution Control
    10/1/2005
    #895                                                                 Book Value                         $0.00
    Truck Scale
    11/1/2005
    #897                                                                 Book Value                         $0.00
    Used Exchanger/Agitator
    11/1/2005
    #898                                                                 Book Value                         $0.00
    Used Exchanger
    11/1/2005
    #899                                                                 Book Value                         $0.00
    Reguolator
    11/7/2005
    #900                                                                 Book Value                         $0.00
    Used Exchnger
    11/1/2005
    #901                                                                 Book Value                         $0.00
    Control Valve
    11/1/2005
    #902                                                                 Book Value                         $0.00
    Used Exchanger
    11/1/2005
    #903                                                                 Book Value                         $0.00
    Pollution Control Equip
    11/1/2005
    #904                                                                 Book Value                         $0.00
    Used Exchanger
    12/1/2005
    #905                                                                 Book Value                         $0.00




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                    Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 136 of 153
Debtor      KMCO, LLC                                                   Case number (if known)   20-60028
            Name

    Controller
    12/19/2005
    #906                                                                  Book Value                         $0.00
    Control Vave
    12/19/2005
    #907                                                                  Book Value                         $0.00
    Npt Connection
    12/7/2005
    #908                                                                  Book Value                         $0.00
    Vacuum Pump
    12/20/2005
    #909                                                                  Book Value                         $0.00
    Fisher Control Valves(2)
    12/19/2005
    #910                                                                  Book Value                         $0.00
    Close Pmne Proj.
    12/31/2005
    #911                                                                  Book Value                         $0.00
    Close Fire Water Pond
    12/31/2005
    #912                                                                  Book Value                         $0.00
    Close Rhiodia Iboma
    12/31/2005
    #913                                                                  Book Value                         $0.00
    Mag Housing&Gear Shafts
    12/1/2005
    #914                                                                  Book Value                         $0.00
    Control Valve
    12/19/2005
    #915                                                                  Book Value                         $0.00
    Close Tergitol Tmn
    12/31/2005
    #916                                                                  Book Value                         $0.00
    Close Rk10 Reactor
    12/31/2005
    #917                                                                  Book Value                         $0.00
    Close Siltech
    12/31/2005
    #918                                                                  Book Value                         $0.00
    Close Dow Voracor
    12/31/2005
    #920                                                                  Book Value                         $0.00
    Close Office Addition
    12/31/2005
    #921                                                                  Book Value                         $0.00
    Mark 2 Boxes
    12/9/2005
    #922                                                                  Book Value                         $0.00
    Two Cooling Towers
    1/25/2006
    #924                                                                  Book Value                         $0.00




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                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 137 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Control Valve
    1/18/2006
    #925                                                                 Book Value                         $0.00
    Gc System
    1/1/2006
    #926                                                                 Book Value                         $0.00
    Isocrtic Pump&Degasser
    1/1/2006
    #927                                                                 Book Value                         $0.00
    Spectrum Dtgs Instrument
    1/1/2006
    #928                                                                 Book Value                         $0.00
    Gate Valve
    1/9/2006
    #929                                                                 Book Value                         $0.00
    Fisher Control Valve
    1/4/2006
    #930                                                                 Book Value                         $0.00
    Screen Grid
    1/10/2006
    #931                                                                 Book Value                         $0.00
    3 Carbon Steel Tanks
    1/24/2006
    #932                                                                 Book Value                         $0.00
    Boom Lift 60-64 Ft
    1/13/2006
    #933                                                                 Book Value                         $0.00
    Asco Transfer Switch
    1/1/2006
    #934                                                                 Book Value                         $0.00
    Pollution Control
    1/9/2006
    #935                                                                 Book Value                         $0.00
    Vacuum Booster
    2/1/2006
    #936                                                                 Book Value                         $0.00
    Reactors 13X19 Cs
    2/22/2006
    #937                                                                 Book Value                         $0.00
    (2) Pumps And Drive Shaft
    2/8/2006
    #938                                                                 Book Value                         $0.00
    Pollution Control Equip
    2/6/2006
    #939                                                                 Book Value                         $0.00
    Fire Monitor
    2/24/2006
    #940                                                                 Book Value                         $0.00
    Bag Filter Housing
    2/23/2006
    #942                                                                 Book Value                         $0.00




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                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 138 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Platecoil
    2/1/2006
    #943                                                                 Book Value                         $0.00
    Pilot Regulator
    2/13/2006
    #944                                                                 Book Value                         $0.00
    Used 8000 Gal. Press. Ves
    2/1/2006
    #945                                                                 Book Value                         $0.00
    8000 Gallon Vessel
    2/3/2006
    #946                                                                 Book Value                         $0.00
    Filter Housing
    2/21/2006
    #947                                                                 Book Value                         $0.00
    Recoil Ar Pump
    2/20/2006
    #948                                                                 Book Value                         $0.00
    Baldor Motor
    3/8/2006
    #949                                                                 Book Value                         $0.00
    2003 Utility Vehicle
    3/2/2006
    #950                                                                 Book Value                         $0.00
    2003Utility Vehicle
    3/2/2006
    #951                                                                 Book Value                         $0.00
    2003 Utility Vehicle
    3/2/2006
    #952                                                                 Book Value                         $0.00
    2003 Utility Vehicle
    3/2/2006
    #953                                                                 Book Value                         $0.00
    Siemens Motor
    3/1/2006
    #954                                                                 Book Value                         $0.00
    Atomic Ball Valve
    3/27/2006
    #955                                                                 Book Value                         $0.00
    Used Exchanger
    3/16/2006
    #956                                                                 Book Value                         $0.00
    Cartridge Filter
    3/1/2006
    #957                                                                 Book Value                         $0.00
    Jib Crane
    3/1/2006
    #958                                                                 Book Value                         $0.00
    Reliance Motor
    3/15/2006
    #959                                                                 Book Value                         $0.00




Official Form 206A/B             Schedule A/B: Assets -- Real and Personal Property                        page 138
                     Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 139 of 153
Debtor      KMCO, LLC                                                    Case number (if known)   20-60028
            Name

    Atomic Valve
    3/17/2006
    #960                                                                   Book Value                         $0.00
    Concrete
    3/16/2006
    #961                                                                   Book Value                         $0.00
    Cooling Towers (2)
    3/1/2006
    #962                                                                   Book Value                         $0.00
    Track Repair
    4/1/2006
    #963                                                                   Book Value                         $0.00
    Six Loadcells-Scale
    4/5/2006
    #964                                                                   Book Value                         $0.00
    Sensor/Transmitter
    4/1/2006
    #965                                                                   Book Value                         $0.00
    Eductor
    4/19/2006
    #966                                                                   Book Value                         $0.00
    Control Valve
    4/1/2006
    #967                                                                   Book Value                         $0.00
    Chiller Barrel
    4/20/2006
    #968                                                                   Book Value                         $0.00
    Restock Module
    4/10/2006
    #969                                                                   Book Value                         $0.00
    Portable Building 12X12
    5/16/2006
    #971                                                                   Book Value                         $0.00
    Control Valve
    5/1/2006
    #972                                                                   Book Value                         $0.00
    Toshiba Motor
    5/1/2006
    #973                                                                   Book Value                         $0.00
    Fisher Ball Valve
    5/2/2006
    #974                                                                   Book Value                         $0.00
    Heat Exchanger
    5/24/2006
    #975                                                                   Book Value                         $0.00
    Lined Dip Tube
    5/1/2006
    #976                                                                   Book Value                         $0.00
    Fisher Control Valve
    5/1/2006
    #977                                                                   Book Value                         $0.00




Official Form 206A/B               Schedule A/B: Assets -- Real and Personal Property                        page 139
                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 140 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Used Vessel
    5/1/2006
    #978                                                                 Book Value                         $0.00
    Cycloblower
    5/1/2006
    #979                                                                 Book Value                         $0.00
    Heat Exchanger
    5/24/2006
    #980                                                                 Book Value                         $0.00
    Backfill Firewater
    5/11/2006
    #981                                                                 Book Value                         $0.00
    Oxide Storage Pad
    5/23/2006
    #982                                                                 Book Value                         $0.00
    Dell Server
    5/2/2006
    #983                                                                 Book Value                         $0.00
    Stainless Cooling Tower
    5/23/2006
    #984                                                                 Book Value                         $0.00
    Vortex Meter
    6/7/2006
    #985                                                                 Book Value                         $0.00
    Cooling Tower
    6/26/2006
    #986                                                                 Book Value                         $0.00
    Cooling Tower
    6/24/2006
    #987                                                                 Book Value                         $0.00
    Siemens Motor
    6/19/2006
    #988                                                                 Book Value                         $0.00
    Dynapump
    6/1/2006
    #989                                                                 Book Value                         $0.00
    Vacuum Pump
    6/1/2006
    #990                                                                 Book Value                         $0.00
    Baldor Motor
    6/1/2006
    #991                                                                 Book Value                         $0.00
    Hoit Oil Pump
    6/7/2006
    #992                                                                 Book Value                         $0.00
    Baldor Motor
    6/1/2006
    #993                                                                 Book Value                         $0.00
    Maag Pump
    6/1/2006
    #994                                                                 Book Value                         $0.00




Official Form 206A/B             Schedule A/B: Assets -- Real and Personal Property                        page 140
                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 141 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    Cone Bottom Tank
    6/1/2006
    #995                                                                 Book Value                         $0.00
    Vacuum Pump
    6/1/2006
    #996                                                                 Book Value                         $0.00
    Vacuum Pump
    6/1/2006
    #997                                                                 Book Value                         $0.00
    Variopus Pollution Contro
    6/15/2006
    #998                                                                 Book Value                         $0.00
    Used Column/Agitator
    7/1/2006
    #999                                                                 Book Value                         $0.00
    Sensor/Transmitter
    7/15/2006
    #1000                                                                Book Value                         $0.00
    Starter Control Panel
    7/19/2006
    #1001                                                                Book Value                         $0.00
    Liquid Ring Pump
    7/21/2006
    #1002                                                                Book Value                         $0.00
    12 X 36 Cone Bottom Tank
    7/20/2006
    #1003                                                                Book Value                         $0.00
    Sensor
    7/22/2006
    #1004                                                                Book Value                         $0.00
    Sensor
    7/22/2006
    #1005                                                                Book Value                         $0.00
    Various Ciip
    7/1/2006
    #1006                                                                Book Value                         $0.00
    Baldor Motor
    7/1/2006
    #1007                                                                Book Value                         $0.00
    Used Column/Agitator
    7/1/2006
    #1008                                                                Book Value                         $0.00
    New Rail Construction
    8/21/2006
    #1009                                                                Book Value                         $0.00
    Reconditioned Aerator
    8/1/2006
    #1010                                                                Book Value                         $0.00
    Golf Cart
    8/1/2006
    #1011                                                                Book Value                         $0.00




Official Form 206A/B             Schedule A/B: Assets -- Real and Personal Property                        page 141
                   Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 142 of 153
Debtor      KMCO, LLC                                                  Case number (if known)   20-60028
            Name

    16 X 42 Cone Bottom Tank
    8/10/2006
    #1012                                                                Book Value                         $0.00
    16 X 42 Cone Bottom Tank
    8/1/2006
    #1013                                                                Book Value                         $0.00
    Scale And Foundation
    8/18/2006
    #1014                                                                Book Value                         $0.00
    Golf Cart
    8/1/2006
    #1015                                                                Book Value                         $0.00
    16 X 42 Cone Bottom Tank
    8/1/2006
    #1016                                                                Book Value                         $0.00
    16 X 42 Cone Bottom Tank
    8/10/2006
    #1017                                                                Book Value                         $0.00
    Used Exchanger
    8/1/2006
    #1018                                                                Book Value                         $0.00
    Golf Cart
    8/1/2006
    #1019                                                                Book Value                         $0.00
    12 X 42 Ss Tank
    8/10/2006
    #1020                                                                Book Value                         $0.00
    16 X 42 Cone Bottom Tank
    8/10/2006
    #1021                                                                Book Value                         $0.00
    Used 291 Sf Exchanger
    8/1/2006
    #1022                                                                Book Value                         $0.00
    Roper Pump
    8/11/2006
    #1023                                                                Book Value                         $0.00
    3 Ton Wire Rope Hoist
    8/1/2006
    #1024                                                                Book Value                         $0.00
    Gol.F Cart
    8/1/2006
    #1025                                                                Book Value                         $0.00
    3070 Sf Heat Exchanger
    8/17/2006
    #1026                                                                Book Value                         $0.00
    16 X42 Cone Bottom Tank
    8/10/2006
    #1027                                                                Book Value                         $0.00
    Sensor & Transmitter
    8/9/2006
    #1028                                                                Book Value                         $0.00




Official Form 206A/B             Schedule A/B: Assets -- Real and Personal Property                        page 142
                      Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 143 of 153
Debtor        KMCO, LLC                                                                Case number (if known)   20-60028
              Name

      Bank Sand
      8/1/2006
      #1029                                                                              Book Value                                  $0.00
      Sensor
      8/1/2006
      #1030                                                                              Book Value                                  $0.00
      Close Infineum Pmne
      8/1/2006
      #1031                                                                              Book Value                                  $0.00
      Close Fire Water Pond
      8/1/2006
      #1032                                                                              Book Value                                  $0.00
      Close Lyondell Pem
      8/1/2006
      #1033                                                                              Book Value                                  $0.00
      Road Between Tracks
      9/1/2006
      #1034                                                                              Book Value                                  $0.00
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                           $3,850,757.83

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of   Valuation method    Current value of
       Include street address or other description    of debtor's interest   debtor's interest   used for current    debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)   value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 16503 Ramsey Rd, Crosby, TX 77532
       16503 Ramsey Rd, Crosby, TX 77532              Fee Simple                                                                     $0.00
55.2. 16503 Ramsey Rd., Crosby, TX
       77532
       16503 Ramsey Rd., Crosby, TX 77532 Fee Simple                                                                                 $0.00
55.3. 16619 Ramsey Rd, Crosby, TX 77532

       16619 Ramsey Rd, Crosby, TX 77532              Fee Simple                                                                     $0.00
55.4. 1126 Crosby Dayton Rd, Crosby, TX
       77532

       1126 Crosby Dayton Rd, Crosby, TX
       77532                                          Fee Simple                                                                     $0.00


Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                 page 143
                    Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 144 of 153
Debtor       KMCO, LLC                                                                   Case number (if known)    20-60028
             Name

55.5. 1222 Crosby Dayton Rd, Crosby, TX
      77532

      1222 Crosby Dayton Rd, Crosby, TX
      77532                                          Fee Simple                                                                $0.00
55.6. 1038 Clara Wilson Rd, Crosby, TX
      77532

      1038 Clara Wilson Rd, Crosby, TX
      77532                                          Fee Simple                                                                $0.00
55.7. 1002 Clara Wilson Rd, Crosby, TX
      77532

      1002 Clara Wilson Rd, Crosby, TX
      77532                                          Fee Simple                                                                $0.00
55.8. 910 Clara Wilson Rd, Crosby, TX
      77532

      910 Clara Wilson Rd, Crosby, TX
      77532                                          Fee Simple                                                                $0.00
55.9. 0 Crosby Dayton Rd, Crosby, TX
      77532

      0 Crosby Dayton Rd, Crosby, TX
      77532                                          Fee Simple                                                                $0.00
55.10. 16615 Ramsey Rd, Crosby, TX 77532

      16615 Ramsey Rd, Crosby, TX 77532              Fee Simple                                                                $0.00
55.11. 1308 Clara Wilson Rd, Crosby, TX
      77532

      1308 Clara Wilson Rd, Crosby, TX
      77532                                          Fee Simple                                                                $0.00
55.12. 0 Highway 90, Crosby, TX 77532

      0 Highway 90, Crosby, TX 77532                 Fee Simple                                                                $0.00
55.13. 830 Crosby Dayton Rd, Crosby, TX
      77532

      830 Crosby Dayton Rd, Crosby, TX
      77532                                          Fee Simple                                                                $0.00
55.14. 16510 Ramsey Rd, Crosby, TX 77532

      16510 Ramsey Rd, Crosby, TX 77532              Fee Simple                                                                $0.00
55.15. 0 Ramsey Rd, Crosby, TX 77532

      0 Ramsey Rd, Crosby, TX 77532                  Fee Simple                                                                $0.00
55.16. 16616 Ramsey Rd, Crosby, TX 77532

      16616 Ramsey Rd, Crosby, TX 77532              Fee Simple                                                                $0.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                               $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
Official Form 206A/B                          Schedule A/B: Assets -- Real and Personal Property                              page 144
                     Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 145 of 153
Debtor       KMCO, LLC                                                                   Case number (if known)     20-60028
             Name

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes. Fill in the information below.

     General description                                           Net book value of       Valuation method              Current value of
                                                                   debtor's interest       used for current value        debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

     www.kmcollc.com                                                            $0.00                                                    $0.00
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                         $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

     Cyber Security insurance policy with Beazley Insurance Company.                                                                     $0.00
     Primary Marine Terminal insurance policy with Continental insurance company.                                                        $0.00
     Excess Marine Terminal insurance policy with StarStone National insurance company.                                                  $0.00
     Excess Marine Terminal insurance policy with Continental insurance company.                                                         $0.00


Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                     page 145
                          Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 146 of 153
Debtor          KMCO, LLC                                                                                       Case number (if known)       20-60028
                Name

      Workers Compensation insurance policy with Texas Mutual.                                                                                                  $0.00
74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                                $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                        $6,093.26
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                      $19,500.00

82. Accounts receivable. Copy line 12, Part 3.                                                 $0.00

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                  $710,867.72

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                          $27,336.21
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                            $3,850,757.83
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                                     $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +                $0.00

91. Total. Add lines 80 through 90 for each column.                    91a.        $4,614,555.02            +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $4,614,555.02




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                    page 146
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 Fill in this information to identify the case:
 Debtor name         KMCO, LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         20-60028                                                                                  Check if this is an
 (if known)                                                                                                     amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                   12/15
Be as complete and accurate as possible.

1.   Do any creditors have claims secured by debtor's property?

    No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
    Yes. Fill in all of the information below.


 Part 1:       List Creditors Who Have Secured Claims
2.   List in alphabetical order all creditors who have secured claims. If a creditor has more           Column A               Column B
     than one secured claim, list the creditor separately for each claim.                               Amount of claim        Value of collateral
                                                                                                        Do not deduct the      that supports
                                                                                                        value of collateral.   this claim




3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the
     Additional Page, if any.                                                                             $41,812,098.80


Official Form 206D                      Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
                     Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 148 of 153
Debtor       KMCO, LLC                                                                    Case number (if known) 20-60028

 Part 1:       Additional Page                                                                            Column A               Column B
                                                                                                          Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                 Do not deduct the      that supports
sequentially from the previous page.                                                                      value of collateral.   this claim

 2.1     Creditor's name                                  Describe debtor's property that is
         Ann Harris Bennett                               subject to a lien                                    $163,375.71                    $0.00

         Creditor's mailing address                       16503 Ramsey Rd, Crosby, TX 77532
         Tax Assessor Collector                           Describe the lien
         PO Box 3547                                      Statutory Lien
                                                          Is the creditor an insider or related party?
         Houston                    TX   77253             No
         Creditor's email address, if known                Yes
                                                          Is anyone else liable on this claim?
         Date debt was incurred                            No
         Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                           As of the petition filing date, the claim is:
         Do multiple creditors have an interest in        Check all that apply.
         the same property?                                  Contingent
             No                                              Unliquidated
         
             Yes. Specify each creditor, including this      Disputed
         
             creditor, and its relative priority.
For 16503 Ramsey Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Goose Creek Cons. Isd; 3) Crosby Mud; 4) Benefit Street
Partners; 5) Chubes Equipment Co.; 6) Dejean Company - Service &; 7) Gator Speciality Services. For 16503 Ramsey Rd.,
Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners. For 16619
Ramsey Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners.
For 1126 Crosby Dayton Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit
Street Partners. For 1222 Crosby Dayton Rd, Crosby, TX 77532: 1) Crosby Mud; 2) Ann Harris Bennett; 3) Goose Creek Cons.
Isd; 4) Benefit Street Partners. For 1038 Clara Wilson Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose
Creek Cons. Isd; 4) Benefit Street Partners; 5) Dejean Company - Service &; 6) Chubes Equipment Co.; 7) Gator Speciality
Services; 8) Majesty Investments, LLC; 9) Mesa Mechanical, Inc.. For 1002 Clara Wilson Rd, Crosby, TX 77532: 1) Ann Harris
Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners; 5) Chubes Equipment Co.; 6) Dejean Company
- Service &; 7) Gator Speciality Services; 8) Majesty Investments, LLC; 9) Mesa Mechanical, Inc.. For 910 Clara Wilson Rd,
Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners; 5) Chubes
Equipment Co.; 6) Dejean Company - Service &; 7) Gator Speciality Services; 8) Majesty Investments, LLC; 9) Mesa
Mechanical, Inc.. For 0 Crosby Dayton Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons.
Isd; 4) Benefit Street Partners; 5) Chubes Equipment Co.; 6) Dejean Company - Service &; 7) Gator Speciality Services; 8)
Majesty Investments, LLC; 9) Mesa Mechanical, Inc.. For 16615 Ramsey Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2)
Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners; 5) Chubes Equipment Co.; 6) Dejean Company - Service &;
7) Gator Speciality Services; 8) Majesty Investments, LLC; 9) Mesa Mechanical, Inc.. For 1308 Clara Wilson Rd, Crosby, TX
77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners; 5) Chubes Equipment Co.;
6) Dejean Company - Service &; 7) Gator Speciality Services; 8) Majesty Investments, LLC; 9) Mesa Mechanical, Inc.. For 0
Highway 90, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners;
5) Chubes Equipment Co.; 6) Dejean Company - Service &; 7) Gator Speciality Services; 8) Majesty Investments, LLC; 9)
Mesa Mechanical, Inc.. For 830 Crosby Dayton Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek
Cons. Isd; 4) Benefit Street Partners; 5) Chubes Equipment Co.; 6) Gator Speciality Services; 7) Dejean Company - Service &;
8) Mesa Mechanical, Inc.; 9) Majesty Investments, LLC. For 16510 Ramsey Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2)
Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners; 5) Chubes Equipment Co.; 6) Dejean Company - Service &;
7) Gator Speciality Services; 8) Mesa Mechanical, Inc.; 9) Majesty Investments, LLC. For 0 Ramsey Rd, Crosby, TX 77532: 1)
Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners; 5) Chubes Equipment Co.; 6)
Dejean Company - Service &; 7) Gator Speciality Services; 8) Majesty Investments, LLC; 9) Mesa Mechanical, Inc.. For 16616
Ramsey Rd, Crosby, TX 77532: 1) Ann Harris Bennett; 2) Crosby Mud; 3) Goose Creek Cons. Isd; 4) Benefit Street Partners;
5) Chubes Equipment Co.; 6) Dejean Company - Service &; 7) Gator Speciality Services; 8) Majesty Investments, LLC; 9)
Mesa Mechanical, Inc..




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2
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Debtor       KMCO, LLC                                                                        Case number (if known) 20-60028

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.2     Creditor's name                                      Describe debtor's property that is
         Benefit Street Partners                              subject to a lien                                $36,088,814.02                     $0.00

         Creditor's mailing address                           Real Prop. & all pers.prop excluding A/R
         9 West 57th Street, Suite 4920                       Describe the lien
                                                              Non-Purchase Money
                                                              Is the creditor an insider or related party?
         New York                   NY     10019               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines

 2.3     Creditor's name                                      Describe debtor's property that is
         Cadence Bank                                         subject to a lien                                 $3,861,839.54              $290,804.03

         Creditor's mailing address                           A/R and Inventory
         2800 Post Oak Blvd                                   Describe the lien
         Suite 3800                                           Agreement
                                                              Is the creditor an insider or related party?
         Houston                    TX     77056               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
                      Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 150 of 153
Debtor       KMCO, LLC                                                                        Case number (if known) 20-60028

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.4     Creditor's name                                      Describe debtor's property that is
         Chubes Equipment Co.                                 subject to a lien                                    $104,082.19                    $0.00

         Creditor's mailing address                           16503 Ramsey Road, Crosby, TX 77532
         C/O Andrew Mccormick                                 Describe the lien
         4950 Bissonnet St., Ste A                            M&M Lien
                                                              Is the creditor an insider or related party?
         Belliare                   TX     77401               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines 2.1

 2.5     Creditor's name                                      Describe debtor's property that is
         Crosby Mud                                           subject to a lien                                     $79,687.18                    $0.00

         Creditor's mailing address                           363 N Sam Houston Parkway, Houston, TX 77060
         103 Kerry Rd                                         Describe the lien


                                                              Is the creditor an insider or related party?
         Highlands                  TX     77562               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines 2.1




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
                      Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 151 of 153
Debtor       KMCO, LLC                                                                        Case number (if known) 20-60028

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.6     Creditor's name                                      Describe debtor's property that is
         Dejean Company - Service &                           subject to a lien                                    $274,367.83                    $0.00

         Creditor's mailing address                           16503 Ramsey Road, Crosby, TX 77532
         Maintenance, Inc.                                    Describe the lien
         C/O William Westcott                                 M&M lien
         1885 Saint James Place, 15th Floor                   Is the creditor an insider or related party?
         Houston                    TX     77056               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines 2.1

 2.7     Creditor's name                                      Describe debtor's property that is
         Gator Speciality Services                            subject to a lien                                    $167,882.00                    $0.00

         Creditor's mailing address                           16503 Ramsey Road, Crosby, TX
         2589 Westside Drive                                  Describe the lien
                                                              M&M Lien
                                                              Is the creditor an insider or related party?
         Pasadena                   TX     77502               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred          2018                  No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines 2.1




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5
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Debtor       KMCO, LLC                                                                        Case number (if known) 20-60028

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.8     Creditor's name                                      Describe debtor's property that is
         Goose Creek Cons. Isd                                subject to a lien                                    $378,912.95                    $0.00

         Creditor's mailing address                           3647 Willowbend Blvd Ste 800, Houston, TX 77054
         Tax Services                                         Describe the lien
         PO Box 2805
                                                              Is the creditor an insider or related party?
         Baytown                    TX     77522               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines 2.1

 2.9     Creditor's name                                      Describe debtor's property that is
         Majesty Investments, LLC                             subject to a lien                                     $15,670.70                    $0.00

         Creditor's mailing address                           16503 Ramsey Road, Crosby, TX 77532
         C/O Richard Fulton                                   Describe the lien
         Greenway Plaza, Ste 1000                             M&M Lien
                                                              Is the creditor an insider or related party?
         Houston                    TX     77046               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines 2.1




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6
                      Case 20-60028 Document 8 Filed in TXSB on 05/11/20 Page 153 of 153
Debtor       KMCO, LLC                                                                        Case number (if known) 20-60028

 Part 1:         Additional Page                                                                              Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.10    Creditor's name                                      Describe debtor's property that is
         Mesa Mechanical, Inc.                                subject to a lien                                    $677,466.68                    $0.00

         Creditor's mailing address                           16503 Ramsey Road, Crosby, TX 77532
         C/O Jason Walker                                     Describe the lien
         1885 Saint James Place, 15th Floor                   M&M lien
                                                              Is the creditor an insider or related party?
         Houston                    TX     77056               No
         Creditor's email address, if known                    Yes
                                                              Is anyone else liable on this claim?
         Date debt was incurred                                No
         Last 4 digits of account                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                               As of the petition filing date, the claim is:
         Do multiple creditors have an interest in            Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
         
             Yes. Have you already specified the                 Disputed
         
                  relative priority?

                No. Specify each creditor, including this
                 creditor, and its relative priority.

                Yes. The relative priority of creditors is
                 specified on lines 2.1




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